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          ATTACHMENT A
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       *
                                               *    CRIMINAL NO. 17-201-1 (ABJ)(S-5)
                                               *
       v.                                      *    Violations: 18 U.S.C. § 371
                                               *
PAUL J. MANAFORT, JR.,                         *
                                               *
              Defendant.                       *
                                               *
                                            *******


                       SUPERSEDING CRIMINAL INFORMATION

The Special Counsel informs the Court:

1.    PAUL J. MANAFORT, JR. (MANAFORT) served for years as a political consultant and

lobbyist. Between at least 2006 and 2015, MANAFORT conspired with Richard W. Gates (Gates),

Konstantin Kilimnik (Kilimnik), and others to act, and acted, as unregistered agents of a foreign

government and political party. Specifically, MANAFORT conspired to act and acted as an agent

of the Government of Ukraine, the Party of Regions (a Ukrainian political party whose leader

Victor Yanukovych was President from 2010 to 2014), President Yanukovych, and the Opposition

Bloc (a successor to the Party of Regions that formed in 2014 when Yanukovych fled to Russia).

MANAFORT generated more than 60 million dollars in income as a result of his Ukraine work.

In order to hide Ukraine payments from United States authorities, from approximately 2006

through at least 2016, MANAFORT, with the assistance of Gates and Kilimnik, laundered the

money through scores of United States and foreign corporations, partnerships, and bank accounts.

2.    In furtherance of the scheme, MANAFORT funneled millions of dollars in payments into
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foreign nominee companies and bank accounts, opened by him and his underlings in nominee

names and in various foreign countries, including Cyprus, Saint Vincent & the Grenadines

(Grenadines), and the United Kingdom. MANAFORT hid the existence of the foreign companies

and bank accounts, falsely and repeatedly reporting to his tax preparers and to the United States

that he had no foreign bank accounts.

3.    In furtherance of the scheme, MANAFORT concealed from the United States his work as

an agent of, and millions of dollars in payments from, Ukraine and its political parties and leaders.

Because MANAFORT directed a campaign to lobby United States officials and the United States

media on behalf of the Government of Ukraine, the President of Ukraine, and Ukrainian political

parties, he was required by law to report to the United States his work and fees. MANAFORT did

not do so, either for himself or any of his companies. Instead, when the Department of Justice sent

inquiries to MANAFORT in 2016 about his activities, MANAFORT responded with a series of

false and misleading statements.

4.    In furtherance of the scheme, MANAFORT used his hidden overseas wealth to enjoy a

lavish lifestyle in the United States, without paying taxes on that income. MANAFORT, without

reporting the income to his bookkeeper or tax preparers or to the United States, spent millions of

dollars on luxury goods and services for himself and his extended family through payments wired

from offshore nominee accounts to United States vendors. MANAFORT also used these offshore

accounts to purchase multi-million dollar properties in the United States. Manafort then borrowed

millions of dollars in loans using these properties as collateral, thereby obtaining cash in the United

States without reporting and paying taxes on the income. In order to increase the amount of money

he could access in the United States, Manafort defrauded the institutions that loaned money on

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these properties so that they would lend him more money at more favorable rates than he would

otherwise be able to obtain.

5.    Manafort laundered more than $30 million to buy property, goods, and services in the

United States, income that he concealed from the United States Treasury, the Department of

Justice, and others. MANAFORT cheated the United States out of over $15 million in taxes.

                                Relevant Individuals And Entities

6.    MANAFORT was a United States citizen. He resided in homes in Virginia, Florida, and

Long Island, New York.

7.    In 2005, MANAFORT and another partner created Davis Manafort Partners, Inc. (DMP) to

engage principally in political consulting. DMP had staff in the United States, Ukraine, and

Russia. In 2011, MANAFORT created DMP International, LLC (DMI) to engage in work for

foreign clients, in particular political consulting, lobbying, and public relations for the Government

of Ukraine, the Party of Regions, and members of the Party of Regions. DMI was a partnership

solely owned by MANAFORT and his spouse. Gates and Kilimnik worked for both DMP and

DMI and served as close confidants of MANAFORT.

8.    The Party of Regions was a pro-Russia political party in Ukraine.                Beginning in

approximately 2006, it retained MANAFORT, through DMP and then DMI, to advance its

interests in Ukraine, including the election of its slate of candidates. In 2010, its candidate for

President, Yanukovych, was elected President of Ukraine. In 2014, Yanukovych fled Ukraine for

Russia in the wake of popular protests of widespread governmental corruption. Yanukovych, the

Party of Regions, and the Government of Ukraine were Manafort, DMP, and DMI clients.

9.    The European Centre for a Modern Ukraine (the Centre) was created in or about 2012 in

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MANAFORT’s Hiding Of Ukraine Lobbying And Public Relations Work

17.   MANAFORT knew it was illegal to lobby government officials and engage in public

relations activities (hereinafter collectively referred to as lobbying) in the United States on behalf

of a foreign government or political party, without registering with the United States Government

under the Foreign Agents Registration Act. MANAFORT knew he was lobbying in the United

States for the Government of Ukraine, President Viktor F. Yanukovych, the Party of Regions, and

the Opposition Bloc (the latter two being political parties in Ukraine), and thus he was supposed

to submit a written registration statement to the United States Department of Justice.

MANAFORT knew that the filing was required to disclose the name of the foreign country, all the

financial payments to the lobbyist, and the specific steps undertaken for the foreign country in the

United States, among other information.

18.   MANAFORT knew that Ukraine had a strong interest in the United States’ taking economic

and policy positions favorable to Ukraine, including not imposing sanctions on Ukraine.

MANAFORT also knew that the trial and treatment of President Yanukovych’s political rival,

former Prime Minister Yulia Tymoshenko, was strongly condemned by leading United States

executive and legislative branch officials, and was a major hurdle to improving United States and

Ukraine relations.

19.   From 2006 until 2015, MANAFORT led a multi-million dollar lobbying campaign in the

United States at the direction of the Government of Ukraine, President Yanukovych, the Party of

Regions, and the Opposition Bloc. MANAFORT intentionally did so without registering and

providing the disclosures required by law.

20.   As part of the lobbying scheme, MANAFORT hired numerous firms and people to assist in

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his lobbying campaign in the United States. He hired Companies A, B, C, D, and E, and Law Firm

A, among others, to participate in what he described to President Yanukovych in writing as a global

“Engage Ukraine” lobbying campaign that he devised and led. These companies and law firm

were paid the equivalent of over $11 million for their Ukraine work.

21.   MANAFORT viewed secrecy for himself and for the actions of his lobbyists as integral to

the effectiveness of the lobbying offensive he orchestrated for Ukraine. Filing under the Foreign

Agents Registration Act would have thwarted the secrecy MANAFORT sought in order to conduct

an effective campaign for Ukraine to influence both American leaders and the American public.

22.   MANAFORT took steps to avoid any of these firms and people disclosing their lobbying

efforts under the Foreign Agents Registration Act. As one example, even though MANAFORT

engaged Company E in 2007 to lobby in the United States for the Government of Ukraine,

MANAFORT tried to dissuade Company E from filing under the Foreign Agents Registration Act.

Only after MANAFORT ceased to use Company E in the fall of 2007 did Company E disclose its

work for Ukraine, in a belated filing under the Act in 2008.

23.   MANAFORT took other measures to keep the Ukraine lobbying as secret as possible. For

example, MANAFORT, in written communications on or about May 16, 2013, directed his

lobbyists (including Persons D1 and D2, who worked for Company D) to write and disseminate

within the United States news stories that alleged that Tymoshenko had paid for the murder of a

Ukrainian official. MANAFORT stated that it should be “push[ed]” “[w]ith no fingerprints.” “It

is very important we have no connection.” MANAFORT stated that “[m]y goal is to plant some

stink on Tymo.” Person D1 objected to the plan, but ultimately Persons D1 and D2 complied with

MANAFORT’s direction. The Foreign Agents Registration Act required MANAFORT to disclose

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such lobbying, as MANAFORT knew. He did not.

The Hapsburg Group and Company D

24.    As part of the lobbying scheme, starting in 2011, MANAFORT secretly retained Company

D and a group of four former European heads of state and senior officials (including a former

Austrian Chancellor, Italian Prime Minister, and Polish President) to lobby in the United States

and Europe on behalf of Ukraine. The former politicians, called the Hapsburg Group by

MANAFORT, appeared to be providing solely their independent assessments of Government of

Ukraine policies, when in fact they were paid by Ukraine. MANAFORT explained in an “EYES

ONLY” memorandum in or about June 2012 that his purpose was to “assemble a small group of

high-level European infuencial [sic] champions and politically credible friends who can act

informally and without any visible relationship with the Government of Ukraine.”

25.    Through MANAFORT, the Government of Ukraine retained an additional group of

lobbyists (Company D and Persons D1 and D2). In addition to lobbying itself, Company D secretly

served as intermediaries between the Hapsburg Group and MANAFORT and the Government of

Ukraine. In or about 2012 through 2013, MANAFORT directed more than the equivalent of

700,000 euros to be wired from at least three of his offshore accounts to the benefit of Company

D to pay secretly for its services.

26.    All four Hapsburg Group members, at the direction, and with the direct assistance, of

MANAFORT, advocated positions favorable to Ukraine in meetings with United States

lawmakers, interviews with United States journalists, and ghost written op-eds in American

publications. In or about 2012 through 2014, MANAFORT directed more than 2 million euros to

be wired from at least four of his offshore accounts to pay secretly the Hapsburg Group. To avoid

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European taxation, the contract with the Hapsburg Group falsely stated that none of its work would

take place in Europe.

27.   One of the Hapsburg Group members, a former Polish President, was also a representative

of the European Parliament with oversight responsibility for Ukraine. MANAFORT solicited that

official to provide MANAFORT inside information about the European Parliament’s views and

actions toward Ukraine and to take actions favorable to Ukraine. MANAFORT also used this

Hapsburg Group member’s current European Parliament position to Ukraine’s advantage in his

lobbying efforts in the United States. In the fall of 2012, the United States Senate was considering

and ultimately passed a resolution critical of President Yanukovych’s treatment of former Prime

Minister Tymoshenko. MANAFORT engaged in an all-out campaign to try to kill or delay the

passage of this resolution. Among the steps he took was having the Hapsburg Group members

reach out to United States Senators, as well as directing Companies A and B to have private

conversations with Senators to lobby them to place a “hold” on the resolution. MANAFORT told

his lobbyists to stress to the Senators that the former Polish President who was advocating against

the resolution was currently a designated representative of the President of the European

Parliament, to give extra clout to his supposedly independent judgment against the Senate

resolution. MANAFORT never revealed to the Senators or to the American public that any of

these lobbyists or Hapsburg Group members were paid by Ukraine.

28.   In another example, on May 16, 2013, another member of the Hapsburg Group lobbied in

the United States for Ukraine. The Hapsburg Group member accompanied his country’s prime

minister to the Oval Office and met with the President and Vice President of the United States, as

well as senior United States officials in the executive and legislative branches. In written

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communications sent to MANAFORT, Person D1 reported that the Hapsburg Group member

delivered the message of not letting “Russians Steal Ukraine from the West.” The Foreign Agents

Registration Act required MANAFORT to disclose such lobbying, as MANAFORT knew. He did

not.

Law Firm Report and Tymoshenko

29.    As another part of the lobbying scheme, in 2012, on behalf of President Yanukovych and

the Government of Ukraine’s Ministry of Justice, MANAFORT solicited a United States law firm

to write a report evaluating the trial of Yanukovych’s political opponent Yulia Tymoshenko.

MANAFORT caused Ukraine to hire the law firm so that its report could be used in the United

States and elsewhere to defend the Tymoshenko criminal trial and argue that President

Yanukovych and Ukraine had not engaged in selective prosecution.

30.    MANAFORT retained a public relations firm (Company C) to prepare a media roll-out plan

for the law firm report. MANAFORT used one of his offshore accounts to pay Company C the

equivalent of more than $1 million for its services.

31.    MANAFORT worked closely with Company C to develop a detailed written lobbying plan

in connection with what MANAFORT termed the “selling” of the report. This campaign included

getting the law firm’s report “seeded” to the press in the United States—that is, to leak the report

ahead of its official release to a prominent United States newspaper and then use that initial article

to influence reporting globally. As part of the roll-out plan, on the report’s issuance on December

13, 2012, MANAFORT arranged to have the law firm disseminate hard copies of the report to

numerous government officials, including senior United States executive and legislative branch

officials.

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32.   MANAFORT reported on the law firm’s work on the report and Company C’s lobbying

plan to President Yanukovych and other representatives of the Government of Ukraine. For

example, in a July 27, 2012 memorandum to President Yanukovych’s Chief of Staff, MANAFORT

reported on “the global rollout strategy for the [law firm’s] legal report, and provide[d] a detailed

plan of action[]” which included step-by-step lobbying outreach in the United States.

33.   MANAFORT directed lobbyists to tout the report as showing that President Yanukovych

had not selectively prosecuted Tymoshenko. But in November 2012 MANAFORT had been told

privately in writing by the law firm that the evidence of Tymoshenko’s criminal intent “is virtually

non-existent” and that it was unclear even among legal experts that Tymoshenko lacked power to

engage in the conduct central to the Ukraine criminal case. These facts, known by MANAFORT,

were not disclosed to the public.

34.   Manafort knew that the report also did not disclose that the law firm, in addition to being

retained to write the report, was retained to represent Ukraine itself, including in connection with

the Tymoshenko case and to provide training to the trial team prosecuting Tymoshenko.

35.   MANAFORT also knew that the Government of Ukraine did not want to disclose how much

the report cost. More than $4.6 million was paid to the law firm for its work. MANAFORT used

one of his offshore accounts to funnel $4 million to pay the law firm, a fact that MANAFORT did

not disclose to the public. Instead, the Government of Ukraine reported falsely that the report cost

just $12,000.

36.   MANAFORT and others knew that the actual cost of the report and the scope of the law

firm’s work would undermine the report’s being perceived as an independent assessment and thus

being an effective lobbying tool for MANAFORT to use to support the incarceration of President

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Yanukovych’s political opponent.

37.   In addition to the law firm report, MANAFORT took other steps on behalf of the

Government of Ukraine to tarnish Tymoshenko in the United States. In addition to disseminating

stories about her soliciting murder, noted above, in October 2012, MANAFORT orchestrated a

scheme to have, as he wrote in a contemporaneous communication, “[O]bama jews” put pressure

on the Administration to disavow Tymoshenko and support Yanukovych. MANAFORT sought

to undermine United States support for Tymoshenko by spreading stories in the United States that

a senior Cabinet official (who had been a prominent critic of Yanukovych’s treatment of

Tymoshenko) was supporting anti-Semitism because the official supported Tymoshenko, who in

turn had formed a political alliance with a Ukraine party that espoused anti-Semitic

views. MANAFORT coordinated privately with a senior Israeli government official to issue a

written statement publicizing this story. MANAFORT then, with secret advance knowledge of

that Israeli statement, worked to disseminate this story in the United States, writing to Person D1

“I have someone pushing it on the NY Post. Bada bing bada boom.” MANAFORT sought to have

the Administration understand that “the Jewish community will take this out on Obama on election

day if he does nothing.” MANAFORT then told his United States lobbyist to inform the

Administration that Ukraine had worked to prevent the Administration’s presidential opponent

from including damaging language in the Israeli statement, so as not to harm the Administration,

and thus further ingratiate Yanukovych with the Administration.

Company A and Company B

38.   As a third part of the lobbying scheme, in February 2012, MANAFORT solicited two

Washington, D.C. lobbying firms (Company A and Company B) to lobby in the United States on

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behalf of President Yanukovych, the Party of Regions and the Government of Ukraine. For

instance, in early 2012 at the inception of the relationship, Company B wrote in an email to its

team about a “potential representation for the Ukraine,” having been contacted “at the suggestion

of Paul Manafort who has been working on the current PM elections.”

39.   MANAFORT arranged to pay Companies A and B over $2 million from his offshore

accounts for their United States lobbying work for Ukraine.

40.   MANAFORT provided direction to Companies A and B in their lobbying efforts, including

providing support for numerous United States visits by numerous senior Ukrainian officials.

Companies A and B, at MANAFORT’s direction, engaged in extensive United States lobbying.

Among other things, they lobbied dozens of Members of Congress, their staff, and White House

and State Department officials about Ukraine sanctions, the validity of Ukraine elections, and the

propriety of President Yanukovych’s imprisoning Tymoshenko, his presidential rival.

41.   In addition, with the assistance of Company A, MANAFORT also personally lobbied in the

United States. He drafted and edited numerous ghost-written op-eds for publication in United

States newspapers. He also personally met in March 2013 in Washington, D.C., with a Member

of Congress who was on a subcommittee that had Ukraine within its purview. After the meeting,

MANAFORT prepared a report for President Yanukovych that the meeting “went well” and

reported a series of positive developments for Ukraine from the meeting.

42.   Indeed, MANAFORT repeatedly communicated in person and in writing with President

Yanukovych and his staff about the lobbying activities of Companies A and B and he tasked the

companies to prepare assessments of their work so he, in turn, could brief President Yanukovych.

For instance, MANAFORT wrote President Yanukovych a memorandum dated April 8, 2012, in

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which he provided an update on the lobbying firms’ activities “since the inception of the project a

few weeks ago. It is my intention to provide you with a weekly update moving forward.” In

November 2012, Gates wrote to Companies A and B that the firms needed to prepare an assessment

of their past and prospective lobbying efforts so the “President” could be briefed by “Paul” “on

what Ukraine has done well and what it can do better as we move into 2013.” The resulting

memorandum from Companies A and B, with input from Gates, noted among other things that the

“client” had not been as successful as hoped given that it had an Embassy in Washington.

43.   To distance their United States lobbying work from the Government of Ukraine, and to

avoid having to register as agents of Ukraine under the Foreign Agents Registration Act,

MANAFORT with others arranged for Companies A and B to be engaged by a newly-formed

Brussels entity called the European Centre for the Modern Ukraine (the Centre), instead of directly

by the Government of Ukraine.

44.   MANAFORT described the Centre as “the Brussels NGO that we have formed” to

coordinate lobbying for Ukraine. The Centre was founded by a Ukraine Party of Regions member

and Ukraine First Vice-Prime Minister. The head of its Board was another member of the Party

of Regions, who became the Ukraine Foreign Minister.

45.   In spite of these ties to Ukraine, MANAFORT and others arranged for the Centre to

represent falsely that it was not “directly or indirectly supervised, directed, [or] controlled” in

whole or in major part by the Government of Ukraine or the Party of Regions. MANAFORT knew

that the false and misleading representations would lead Companies A and B not to register their

activities pursuant to the Foreign Agents Registration Act.

46.   Despite the Centre being the ostensible client of Companies A and B, MANAFORT knew

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that the Centre did not direct or oversee their work.            The firms received direction from

MANAFORT and his subordinate Gates, on behalf of the Government of Ukraine.

47.    Various employees of Companies A and B understood that they were receiving direction

from MANAFORT and President Yanukovych, not the Centre, which was not even operational

when Companies A and B began lobbying for Ukraine. MANAFORT, Gates, and employees of

both Companies A and B referred to the client in ways that made clear they knew it was Ukraine,

for instance noting that the “client” had an Embassy in Washington D.C. The head of Company

B told his team to think the President of Ukraine “is the client.” As a Company A employee noted

to another company employee: the lobbying for the Centre was “in name only. [Y]ou’ve gotta see

through the nonsense of that[.]” “It’s like Alice in Wonderland.” An employee of Company B

described the Centre as a fig leaf, and the Centre’s written certification that it was not related to

the Party of Regions as “a fig leaf on a fig leaf,” referring to the Centre in an email as the “European

hot dog stand for a Modern Ukraine.”

Conspiring to Obstruct Justice: False and Misleading Submissions to the Department of Justice

48.    In September 2016, after numerous press reports concerning MANAFORT had appeared in

August, the Department of Justice National Security Division informed MANAFORT, Gates, and

DMI in writing that it sought to determine whether they had acted as agents of a foreign principal

under the Foreign Agents Registration Act, without registering. In November 2016 and February

2017, MANAFORT and Gates conspired to knowingly and intentionally cause false and

misleading letters to be submitted to the Department of Justice, through his unwitting legal

counsel. The letters, both of which were approved by MANAFORT before they were submitted

by his counsel, represented falsely, among other things, that:

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       a.      DMI’s “efforts on behalf of the Party of Regions” “did not include meetings or

       outreach within the U.S.”;

       b.      MANAFORT did not “recall meeting with or conducting outreach to U.S.

       government officials or U.S. media outlets on behalf of the [Centre], nor do they recall

       being party to, arranging, or facilitating any such communications. Rather, it is the

       recollection and understanding of Messrs. Gates and Manafort that such communications

       would have been facilitated and conducted by the [Centre’s] U.S. consultants, as directed

       by the [Centre]. . . .”;

       c.      MANAFORT had merely served as a means of introduction of Company A and

       Company B to the Centre and provided the Centre with a list of “potential U.S.-based

       consultants—including [Company A] and [Company B]—for the [Centre’s] reference and

       further consideration”; and

       d.      DMI “does not retain communications beyond thirty days” and as a result of this

       policy, a “search has returned no responsive documents.” The November 2016 letter

       attached a one-page, undated document that purported to be a DMI “Email Retention

       Policy.”

49.   In fact, MANAFORT had: selected Companies A and B; engaged in weekly scheduled calls

and frequent emails with Companies A and B to provide them directions as to specific lobbying

steps that should be taken; sought and received detailed oral and written reports from these firms

on the lobbying work they had performed; communicated with Yanukovych to brief him on their

lobbying efforts; both congratulated and reprimanded Companies A and B on their lobbying work;

communicated directly with United States officials in connection with this work; and paid the

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lobbying firms over $2.5 million from offshore accounts he controlled, among other things.

50.   Although MANAFORT had represented to the Department of Justice in November 2016

and February 2017 that he had no relevant documents, in fact MANAFORT had numerous

incriminating documents in his possession, as he knew at the time. The Federal Bureau of

Investigation conducted a court-authorized search of MANAFORT’S home in Virginia in the

summer of 2017. The documents attached hereto as Government Exhibits 503, 504, 517, 532, 594,

604, 606, 616, 691, 692, 697, 706 and 708, among numerous others, were all documents that

MANAFORT had in his possession, custody or control (and were found in the search) and all pre-

dated the November 2016 letter.

Money Laundering Conspiracy

51.   In or around and between 2006 and 2016, MANAFORT, together with others,                   did

knowingly and intentionally conspire (a) to conduct financial transactions, affecting interstate and

foreign commerce, which involved the proceeds of specified unlawful activity, to wit, felony

violations of FARA in violation of Title 22, United States Code, Sections 612 and 618, knowing

that the property involved in the financial transactions represented proceeds of some form of

unlawful activity, with intent to engage in conduct constituting a violation of sections 7201 and

7206 of the Internal Revenue Code of 1986; and (b) to transport, transmit, and transfer monetary

instruments and funds from places outside the United States to and through places in the United

States and from places in the United States to and through places outside the United States, with

the intent to promote the carrying on of specified unlawful activity, to wit: a felony violation of

FARA, in violation of Title 22, United States Code, Sections 612 and 618, contrary to Title 18,

United States Code, Section 1956(a)(1)(A)(ii) and (a)(2)(A).

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obligations to the United States.

54.    First, the Bank Secrecy Act and its implementing regulations require United States citizens

to report to the United States Treasury any financial interest in, or signatory authority over, any

bank account or other financial account held in foreign countries, for every calendar year in which

the aggregate balance of all such foreign accounts exceeds $10,000 at any point during the year.

This is commonly known as a foreign bank account report or “FBAR.” The Bank Secrecy Act

requires these reports because they have a high degree of usefulness in criminal, tax, or regulatory

investigations or proceedings. The United States Treasury’s Financial Crimes Enforcement

Network (FinCEN) is the custodian for FBAR filings, and FinCEN provides access to its FBAR

database to law enforcement entities, including the Federal Bureau of Investigation. The reports

filed by individuals and businesses are used by law enforcement to identify, detect, and deter

money laundering that furthers criminal enterprise activity, tax evasion, and other unlawful

activities.

55.    Second, United States citizens also are obligated to report information to the IRS regarding

foreign bank accounts. For instance, in 2010 Form 1040, Schedule B had a “Yes” or “No” box to

record an answer to the question: “At any time during [the calendar year], did you have an interest

in or a signature or other authority over a financial account in a foreign country, such as a bank

account, securities account, or other financial account?” If the answer was “Yes,” then the form

required the taxpayer to enter the name of the foreign country in which the financial account was

located.

56.    For each year in or about and between 2007 through at least 2014, MANAFORT had

authority over foreign accounts that required an FBAR report. Specifically, MANAFORT was

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required to report to the United States Treasury each foreign bank account held by the foreign

MANAFORT entities noted above in paragraph 10.              No FBAR reports were made by

MANAFORT for these accounts.

57.   Furthermore, in each of MANAFORT’s tax filings for 2007 through 2014, Manafort

represented falsely that he did not have authority over any foreign bank accounts. MANAFORT

had repeatedly and falsely represented in writing to MANAFORT’s tax preparer that

MANAFORT had no authority over foreign bank accounts, knowing that such false

representations would result in false MANAFORT tax filings. For instance, on October 4, 2011,

MANAFORT’s tax preparer asked MANAFORT in writing: “At any time during 2010, did you

[or your wife or children] have an interest in or a signature or other authority over a financial

account in a foreign country, such as a bank account, securities account or other financial

account?” On the same day, MANAFORT falsely responded “NO.” MANAFORT responded the

same way as recently as October 3, 2016, when MANAFORT’s tax preparer again emailed the

question in connection with the preparation of MANAFORT’s tax returns: “Foreign bank accounts

etc.?” MANAFORT responded on or about the same day: “NONE.”

MANAFORT’s Fraud To Increase Access To Offshore Money

58.   After MANAFORT used his offshore accounts to purchase real estate in the United States,

he took out mortgages on the properties thereby allowing MANAFORT to have the benefits of

liquid income without paying taxes on it. Further, MANAFORT defrauded the banks that loaned

him the money so that he could withdraw more money at a cheaper rate than he otherwise would

have been permitted.

59.    In 2012, MANAFORT, through a corporate vehicle called “MC Soho Holdings, LLC”

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owned by him and his family, bought a condominium on Howard Street in the Soho neighborhood

in Manhattan, New York. He paid approximately $2,850,000. All the money used to purchase

the condominium came from MANAFORT entities in Cyprus. MANAFORT used the property

from at least January 2015 through 2016 as an income-generating rental property, charging

thousands of dollars a week on Airbnb, among other places. In his tax returns, MANAFORT took

advantage of the beneficial tax consequences of owning this rental property.

60.   Also in 2012, MANAFORT -- through a corporate vehicle called “MC Brooklyn Holdings,

LLC” similarly owned by him and his family -- bought a brownstone on Union Street in the Carroll

Gardens section of Brooklyn, New York. He paid approximately $3,000,000 in cash for the

property. All of that money came from a MANAFORT entity in Cyprus.

                                         COUNT ONE

                            Conspiracy Against The United States

61.   Paragraphs 1 through 60 are incorporated here.

62.   From in or about and between 2006 and 2017, both dates being approximate and inclusive,

in the District of Columbia and elsewhere, the defendant PAUL J. MANAFORT, JR., together

with others, including Gates and Kilimnik, knowingly and intentionally conspired to defraud the

United States by impeding, impairing, obstructing, and defeating the lawful governmental

functions of a government agency, namely the Department of Justice and the Department of the

Treasury, and to commit offenses against the United States, to wit, (a) money laundering (in

violation of 18 U.S.C. § 1956); (b) tax fraud (in violation of 26 U.S.C. § 7206(1)); (c) failing to

file Foreign Bank Account Reports (in violation of 31 U.S.C. §§ 5312 and 5322(b)); (d) violating

the Foreign Agents Registration Act (in violation of 22 U.S.C. §§ 612, 618(a)(1), and 618(a)(2));

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and (e) lying and misrepresenting to the Department of Justice (in violation of 18 U.S.C. § 1001(a)

and 22 U.S.C. §§ 612 and 618(a)(2)).

63.   In furtherance of the conspiracy and to effect its illegal object, MANAFORT, together with

others, committed the overt acts, in the District of Columbia and elsewhere, as set forth in the

paragraphs above, which are incorporated herein.

                               (18 U.S.C. §§ 371 and 3551 et seq.)



                                         COUNT TWO

                    Conspiracy to Obstruct Justice (Witness Tampering)

64.   Paragraphs 1 through 60 are incorporated here.

65.   From in or about and between February 23, 2018 and April 2018, both dates being

approximate and inclusive, within the District of Columbia and elsewhere, the defendant PAUL J.

MANAFORT, JR., together with others, including Konstantin Kilimnik, knowingly and

intentionally conspired to corruptly persuade another person, to wit: Persons D1 and D2, with

intent to influence, delay and prevent the testimony of any person in an official proceeding, in

violation of 18 U.S.C. § 1512(b)(1).

66.   On February 22, 2018, MANAFORT was charged in the District of Columbia in a

Superseding Indictment that for the first time included allegations about the Hapsburg Group and

MANAFORT’s use of that group to lobby illegally in the United States in violation of the Foreign

Agent Registration Act. MANAFORT knew that the Act prescribed only United States lobbying.

Immediately after February 22, 2018, MANAFORT began reaching out directly and indirectly to

Persons D1 and D2 to induce them to say falsely that they did not work in the United States as part

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                                   (18 U.S.C. §§ 371 and 3551 et seq.)

                                   FORFEITURE ALLEGATIONS

68.    Upon conviction of the offense charged in Count One, the defendant PAUL J.

MANAFORT, JR., shall forfeit to the United States any property, real or personal, involved in

such offense, and any property traceable to such property, and any property, real or personal, which

constitutes or is derived from proceeds traceable to the offense, pursuant to Title 18, United States

Code, Sections 981(a)(1)(A), 981(a)(1)(C), and 982(a)(1), and Title 28, United States Code,

Section 2461(c). The United States will also seek a judgment against the defendant for a sum of

money representing the property described in this paragraph (to be offset by the forfeiture of any

specific property).

69.    The property subject to forfeiture by PAUL J. MANAFORT, JR., includes, but is not limited

to, the following listed assets:

        a.      The real property and premises commonly known as 377 Union Street, Brooklyn,

        New York 11231 (Block 429, Lot 65), including all appurtenances, improvements, and

        attachments thereon, and any property traceable thereto;

        b.      The real property and premises commonly known as 29 Howard Street, #4D, New

        York, New York 10013 (Block 209, Lot 1104), including all appurtenances, improvements,

        and attachments thereon, and any property traceable thereto;

        c.      The real property and premises commonly known as 174 Jobs Lane, Water Mill,

        New York 11976, including all appurtenances, improvements, and attachments thereon,

        and any property traceable thereto;

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       d.     All funds held in account number XXXXXX0969 at The Federal Savings Bank,

       and any property traceable thereto;

       e.     All funds seized from account number XXXXXX1388 at Capital One N.A., and

       any property traceable thereto; and

       f.     All funds seized from account number XXXXXX9952 at The Federal Savings

       Bank, and any property traceable thereto;

       g.     Northwestern Mutual Universal Life Insurance Policy 18268327, and any property

       traceable thereto;

       h.     All funds held in account number XXXX7988 at Charles A. Schwab & Co. Inc.,

       and any property traceable thereto; and

       i.     The real property and premises commonly known as 1046 N. Edgewood Street,

       Arlington, Virginia 22201, including all appurtenances, improvements, and attachments

       thereon, and any property traceable thereto.

                                             Substitute Assets

70.   If any of the property described above as being subject to forfeiture, as a result of any act or

omission of the defendant

              a.      cannot be located upon the exercise of due diligence;

              b.      has been transferred or sold to, or deposited with, a third party;

              c.      has been placed beyond the jurisdiction of the court;

              d.      has been substantially diminished in value; or

              e.      has been commingled with other property that cannot be subdivided without

                      difficulty;

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it is the intent of the United States of America, pursuant to Title 18, United States Code, Section

982(b) and Title 28, United States Code, Section 2461 ( c), incorporating Title 21 , United States

Code, Section 853, to seek forfeiture of any other property of said defendant.




                                             By:     Rs~£~-
                                                     Special Counsel
                                                     Department of Justice




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                                                       U.S. Department of Justice
                                                       The Special Counsel's Office

                                                       Washington, D.C. 20530
                                                        September 13, 2018


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                                                                                            I
                Re:    United States v. Paul .J. Manafort, Jr..                         ,
                                                                   rim. No. 17-201-/ (ABJ)


Dear Counsel:

       This letter sets forth the full and complete plea offer to your client Paul J. Manafort, Jr.
(hereinafter referred to as "your client" or "defendant") from the Special Counsel's Office
(hereinafter also referred to as "the Government" or "this Office"). If your client accepts the
terms and conditions of this offer, please have your client execute this document in the space
provided below. Upon receipt of the executed document, this letter will become the Plea
Agreement (hereinafter referred to as the "Agreement"). The terms of the offer are as follows.

       1.       Charges and Statutory Penalties

        Your client agrees to plead guilty in the above-captioned case to all elements of all
objects of all the charges in a Superseding Criminal Information, which will encompass the
charges in Counts One and Two of a Superseding Criminal Information, charging your client
with:

   A. conspiracy against the United States, in violation of 18 U.S.C. § 371 (which includes a
      conspiracy to: (a) money launder (in violation of 18 U.S.C. § 1956); (b) commit tax fraud



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       (in violation of 26 U.S.C. § 7206(1)); (c) fail to file Foreign Bank Account Reports (in
       violation of 31 U.S.C. §§ 5314 and 5322(b)); (d) violate the Foreign Agents Registration
       Act (in violation of22 U.S.C. §§ 612, 618(a)(l), and 618(a)(2)); and (e) to lie to the
       Department of Justice (in violation of 18 U.S.C. § l00l(a) and 22 U.S.C. §§ 612 and
       618(a)(2)); and
    B. conspiracy against the United States, in violation of 18 U.S.C. § 371, to wit: conspiracy
       to obstruct justice by tampering with witnesses while on pre-trial release (in violation of
       18 U.S.C. § 1512).

The defendant also agrees not to appeal any trial or pre-trial issue in the Eastern District of
Virginia, or to challenge in the district court any such issue, and admits in the attached
"Statement of the Offense" his guilt of the remaining counts against him in United States v. Paul
J. Manafort, Jr., Crim. No. 1:18-cr-83 (TSE) (hereafter "Eastern District of Virginia.") A copy
of the Superseding Criminal Information and Statement of the Offense are attached.

       Your client understands that each violation of 18 U.S.C. § 371 carries a maximum
sentence of 5 years' imprisonment; a fine of not more than $250,000, pursuant to 18 U.S.C. §
3571(b)(3); a term of supervised release of not more than 3 years, pursuant to 18 U.S.C. §
3583(b)(2); and an obligation to pay any applicable interest or penalties on fines and restitution
not timely made, and forfeiture.

        In addition, your client agrees to pay a mandatory special assessment of $200 to the Clerk
of the United States District Court for the District of Columbia. Your client also understands
that, pursuant to 18 U.S.C. § 3572 and§ 5El.2 of the United States Sentencing Guidelines,
Guidelines Manual (2016) (hereinafter "Sentencing Guidelines," "Guidelines," or "U.S.S.G."),
the Court may also impose a fine that is sufficient to pay the federal government the costs of any
imprisonment, term of supervised release, and period of probation.

       2.      Factual Stipulations

         Your client agrees that the attached Statement of the Offense fairly and accurately
describes and summarizes your client's actions and involvement in the offenses to which your
client is pleading guilty, as well as crimes charged in the Eastern District of Virginia that remain
outstanding, as well as additional acts taken by him. Please have your client sign and return the
Statement of the Offense, along with this Agreement.

       3.      Additional Cbar·ges

        In consideration of your client's guilty plea to the above offenses, and upon the
completion of full cooperation as described herein and fulfillment of all the other obligations
herein, no additional criminal charges will be brought against the defendant for his heretofore
disclosed participation in criminal activity, including money laundering, false statements,
personal and corporate tax and FBAR offenses, bank fraud, Foreign Agents Registration Act
violations for his work in Ukraine, and obstruction of justice. In addition, subject to the terms of
this Agreement, at the time of sentence or at the completion of his successful cooperation,
whichever is later, the Government will move to dismiss the remaining counts of the Indictment



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in this matter and in the Eastern District of Virginia and your client waives venue as to such
charges in the event he breaches this Agreement. Your client also waives all rights under the
Speedy Trial act as to any outstanding charges.

       4.      Sentencing Guidelines Analysis

       Your client understands that the sentence in this case will be determined by the Court,
pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a consideration of the
applicable guidelines and policies set forth in the Sentencing Guidelines. Pursuant to Federal
Rule of Criminal Procedure 11 (c)(1 )(B), and to assist the Court in determining the appropriate
sentence, the Office estimates the Guidelines as follows:

               A.     Estimated Offense Level Under the Guidelines



Base offense level           +8      2S1.l(a) Base Offense Level:
                                     (1) The offense level for the underlying offense
                                     from which the laundered funds were derived, if
                                     (A) the defendant committed the underlying
                                     offense (or would be accountable for the underlying
                                     offense under subsection (a)(l)(A) of §lBl.3
                                     (Relevant Conduct)); and (B) the offense level for
                                     that offense can be determined; or
                                     (2) 8 plus the number of offense levels from the
                                     table in §2Bl.1 (Theft, Property Destruction, and
                                     Fraud) corresponding to the value of the laundered
                                     funds, otherwise.
                            +22      Using more than $25 million threshold under
                                     2Bl.1
Enhancement                 +2       2S1.l(b)(2)(B) permits enhancement for 2 points if
                                     the conviction is pursuant to ~ 1956.
Enhancement                 +2       2S1. l(b)(3) adds two points for sophisticated
                                     laundering (which the guidelines lists as involving
                                     shell corporations and offshore financial accounts.
Enhancement:                +4       3Bl.l(a) aggravating role - 5 or more participants
                                     or otherwise extensive
Enhancement:                +2       3Cl.1 obstruction
Combined Offense            +0       3D1.4
level
Acceptance:                 -3      3El.l(b) acceptance of responsibility
Total for Counts One        37      Advisory guidelines range of 210-262
and Two:



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 The defendant agrees that all of the Sentencing Guidelines for money laundering applicable to
 charges brought under 18 U.S.C. § 1956 apply to Count One of the Superseding Criminal
 Information brought under 18 U.S.C. § 371.

 For the purposes of the Sentencing Guidelines analysis, the government calculates the highest
 guideline range among the offenses, namely the object of the conspiracy to violate Title 18
 U.S.C. § 1956. The defendant's estimated guideline range for Count Two, the conspiracy to
 obstruct justice, is 30 (before any reduction for acceptance of responsibility), and would be
 grouped with Count One pursuant to §3D1.2(c).


                B.     Acceptance of Responsibility

        The Government agrees that a 2-level reduction will be appropriate, pursuant to U.S.S.G.
§ 3E 1.1, provided that your client clearly demonstrates acceptance of responsibility, to the
satisfaction of the Government, through your client's allocution, adherence to every provision of
this Agreement, and conduct between entry of the plea and imposition of sentence. If the
defendant has accepted responsibility as described above, and if the defendant pleads guilty on or
before September 14, 2018, subject to the availability of the Court, an additional one-level
reduction will be warranted, pursuant to U.S.S.G. § 3El.l(b).

       Nothing in this Agreement limits the right of the Government to seek denial of the
adjustment for acceptance ofresponsibility, pursuant to U.S.S.G. § 3El.l, and/or imposition of
an adjustment for obstruction of justice, pursuant to U.S.S.G. § 3Cl.l, regardless of any
agreement set forth herein, should your client move to withdraw his guilty plea after it is entered,
or should it be determined by the Government that your client has either (a) engaged in conduct,
unknown to the Government at the time of the signing of this Agreement, that constitutes
obstruction of justice, or (b) engaged in additional criminal conduct after signing this Agreement.

        In accordance with the above, the applicable Guidelines Offense Level will be at least 37.

               C.      Estimated Criminal History Category

       Based upon the information now available to this Office, your client has no criminal
convictions, other than in the Eastern District of Virginia. Your client acknowledges that
depending on when he is sentenced here and how the Guidelines are interpreted, he may have a
criminal history. If additional convictions are discovered during the pre-sentence investigation
by the United States Probation Office, your client's criminal history points may increase.

               D.     Estimated Applicable Guidelines Range

        Based upon the total offense level and the estimated criminal history category set forth
above, the Office calculates your client's estimated Sentencing Guidelines range is 210 months
to 262 months' imprisonment (the "Estimated Guidelin~s Range"). In addition, the Office
calculates that, pursuant to U.S.S.G. § 5El.2, should the Court impose a fine, at Guidelines level



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 37, the estimated applicable fine range is $40,000 to $400,000. Your client reserves the right to
 ask the Court not to impose any applicable fine.

         Your client agrees that, solely for the purposes of calculating the applicable range under
  the Sentencing Guidelines, a downward departure from the Estimated Guidelines Range set forth
  above is not warranted, subject to the paragraphs regarding cooperation below. Accordingly,
 you will not seek any departure or adjustment to the Estimated Guidelines Range set forth above,
 nor suggest that the Court consider such a departure or adjustment for any other reason other
 than those specified above. Your client also reserves the right to disagree with the Estimated
 Guideline Range calculated by the Office with respect to role in the offense. However, your
 client understands and acknowledges that the Estimated Guidelines Range agreed to by the
 Office is not binding on the Probation Office or the Court. Should the Court or Probation Office
 determine that a different guidelines range is applicable, your client will not be permitted to
 withdraw his guilty plea on that basis, and the Government and your client will still be bound by
 this Agreement.

         Your client understands and acknowledges that the terms of this section apply only to
conduct that occurred before the execution of this Agreement. Should your client engage in any
conduct after the execution of this Agreement that would form the basis for an increase in your
client's base offense level or justify an upward departure (examples of which include, but are not
limited to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the probation officer, or the
Court), the Government is free under this Agreement to seek an increase in the base offense level
based on that post-agreement conduct.

        5.      Agreement as to Sentencing Allocution

       Based upon the information known to the Government at the time of the signing of this
Agreement, the parties further agree that a sentence within the Estimated Guidelines Range (or
below) would constitute a reasonable sentence in light of all of the factors set forth in 18 U.S.C.
§ 3553(a), should such a sentence be subject to appellate review notwithstanding the appeal
waiver provided below.

        6.     Reservation of Allocution

        The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client's misconduct,
including any misconduct not described in the charge to which your client is pleading guilty.

        The parties also reserve the right to inform the presentence report writer and the Courts of
any relevant facts, to dispute any factual inaccuracies in the presentence report, and to contest
any matters not provided for in this Agreement. In the event that the Courts considers any
Sentencing Guidelines adjustments, departures, or calculations different from any agreements
contained in this Agreement, or contemplates a sentence outside the Guidelines range based upon
the general sentencing factors listed in 18 U.S.C. § 3553(a), the parties reserve the right to
answer any related inquiries from the Courts. In addition, your client acknowledges that the



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Government is not obligated to file any post-sentence downward departure motion in this case
pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.

        7.     Court Not Bound by this Agreement or the Sentencing Guidelines

       Your client understands that the sentence in this case will be imposed in accordance with
18 U.S.C. § 3553(a), upon consideration of the Sentencing Guidelines. Your client further
understands that the sentence to be imposed is a matter solely within the discretion of the Courts.
Your client acknowledges that the Courts are not obligated to follow any recommendation of the
Government at the time of sentencing or to grant a downward departure based on your client's
substantial assistance to the Government, even if the Government files a motion pursuant to
Section SK 1.1 of the Sentencing Guidelines. Your client understands that neither the
Government's recommendation nor the Sentencing Guidelines are binding on the Courts.

        Your client acknowledges that your client's entry of a guilty plea to the charged offenses
authorizes the Court to impose any sentence, up to and including the statutory maximum
sentence, which may be greater than the applicable Guidelines range determined by the Court.
Although the parties agree that the sentences here and in the Eastern District of Virginia should
run concurrently to the extent there is factual overlap (i.e. the tax and foreign bank account
charges), that recommendation is not binding on either Court. The Government cannot, and does
not, make any promise or representation as to what sentences your client will receive. Moreover,
your client acknowledges that your client will have no right to withdraw your client's plea of
guilty should the Courts impose sentences that are outside the Guidelines range or if the Courts
do not follow the Government's sentencing recommendation. The Government and your client
will be bound by this Agreement, regardless of the sentence imposed by the Courts. Any effort
by your client to withdraw the guilty plea because of the length of the sentence shall constitute a
breach of this Agreement.

       8.      Cooperation

Your client shall cooperate fully, truthfully, completely, and forthrightly with the Government
and other law enforcement authorities identified by the Government in any and all matters as to
which the Government deems the cooperation relevant. This cooperation will include, but is not
limited to, the following:

       (a) The defendant agrees to be fully debriefed and to attend all meetings at which his
           presence is requested, concerning his participation in and knowledge of all criminal
           activities.

       (b) The defendant agrees to furnish to the Government all documents and other material
           that may be relevant to the investigation and that are in the defendant's possession or
           control and to participate in undercover activities pursuant to the specific instructions
           of law enforcement agents or the Government.

       (c) The defendant agrees to testify at any proceeding in the District of Colombia or
           elsewhere as requested by the Government.



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        (d) The defendant consents to adjournments of his sentences as requested by the
            Government.


        (e) The defendant agrees that all of the defendant's obligations under this agreement
            continue after the defendant is sentenced here and in the Eastern District of Virginia;
            and


        (f) The defendant must at all times give complete, truthful, and accurate information and
            testimony, and must not commit, or attempt to commit, any further crimes.


        Your client acknowledges and understands that, during the course of the cooperation
outlined in this Agreement, your client will be interviewed by law enforcement agents and/or
Government attorneys. Your client waives any right to have counsel present during these
interviews and agrees to meet with law enforcement agents and Government attorneys outside of
the presence of counsel. If, at some future point, you or your client desire to have counsel
present during interviews by law enforcement agents and/or Government attorneys, and you
communicate this decision in writing to this Office, this Office will honor this request, and this
change will have no effect on any other terms and conditions of this Agreement.

        Your client shall testify fully, completely and truthfully before any and all Grand Juries
in the District of Columbia and elsewhere, and at any and all trials of cases or other court
proceedings in the District of Columbia and elsewhere, at which your client's testimony may be
deemed relevant by the Government.

         Your client understands and acknowledges that nothing in this Agreement allows your
client to commit any criminal violation of local, state or federal law during the period of your
client's cooperation with law enforcement authorities or at any time prior to the sentencing in
this case. The commission of a criminal offense during the period of your client's cooperation or
at any time prior to sentencing will constitute a breach of this Agreement and will relieve the
Government of all of its obligations under this Agreement, including, but not limited to, its
obligation to inform this Court of any assistance your client has provided. However, your client
acknowledges and agrees that such a breach of this Agreement will not entitle your client to
withdraw your client's plea of guilty or relieve your client of the obligations under this
Agreement.

       Your client agrees that the sentencing in this case and in the Eastern District of Virginia
may be delayed until your client's efforts to cooperate have been completed, as determined by
the Government, so that the Courts will have the benefit of all relevant information before a
sentence is imposed.

       9.      Government's Obligations



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          The Government will bring to the Courts' attention at the time of sentencing the nature
 and extent of your client's cooperation or lack of cooperation. The Government will evaluate the
 full nature and extent of your client's cooperation to determine whether your client has provided
 substantial assistance in the investigation or prosecution of another person who has committed an
 offense. If this Office determines that the defendant has provided substantial assistance in the
 form of truthful information and, where applicable, testimony, the Office will file motions
 pursuant to Section 5Kl.1 of the United States Sentencing Guidelines. Defendant will then be
 free to argue for any sentence below the advisory Sentencing Guidelines range calculated by the
 Probation Office, including probation.

        10.     Waivers

                A.      Venue

        Your client waives any challenge to venue in the District of Columbia.

                B.      Statute of Limitations

         Your client agrees that, should any plea or conviction following your client's pleas of
 guilty pursuant to this Agreement, or the guilty verdicts in the Eastern District of Virginia, be
 vacated, set aside, or dismissed for any reason (other than by government motion as set forth
 herein), any prosecution based on the conduct set forth in the attached Statement of the Offense,
 as well as any crimes that the Government has agreed not to prosecute or to dismiss pursuant to
this Agreement, that is not time-barred by the applicable statute oflimitations on the date of the
 signing of this Agreement, may be commenced or reinstated against your client, notwithstanding
 the expiration of the statute of limitations between the signing of this Agreement and the
commencement or reinstatement of such prosecution. It is the intent of this Agreement to waive
all defenses based on the statute of limitations with respect to any prosecution of conduct set
forth in the attached Statement of the Offense, or any other crimes that the Government has
agreed not to prosecute, that are not time-barred on the date that this Agreement is signed. The
Office and any other party will be free to use against your client, directly and indirectly, in any
criminal or civil proceeding, all statements made by your client, including the Statement of the
Offense, and any of the information or materials provided by your client, including such
statements, information, and materials provided pursuant to this Agreement or during the course
of any debriefings conducted in anticipation of, or after entry of, this Agreement, whether or not
the debriefings were previously a part of proffer-protected debriefings, and your client's
statements made during proceedings before the Court pursuant to Rule 11 of the Federal Rules of
Criminal Procedure.


               C.      Trial and Other Rights

        Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your
client agrees to forgo the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client's guilty plea. Your client also agrees to waive,



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among other rights, the right to be indicted by a Grand Jury, the right to plead not guilty, and the
right to a jury trial. If there were a jury trial, your client would have the right to be represented
by counsel, to confront and cross-examine witnesses against your client, to challenge the
admissibility of evidence offered against your client, to compel witnesses to appear for the
purpose of testifying and presenting other evidence on your client's behalf, and to choose
whether to testify. If there were a jury trial and your client chose not to testify at that trial, your
client would have the right to have the jury instructed that your client's failure to testify could
not be held against your client. Your client would further have the right to have the jury
instructed that your client is presumed innocent until proven guilty, and that the burden would be
on the United States to prove your client's guilt beyond a reasonable doubt. If your client were
found guilty after a trial, your client would have the right to appeal your client's conviction.
Your client understands that the Fifth Amendment to the Constitution of the United States
protects your client from the use of compelled self-incriminating statements in a criminal
prosecution. By entering a plea of guilty, your client knowingly and voluntarily waives or gives
up your client's right against compelled self-incrimination.

        Your client acknowledges discussing with you Rule l l(f) of the Federal Rules of
Criminal Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the
admissibility of statements made by a defendant in the course of plea discussions or plea
proceedings if a guilty plea is later withdrawn. Your client knowingly and voluntarily hereby
waives the rights that arise under these rules to object to the use of all such statements by him on
and after September 10, 2018, in the event your client breaches this agreement, withdraws his
guilty plea, or seeks to withdraw from this Agreement after signing it. This Agreement
supersedes the proffer agreement between the Government and the client.

        Your client also agrees to waive all constitutional and statutory rights to a speedy
sentence and agrees that the pleas of guilty pursuant to this Agreement will be entered at a time
decided upon by the parties with the concurrence of the Court. Your client understands that the
date for sentencing will be set by the Courts.

        Your client agrees not to accept remuneration or compensation of any sort, directly or
indirectly, for the dissemination through any means, including but not limited to books, articles,
speeches, biogs, podcasts, and interviews, however disseminated, regarding the conduct
encompassed by the Statement of the Offense, or the investigation by the Office or prosecution
of any criminal or civil cases against him.

               D.      Appeal Rights

        Your client understands that federal law, specifically 18 U.S.C. § 3742, affords
defendants the right to appeal their sentences in certain circumstances. Your client agrees to
waive the right to appeal the sentences in this case and the Eastern District of Virginia, including
but not limited to any term of imprisonment, fine, forfeiture, award of restitution, term or
condition of supervised release, authority of the Courts to set conditions of release, and the
manner in which the sentences were determined, except to the extent the Courts sentence your
client above the statutory maximum or guidelines range determined by the Courts or your client
claims that your client received ineffective assistance of counsel, in which case your client would



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have the right to appeal the illegal sentence or above-guidelines sentence or raise on appeal a
claim of ineffective assistance of counsel, but not to raise on appeal other issues regarding the
sentencings. In agreeing to this waiver, your client is aware that your client's sentences have yet
to be determined by the Courts. Realizing the uncertainty in estimating what sentences the
Courts ultimately will impose, your client knowingly and willingly waives your client's right to
appeal the sentence, to the extent noted above, in exchange for the concessions made by the
Government in this Agreement.

                E.      Collateral Attack

        Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or in the Eastern District of Virginia or otherwise attempt to modify or
change the sentences or the manner in which they were determined in any collateral attack,
including, but not limited to, a motion brought under 28 U.S.C. § 2255 or Federal Rule of Civil
Procedure 60(b), except to the extent such a motion is based on a claim that your client received
ineffective assistance of counsel.

        Your client agrees that with respect to all charges referred to herein he is not a
"prevailing party" within the meaning of the "Hyde Amendment," 18 U.S.C. § 3006A note, and
will not file any claim under that law.

                F.      Privacy Act and FOIA Rights

        Your client also agrees to waive all rights, whether asserted directly or by a
representative, to request or receive from any department or agency of the United States any
records pertaining to the investigation or prosecution of this case, including and without
limitation any records that may be sought under the Freedom oflnformation Act, 5 U.S.C. § 552,
or the Privacy Act, 5 U.S.C. § 552a, for the duration of the Special Counsel's investigation.

        11.     Restitution

       Your client understands that the Court has an obligation to determine whether, and in
what amount, mandatory restitution applies in this case under 18 U.S.C. § 3663A. The
Government and your client agree that mandatory restitution does not apply in this case.

        12.     Forfeiture

        a)       Your client agrees to the forfeiture set forth in the Forfeiture Allegations in the
Superseding Criminal Information to which your client is pleading guilty. Your client further
agrees to forfeit criminally and civilly the following properties (collectively, the "Forfeited
Assets") to the United States pursuant to Title 18, United States Code, Sections 981(a)(l)(A),
981(a)(l)(C), 982(a)(l), 982(a)(2); Title 21, United States Code, Section 853(p), and Title 28
U.S.C. § 2461(c), and further agrees to waive all interest in such assets in any administrative or
judicial forfeiture proceeding, whether criminal or civil, state or federal:

    1) The real property and premises commonly known as 377 Union Street, Brooklyn, New



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          York 11231 (Block 429, Lot 65), including all appurtenances, improvements, and
          attachments thereon, and any property traceable thereto;

      2) The real property and premises commonly known as 29 Howard Street, #4D, New York,
         New York 10013 (Block 209, Lot 1104), including all appurtenances, improvements, and
         attachments thereon, and any property traceable thereto;

      3) The real property and premises commonly known as 174 Jobs Lane, Water Mill, New York
         11976, including all appurtenances, improvements, and attachments thereon, and any
         property traceable thereto;

     4) All funds held in account number               0969 at The Federal Savings Bank, and any
        property traceable thereto;

     5) All funds seized from account number                     1388 at Capital One N.A., and any
        property traceable thereto;

     6) All funds seized from account number              9952 at The Federal Savings Bank, and any
        property traceable thereto;

     7) Northwestern Mutual Universal Life Insurance Policy                         and any property

         traceable thereto;

     8) The real property and premises commonly known as 123 Baxter Street, #5D, New York,

         New York 10016 in lieu of 1046 N. Edgewood Street; and

     9) The real property and premises commonly known as 721 Fifth Avenue, #43G, New York,
        New York 10022 in lieu of all funds from account number       ~ at Charles Schwab &
        Co. Inc., and any property traceable thereto.

 Your client agrees that his consent to forfeiture is final and irrevocable as to his interests in the
 Forfeited Assets.


          b)      Your client agrees that the facts set forth in the Statement of Facts and admitted to
  by your client establish that the Forfeited Assets are forfeitable to the United States pursuant to
  Title 18, United States Code, Sections 981 and 982, Title 21, United States Code, Section 853,
  and Title 28, United States Code, Section 2461. Your client admits that the Forfeited Assets
  numbered 1 through 7, above, represent property that constitutes or is derived from proceeds of,
  and property involved in, the criminal offenses in the Superseding Criminal Information to which
. your client is pleading guilty. Your client further agrees that all the Forfeited Assets (numbered
  1 through 9) can additionally be considered substitute assets for the purpose of forfeiture to the
  United States pursuant to Title 18, United States Code, Section 982(b); Title 21, United States
  Code, Section 853(p); and Title 28, United States Code, Section 2461(c).



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        c)     Your client agrees that the Court may enter a preliminary order of forfeiture for
the Forfeited Assets at the time of your client's guilty plea or at any time before sentencing, and
consents thereto. Your client agrees that the Court can enter a Final Order of Forfeiture for the
Forfeited Assets, and could do so as part of his sentence.


         d)      Your client further agrees that the government may choose in its sole discretion
how it wishes to accomplish forfeiture of the property whose forfeiture your client has consented
to in this plea agreement, whether by criminal or civil forfeiture, using judicial or non-judicial
forfeiture processes. If the government chooses to effect the forfeiture provisions of this plea
agreement through the criminal forfeiture process, your client agrees to the entry of orders of
forfeiture for such property and waives the requirements of Federal Rules of Criminal Procedure
1 l(b)(l)(J) and 32.2 regarding notice of the forfeiture in the charging instrument, advice
regarding the forfeiture at the change-of-plea hearing, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the judgment.


        e)      Your client understands that the United States may institute civil or administrative
forfeiture proceedings against all forfeitable property in which your client has an interest,
including the Forfeited Assets, without regard to the status of his criminal conviction. Your
client further consents to the civil forfeiture of the Forfeited Assets to the United States, without
regard to the status of his criminal conviction. In connection therewith, your client specifically
agrees to waive all right, title, and interest in the Forfeited Assets, both individually and on
behalf of DMP International, Summerbreeze LLC, or any other entity of which he is an officer,
member, or has any ownership interest. Your client waives all defenses based on statute of
limitations and venue with respect to any administrative or civil forfeiture proceeding related to
the Forfeited Assets.


          f)     Your client represents that with respect to each of the Forfeited Assets, he is
either the sole and rightful owner and that no other person or entity has any claim or interest, or
that he has secured the consent from any other individuals or entities having an interest in the
Forfeited Assets to convey their interests in the Forfeited Assets to him prior to entry of the
Order of Forfeiture (with the exception of previously disclosed mortgage holders). Your client
warrants that he has accurately represented to the Government all those individuals and entities
having an interest in the Forfeited Assets and the nature and extent of those interests, including
any mortgages or liens on the Forfeited Assets. Your client agrees to take all steps to pass clear
title to the Forfeited Assets to the United States (with the exception of previously disclosed
mortgage liens). Your client further agrees to testify truthfully in any judicial forfeiture
proceeding, and to take all steps to effectuate the same as requested by the Government. Your
client agrees to take all steps requested by the Government to obtain from any other parties by
any lawful means any records of assets owned at any time by your client, including but not
limited to the Forfeited Assets, and to otherwise facilitate the effectuation of forfeiture and the
maximization of the value of Forfeited Assets for the United States.


       g)      Your client agrees that, to the extent that he does not convey to the United States


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clear title to each of the Forfeited Assets, the United States is entitled, in its sole discretion, either
to vacatur of the plea agreement or to forfeiture to the United States of a sum of money equal to
the value of that asset at the time this agreement was executed. Your client consents to
modification of any Order of Forfeiture at any point to add such sum of money as a forfeiture
judgment in substitution for Forfeited Assets.



        h)     Your client hereby abandons any interest he has in all forfeitable property and
consents to any disposition of the property by the government without further notice or
obligation whatsoever owning to your client.


         i)     Your client agrees not to interpose any claim, or to assist others to file or
interpose any claim, to the Forfeited Assets in any proceeding, including but not limited to any
civil or administrative forfeiture proceedings and any ancillary proceedings related to criminal
forfeiture. Your client agrees that he shall not file any petitions for remission, restoration, or any
other assertion of ownership or request for return relating to the Forfeited Assets, or any other
action or motion seeking to collaterally attack the seizure, restraint, forfeiture, or conveyance of
the Forfeited Assets, nor shall your client assist any other in filing any such claims, petitions,
actions, or motion. Contesting or assisting others in contesting forfeiture shall constitute a
material breach of the Agreement, relieving the United States of all its obligations under the
Agreement. Your client agrees not to seek or accept, directly or indirectly, reimbursement or
indemnification from any source with regard to the assets forfeited pursuant to this Agreement.


        j)     In the event your client fails to deliver the assets forfeited pursuant to this
agreement, or in any way fails to adhere to the forfeiture provisions of this agreement, the United
States reserves all remedies available to it, including but not limited to vacating the Agreement
based on a breach of the Agreement by your client.


       k)      Your client agrees that the forfeiture provisions of this plea agreement are
intended to, and will, survive him notwithstanding the abatement of any underlying criminal
conviction after the execution of this Agreement.


         1)      Your client agrees that he will not claim, assert, or apply for, directly or
indirectly, any tax deduction, tax credit, or any other taxable offset with regard to any federal,
state, or local tax or taxable income for payments of any assets forfeited pursuant to this
Agreement.


        m)     Your client agrees to waive all constitutional and statutory challenges in any
manner (including, but not limited to, direct appeal) to any forfeiture carried out in accordance
with this Agreement on any grounds, including that the forfeiture constitutes an excessive fine or
punishment.



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        13.    Breach of Agreement

         Your client understands and agrees that, if after entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client's obligations
under this Agreement, or engages in any criminal activity prior to sentencing or during his
cooperation (whichever is later), your client will have breached this Agreement. Should it be
judged by the Government in its sole discretion that the defendant has failed to cooperate fully,
has intentionally given false, misleading or incomplete information or testimony, has committed
or attempted to commit any further crimes, or has otherwise violated any provision of this
agreement, the defendant will not be released from his pleas of guilty but the Government will be
released from its obligations under this agreement, including (a) not to oppose a downward
adjustment of two levels for acceptance of responsibility described above, and to make the
motion for an additional one-level reduction described above and (b) to file the motion for a
downward departure for cooperation described above. Moreover, the Government may
withdraw the motion described above, if such motion has been filed prior to sentencing. In the
event that it is judged by the Government that there has been a breach: (a) your client will be
fully subject to criminal prosecution, in addition to the charges contained in the Superseding
Criminal Information, for any crimes to which he has not pled guilty, including perjury and
obstruction of justice; and (b) the Government and any other party will be free to use against
your client, directly and indirectly, in any criminal or civil proceeding, all statements made by
your client, including the Statement of the Offense, and any of the information or materials
provided by your client, including such statements, information, and materials provided pursuant
to this Agreement or during the course of any debriefings conducted in anticipation of, or after
entry of, this Agreement, whether or not the debriefings were previously a part of proffer-
protected debriefings, and your client's statements made during proceedings before the Court
pursuant to Rule 11 of the Federal Rules of Criminal Procedure.

       Your client understands and agrees that the Government shall be required to prove a
breach of this Agreement only by good faith.

        Nothing in this Agreement shall be construed to protect your client from prosecution for
any crimes not included within this Agreement or committed by your client after the execution of
this Agreement. Your client understands and agrees that the Government reserves the right to
prosecute your client for any such offenses. Your client further understands that any perjury,
false statements or declarations, or obstruction of justice relating to your client's obligations
under this Agreement shall constitute a breach of this Agreement. In the event of such a breach,
your client will not be allowed to withdraw your client's guilty plea.



       14.     Complete Ag1·eement

      Apart from the written proffer agreement initially dated September 11, 2018, which this
Agreement supersedes, no agreements, promises, understandings, or representations have been


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made by the parties or their counsel other than those contained in writing herein, nor will any
such agreements, promises, understandings, or representations be made unless committed to
writing and signed by your client, defense counsel, and the Office.

        Your client further understands that this Agreement is binding only upon the Office. This
Agreement does not bind any United States Attorney's Office, nor does it bind any other state,
local, or federal prosecutor. It also does not bar or compromise any civil, tax, or administrative
claim pending or that may be made against your client.

       If the foregoing terms and conditions are satisfactory, your client may so indicate by




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signing this Agreement and the Statement of the Offense, and returning both to the Office no
later than September 14, 2018.

                                                    Sincerely yours,

                                                    ROBERT S. MUELLER, III
                                                    Special Counsel


                                            By:         d /.. b/_
                                                  ~~
                                                  Andrew Weissmann
                                                   Jeannie S. Rhee
                                                   Greg D. Andres
                                                   Kyle R. Freeny
                                                   Senior/Assistant Special Counsels




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                                DEFENDANT'S ACCEPTANCE
        I have read every page of this Agreement and have discussed it with my attorneys Kevin
Downing, Thomas Zehnle, and Richard Westling. I am fully satisfied with the legal
representation by them, who I have chosen to represent me herein. Nothing about the quality of
the representation of other counsel is affecting my decision herein to plead guilty. I fully
understand this Agreement and agree to it without reservation. I do this voluntarily and of my
own free will, intending to be legally bound. No threats have been made to me nor am I under
the influence of anything that could impede my ability to understand this Agreement fully. I am
pleading guilty because I am in fact guilty of the offense identified in this Agreement.

        I reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth
in this Agreement. I am satisfied with the legal services provided by my attorneys in connection
with this Agreement and matters related to it.




Date: __9_-_1_1_-~tf_ _ _

                                             Defendant



                             ATTORNEYS'ACKNOWLEDGMENT
        I have read every page of this Agreement, reviewed this Agreement with my client, Paul
J. Manafort, and fully discussed the provisions of this Agreement with my client. These pages
accurately and completely set forth the entire Agreement. I concur in my client's desire to plead
guilty as set forth in this Agreement.




Date:   -   - - - - --   -
                                     Ke in M. Downing
                                      1chard W. Westling
                                     Thomas E. Zehnle
                                     Attorneys for Defendant




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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTJUCT OF VIRGINIA
                                                                           CLERK, U.S. DISTRICT COURT
                                   Alexandria Division                       ALEXANDRIA. VIRGINIA


                                            *
UNITED STATES OF AMERICA
                                            *
                                                    CRIMINAL NO. 1:18 Cr. 83 (TSE)(S-1)
                                            *


         V.
                                            *
                                                    COUNTS 1-5: 26U.S.C. § 7206(1); 18
                                            *
                                                    U.S.C. §§ 2 and 3551 et seq.
                                            *
                                                    Subscribing to False United States
                                            *
PAUL J. MANAFORT, JR.,                              Individual Income Tax Returns
                                            *
(Counts 1 through 5,11 through 14,and
   24 through 32)                           *
                                                    COUNTS 6-10: 26 U.S.C. § 7206(2); 18
                                            *
                                                    U.S.C. § 3551 et seq.
   and
                                            *
                                                    Assisting in the Preparation of False
                                            *
                                                    United States Individual Income
                                            *
RICHARD W. GATES III,
(Counts 6 through 10and 15 through 32)      *
                                                    COUNTS 11-14: 31 U.S.C. §§ 5314 and
                                            *
                                                    5322(a); 18 U.S.C. §§ 2 and 3551 et seq.
              Defendants.                   *
                                                    Failure To File Reports Of Foreign Bank
                                            *
                                                    And Financial Accounts
                                            *

                                            *
                                                    COUNTS 15-19: 26 U.S.C. § 7206(1);
                                            *
                                                    18 U.S.C. §§ 2 and 3551 etsea.
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                                                    Subscribing to False United States
                                            *
                                                    Individual Income Tax Returns
                                            *

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                                                    COUNT 20: 26 U.S.C. § 7206(1); 18
                                            *
                                                    U.S.C. §§ 2 and 3551 et seq.
                                            *
                                                    Subscribing to a False Amended United
                                            *
                                                    States Individual Income Tax Return
                                            *

                                                *
                                                    COUNTS 21-23: 31 U.S.C. §§ 5314 and
                                                *
                                                    5322(a); 18 U.S.C. §§ 2 and 3551 et seq.
                                                *
                                                    Failure To File Reports Of Foreign Bank
                                                *
                                                    And Financial Accounts
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                                                *
                                                    COUNT 24: 18 U.S.C. §§ 1349 and 3551
                                                *
                                                    et seq.
                                                *
                                                    Bank Fraud Conspiracy
                                                *

                                                *
                                                    COUNT 25: 18 U.S.C. §§ 1344, 2, and
                                                *
                                                    3551 et seq.
                                                *
                                                    Bank Fraud
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                                                *       COUNT 26:18 U.S.C. §§ 1349 and 3551
                                                *       et seq.
                                                *       Bank Fraud Conspiracy
                                                *


                                                *       COUNTS 27: 18 U.S.C. §§ 1344, 2, and
                                                *       3551 et seq.
                                                *       Bank Fraud
                                                *


                                                *       COUNT 28-29: 18 U.S.C. §§ 1349 and
                                                *       3551 et seq.
                                                *       Bank Fraud Conspiracy
                                                *


                                                *       COUNT 30: 18 U.S.C. §§ 1344,2, and
                                                *       3551 et seq.
                                                *       Bank Fraud
                                                Sf!


                                                *       COUNT 31: 18 U.S.C. §§ 1349 and 3551
                                                *       et seq.
                                                *       Bank Fraud Conspiracy
                                                *


                                                *       COUNT 32: 18 U.S.C. §§ 1344,2, and
                                                *       3551 et seq.
                                                *       Bank Fraud
                                                *


                                                *       FORFEITURE NOTICE
                                                *

                                                *




                               SUPERSEDING INDICTMENT


                         February 2018 Term - At Alexandria. Virginia



THE GRAND JURY CHARGES THAT:

                                          Introduction


At all times relevant to this Superseding Indictment:

1.      Defendants PAUL J. MANAFORT, JR. (MANAFORT) and RICHARD W. GATES III

(GATES) served for years as political consultants and lobbyists. Between at least 2006 and2015,
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MANAFORT and GATES acted as unregistered agents of a foreign government and foreign

political parties. Specifically, they represented the Government of Ukraine, the President of

Ukraine (Victor Yanukovych, who was President from 2010 to 2014), the Party of Regions (a

Ukrainian political party led by Yanukovych), and the Opposition Bloc (a successor to the Party

of Regions after Yanukovych fled to Russia).

2.     MANAFORT and GATES generated tens ofmillions ofdollars in income as a result oftheir

Ukraine work. From approximately 2006 through the present, MANAFORT and GATES engaged

in a scheme to hide income from United States authorities, while enjoying the use of the money.

During the first part of the scheme between approximately 2006 and 2015, MANAFORT, with

GATES' assistance, failed to pay taxes on this income by disguising it as alleged "loans" from

nominee offshore corporate entities and by making millions of dollars in unreported payments

from foreign accounts to bank accounts they controlled and United States vendors. MANAFORT

also used the offshore accounts to purchase United States real estate, and MANAFORT and

GATES used the undisclosed income to make improvements to and refinance their United States

properties.

3.     In the second part of the scheme, between approximately 2015 and at least January 2017,

when the Ukraine income dwindled after Yanukovych fled to Russia, MANAFORT, with the

assistance of GATES, extracted money from MANAFORT's United States real estate by, among

other things, using those properties as collateral to obtain loans from multiple financial institutions.

MANAFORT and GATES fraudulently secured more than twenty million dollars in loans by

falsely inflating MANAFORT's and his company's income and by failing to disclose existing debt

in order to qualify for the loans.

4.     In furtherance of the scheme, MANAFORT and GATES funneled millions of dollars in

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payments intonumerous foreign nominee companies andbankaccounts, opened by themandtheir

accomplices in nominee names and in various foreign countries, including Cyprus, SaintVincent

& the Grenadines (Grenadines), and the Seychelles. MANAFORT and GATES hid the existence

and ownership of the foreign companies and bank accounts, falsely and repeatedly reporting to

their tax preparers and to the United Statesthat they had no foreign bank accounts.

5.     In furtherance of the scheme, MANAFORT used his hidden overseas wealth to enjoy a

lavishlifestyle in the United States, without paying taxes on that income. MANAFORT, without

reporting the income to his tax preparer or the United States, spent millions of dollars on luxury

goods and services for himself and his extended family through payments wired from offshore

nominee accounts to United States vendors. MANAFORT also used these offshore accounts to

purchase multi-million dollar properties in the United States andto improve substantially another

property owned by his family.

6.     In furtherance ofthe scheme, GATES used millions of dollars from these offshore accounts

to pay for his personal expenses, including his mortgage, children's tuition, and interior decorating

and refinancing of his Virginia residence.

7.     In total, morethan $75,000,000 flowed through the offshore accounts. MANAFORT, with

the assistance of GATES, laundered more than $30,000,000, income that he concealed from the

United States Department of the Treasury (Treasury), the Department of Justice, and others.

GATES obtained more than $3,000,000 from the offshore accounts, income that he too concealed

from the Treasury, the Department of Justice, and others.
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                               Relevant Individuals And Entities

8.      MANAFORT was a United States citizen. He resided in homes in Virginia, Florida, and

Long Island, New York.

9.      GATES was a United States citizen. He resided in Virginia.

10.     In 2005, MANAFORT andanother partner created Davis Manafort Partners, Inc. (DMP) to

engage principally in political consulting. DMP had staff in the United States, Ukraine, and

Russia. In 2011, MANAFORT created DMP International, LLC (DMI) to engage in work for

foreign clients, in particular political consulting, lobbying, and publicrelations for the Government

of Ukraine, the Party of Regions, and members of the Party of Regions. DMI was a partnership

solely owned by MANAFORT and his spouse. GATES worked for both DMP and DMI and

served as MANAFORT's right-hand man.

11.     The Party of Regions was a pro-Russia political party in Ukraine.                    Beginning in

approximately 2006, it retained MANAFORT, through DMP and then DMI, to advance its

interests in Ukraine, the United States, and elsewhere, including the election of its slate of

candidates. In 2010, its candidate for President, Yanukovych, was elected President of Ukraine.

In 2014, Yanukovych fled Ukraine for Russia in the wake of popular protests of widespread

governmental corruption. Yanukovych, the Party of Regions, and the Government of Ukraine

were MANAFORT, DMP, and DMI clients.

12.     MANAFORT and GATES owned or controlled the following entities, which were used in

the scheme (the MANAFORT-GATES entities):

                                        Domestic Entities


                                                                   "it   -   ' <   ' -'"-J    ' 7?*• . '   '' :
                                                                   ^Incorporation; LocationgE^>: - .

Bade LLC (RG)                             January 2012             Delaware
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Enlll^Paiher

                                      August 2008     Virginia
Daisy Manafort, LLC (PM)
                                      March 2011      Florida

Davis Manafort International LLC
                                      March 2007      Delaware
(PM)

                                      March 2005      Virginia
DMP (PM)
                                      March 2011      Florida

                                      October 1999    Delaware
Davis Manafort, Inc. (PM)
                                      November 1999   Virginia

                                      June 2011       Delaware
DMI (PM)
                                      March 2012      Florida

Global Sites LLC (PM, RG)             July 2008       Delaware

Jemina LLC (RG)                       July 2008       Delaware

Jesand Investment Corporation (PM)    April 2002      Virginia

Jesand Investments Corporation (PM)   March 2011      Florida

                                      April 2006      Virginia
John Hannah, LLC (PM)
                                      March 2011      Florida

Jupiter Holdings Management, LLC
                                      January 2011    Delaware
(RG)

Lilred, LLC (PM)                      December 2011   Florida

LOAV Ltd. (PM)                        April 1992      Delaware

MC Brooklyn Holdings, LLC (PM)        November 2012   New York

                                      January 2012    Florida
MC Soho Holdings, LLC (PM)
                                      April 2012      New York

Smythson LLC (also known as
                                      July 2008       Delaware
Symthson LLC) (PM, RG)
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                                        Cvpriot Entities


Entity Name                              Date Created         Incorporation Location

Actinet Trading Limited (PM, RG)         May 2009             Cyprus

Black Sea View Limited (PM, RG)          August 2007          Cyprus

Bletilla Ventures Limited (PM, RG)       October 2010         Cyprus

Cavenari Investments Limited (RG)        December 2007        Cyprus

Global Highway Limited (PM, RG)          August 2007          Cyprus

Leviathan Advisors Limited (PM, RG)      August 2007          Cyprus

LOAV Advisors Limited (PM, RG)           August 2007          Cyprus

Lucicle Consultants Limited (PM, RG)     December 2008        Cyprus

Marziola Holdings Limited (PM)           March 2012           Cyprus

Olivenia Trading Limited (PM, RG)        March 2012           Cyprus

Peranova Holdings Limited (Peranova)
                                         June 2007            Cyprus
(PM, RG)

Serangon Holdings Limited (PM, RG)       January 2008         Cyprus

Yiakora Ventures Limited (PM)            February 2008        Cyprus


                                     Other Foreign Entities


Entity Name                               Date Created        Incorporation Location

Global Endeavour Inc. (also known as
                                          Unknown             Grenadines
Global Endeavor Inc.) (PM)

Jeunet Ltd. (PM)                          August 2011         Grenadines

Pompolo Limited (PM, RG)                  April 2013          United Kingdom
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13.     The Internal Revenue Service (IRS) was a bureau in the Treasury responsible for

administering the tax laws of the United States andcollecting taxes owed to the Treasury.

                                        The Tax Scheme


MANAFORT And GATES' Wiring Monev From Offshore Accounts Into The United States

14.     In order to use the money in the offshore nominee accounts of the MANAFORT-GATES

entities without paying taxes on it, MANAFORT and GATES caused millions of dollars in wire

transfers from these accounts to be made for goods, services, and real estate. They did not report

these transfers as income.


15.     From 2008 to 2014, MANAFORT caused the following wires, totaling over $12,000,000,

to be sent to the vendors listed below for personal items. MANAFORT did not pay taxes on this

income, which was used to make the purchases.

                    Transaction        Originating Account         Country of       Amount of
Payee
                        Date                  Holder              Origination       Transaction
Vendor A               6/10/2008    LOAV Advisors Limited         Cyprus                $107,000
(Home                  6/25/2008    LOAV Advisors Limited         Cyprus                 $23,500
Improvement              7/7/2008   LOAV Advisors Limited         Cyprus                 $20,000
Company in the           8/5/2008   Yiakora Ventures Limited      Cyprus                 $59,000
Hamptons, New            9/2/2008   Yiakora Ventures Limited      Cyprus                $272,000
York)
                       10/6/2008    Yiakora Ventures Limited      Cyprus                $109,000
                      10/24/2008    Yiakora Ventures Limited      Cyprus                $107,800
                      11/20/2008    Yiakora Ventures Limited      Cyprus                 $77,400
                      12/22/2008    Yiakora Ventures Limited      Cyprus                $100,000
                       1/14/2009    Yiakora Ventures Limited      Cyprus                  $9,250
                       1/29/2009    Yiakora Ventures Limited      Cyprus                 $97,670
                       2/25/2009    Yiakora Ventures Limited      Cyprus                $108,100
                       4/16/2009    Yiakora Ventures Limited      Cyprus                 $94,394
                         5/7/2009   Yiakora Ventures Limited      Cyprus                 $54,000
                       5/12/2009    Yiakora Ventures Limited      Cyprus                  $9,550
                        6/1/2009    Yiakora Ventures Limited      Cyprus                 $86,650
                       6/18/2009    Yiakora Ventures Limited      Cyprus                 $34,400
                       7/31/2009    Yiakora Ventures Limited      Cyprus                $106,000
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Payee
                Transaction     Originating Account       Country of    Amount of
                   Date                Holder             Origination   Transaction
                   8/28/2009 Yiakora Ventures Limited    Cyprus             $37,000
                  9/23/2009 Yiakora Ventures Limited     Cyprus            $203,500
                 10/26/2009 Yiakora Ventures Limited     Cyprus             $38,800
                 11/18/2009 Global Highway Limited       Cyprus            $130,906
                    3/8/2010 Global Highway Limited      Cyprus            $124,000
                  5/11/2010 Global Highway Limited       Cyprus             $25,000
                    7/8/2010 Global Highway Limited      Cyprus             $28,000
                  7/23/2010 Leviathan Advisors Limited Cyprus               $26,500
                  8/12/2010 Leviathan Advisors Limited Cyprus              $138,900
                    9/2/2010 Yiakora Ventures Limited    Cyprus             $31,500
                  10/6/2010 Global Highway Limited       Cyprus             $67,600
                 10/14/2010 Yiakora Ventures Limited     Cyprus            $107,600
                 10/18/2010 Leviathan Advisors Limited Cyprus               $31,500
                 12/16/2010 Global Highway Limited       Cyprus             $46,160
                    2/7/2011 Global Highway Limited      Cyprus             $36,500
                  3/22/2011 Leviathan Advisors Limited Cyprus               $26,800
                    4/4/2011 Leviathan Advisors Limited Cyprus             $195,000
                    5/3/2011 Global Highway Limited      Cyprus             $95,000
                  5/16/2011 Leviathan Advisors Limited Cyprus                $6,500
                  5/31/2011 Leviathan Advisors Limited Cyprus               $70,000
                  6/27/2011 Leviathan Advisors Limited   Cyprus             $39,900
                  7/27/2011 Leviathan Advisors Limited Cyprus               $95,000
                 10/24/2011 Global Highway Limited       Cyprus             $22,000
                 10/25/2011 Global Highway Limited       Cyprus              $9,300
                 11/15/2011 Global Highway Limited       Cyprus             $74,000
                 11/23/2011 Global Highway Limited       Cyprus             $22,300
                 11/29/2011 Global Highway Limited       Cyprus              $6,100
                 12/12/2011 Leviathan Advisors Limited Cyprus               $17,800
                  1/17/2012 Global Highway Limited       Cyprus             $29,800
                  1/20/2012 Global Highway Limited       Cyprus             $42,600
                    2/9/2012 Global Highway Limited      Cyprus             $22,300
                  2/23/2012 Global Highway Limited       Cyprus             $75,000
                  2/28/2012 Global Highway Limited       Cyprus             $22,300
                  3/28/2012 Peranova                     Cyprus             $37,500
                  4/18/2012 Lucicle Consultants Limited Cyprus              $50,000
                  5/15/2012 Lucicle Consultants Limited Cyprus              $79,000
                    6/5/2012 Lucicle Consultants Limited Cyprus             $45,000
                  6/19/2012 Lucicle Consultants Limited Cyprus              $11,860
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                 Transaction       Originating Account     Country of       Amount of
Payee
                    Date                  Holder          Origination       Transaction
                     7/9/2012 Lucicle Consultants Limited Cyprus                $10,800
                    7/18/2012 Lucicle Consultants Limited Cyprus                $88,000
                     8/7/2012 Lucicle Consultants Limited Cyprus                $48,800
                    9/27/2012 Lucicle Consultants Limited Cyprus               $100,000
                   11/20/2012 Lucicle Consultants Limited Cyprus               $298,000
                   12/20/2012 Lucicle Consultants Limited Cyprus                $55,000
                    1/29/2013 Lucicle Consultants Limited Cyprus               $149,000
                    3/12/2013 Lucicle Consultants Limited C3^rus               $375,000
                    8/29/2013   Global Endeavour Inc.        Grenadines        $200,000
                   11/13/2013   Global Endeavour Inc.        Grenadines         $75,000
                   11/26/2013   Global Endeavour Inc.        Grenadines         $80,000
                    12/6/2013   Global Endeavour Inc.        Grenadines        $130,000
                   12/12/2013   Global Endeavour Inc.        Grenadines         $90,000
                   4/22/2014    Global Endeavour Inc.        Grenadines         $56,293
                    8/18/2014   Global Endeavour Inc.        Grenadines         $34,660
                                                           Vendor A Total    $5,434,793
Vendor B           3/22/2011                             Cyprus
                                Leviathan Advisors Limited                      $12,000
(Home              3/28/2011 Leviathan Advisors Limited Cyprus                  $25,000
Automation,        4/27/2011 Leviathan Advisors Limited Cyprus                  $12,000
Lighting and       5/16/2011 Leviathan Advisors Limited Cyprus                  $25,000
Home
                  11/15/2011 Global Highway Limited      Cyprus                 $17,006
Entertainment
                  11/23/2011 Global Highway Limited      Cyprus                 $11,000
Company in
                   2/28/2012 Global Highway Limited      Cyprus                  $6,200
Florida)
                  10/31/2012 Lucicle Consultants Limited Cyprus               $290,000
                  12/17/2012 Lucicle Consultants Limited Cyprus               $160,600
                   1/15/2013 Lucicle Consultants Limited Cyprus               $194,000
                   1/24/2013 Lucicle Consultants Limited Cyprus                  $6,300
                   2/12/2013 Lucicle Consultants Limited Cyprus                 $51,600
                   2/26/2013 Lucicle Consultants Limited Cyprus               $260,000
                                                             United
                   7/15/2013    Pompolo Limited                                $175,575
                                                             Kingdom
                   11/5/2013    Global Endeavour Inc.        Grenadines         $73,000
                                                           Vendor B Total    $1,319,281
Vendor C           10/7/2008    Yiakora Ventures Limited     Cyprus             $15,750
(Antique Rug       3/17/2009    Yiakora Ventures Limited     Cyprus             $46,200
Store in           4/16/2009    Yiakora Ventures Limited     Cyprus              $7,400
Alexandria,        4/27/2009    Yiakora Ventures Limited     Cyprus             $65,000
Virginia)           5/7/2009    Yiakora Ventures Limited     Cyprus           $210,000
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                  Transaction      Originating Account         Country of   Amount of
Payee
                     Date                 Holder              Origination   Transaction
                    7/15/2009   Yiakora Ventures Limited      Cyprus           $200,000
                    3/31/2010   Yiakora Ventures Limited      Cj^rus           $140,000
                    6/16/2010   Global Highway Limited        Cyprus           $250,000
                                                           Vendor C Total      $934,350
Vendor D
(Related to         2/28/2012   Global Highway Limited        Cyprus           $100,000
Vendor C)
                                                           Vendor D Total      $100,000
Vendor E            11/7/2008   Yiakora Ventures Limited      Cyprus            $32,000
(Men's Clothing      2/5/2009   Yiakora Ventures Limited      Cyprus            $22,750
Store in New        4/27/2009   Yiakora Ventures Limited      Cyprus            $13,500
York)              10/26/2009   Yiakora Ventures Limited      Cyprus            $32,500
                    3/30/2010   Yiakora Ventures Limited      Cyprus            $15,000
                    5/11/2010   Global Highway Limited        Cyprus            $39,000
                    6/28/2010   Leviathan Advisors Limited    Cyprus             $5,000
                    8/12/2010   Leviathan Advisors Limited    Cyprus            $32,500
                   11/17/2010   Global Highway Limited        Cyprus            $11,500
                     2/7/2011   Global Highway Limited        Cyprus            $24,000
                    3/22/2011   Leviathan Advisors Limited    Cyprus            $43,600
                    3/28/2011   Leviathan Advisors Limited    Cyprus            $12,000
                    4/27/2011   Leviathan Advisors Limited    Cyprus             $3,000
                    6/30/2011   Global Highway Limited        Cyprus            $24,500
                    9/26/2011   Leviathan Advisors Limited    Cyprus            $12,000
                    11/2/2011   Global Highway Limited        Cyprus            $26,700
                   12/12/2011   Leviathan Advisors Limited    Cyprus            $46,000
                     2/9/2012   Global Highway Limited        Cyprus             $2,800
                    2/28/2012   Global Highway Limited        Cyprus            $16,000
                    3/14/2012   Lucicle Consultants Limited   Cyprus             $8,000
                    4/18/2012   Lucicle Consultants Limited   Cyprus            $48,550
                    5/15/2012   Lucicle Consultants Limited   Cyprus             $7,000
                    6/19/2012   Lucicle Consultants Limited   C5^rus            $21,600
                     8/7/2012   Lucicle Consultants Limited   Cyprus            $15,500
                   11/20/2012   Lucicle Consultants Limited   Cyprus            $10,900
                   12/20/2012   Lucicle Consultants Limited   Cyprus             $7,500
                    1/15/2013   Lucicle Consultants Limited   Cyprus            $37,000
                    2/12/2013   Lucicle Consultants Limited   Cyprus             $7,000
                    2/26/2013   Lucicle Consultants Limited   Cyprus            $39,000
                     9/3/2013   Global Endeavour Inc.         Grenadines        $81,500
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                    Transaction      Originating Account       Country of     Amount of
Payee
                       Date                 Holder             Origination    Transaction
                     10/15/2013   Global Endeavour Inc.       Grenadines          $53,000
                     11/26/2013   Global Endeavour Inc.       Grenadines          $13,200
                      4/24/2014   Global Endeavour Inc.       Grenadines          $26,680
                      9/11/2014   Global Endeavour Inc.       Grenadines          $58,435
                                                             Vendor E Total      $849,215
Vendor F              4/27/2009   Yiakora Ventures Limited     Cyprus             $34,000
(Landscaper in        5/12/2009   Yiakora Ventures Limited     Cyprus             $45,700
the Hamptons,          6/1/2009   Yiakora Ventures Limited     Cyprus             $21,500
New York)             6/18/2009   Yiakora Ventures Limited     Cyprus             $29,000
                      9/21/2009   Yiakora Ventures Limited     Cyprus             $21,800
                      5/11/2010   Global Highway Limited       Cyprus             $44,000
                      6/28/2010   Leviathan Advisors Limited Cyprus               $50,000
                      7/23/2010   Leviathan Advisors Limited Cyprus               $19,000
                       9/2/2010   Yiakora Ventures Limited     Cyprus             $21,000
                      10/6/2010   Global Highway Limited       Cyprus             $57,700
                     10/18/2010   Leviathan Advisors Limited Cyprus               $26,000
                     12/16/2010   Global Highway Limited       Cyprus             $20,000
                      3/22/2011   Leviathan Advisors Limited Cyprus               $50,000
                       5/3/2011   Global Highway Limited       Cyprus             $40,000
                       6/1/2011   Leviathan Advisors Limited Cyprus               $44,000
                      7/27/2011   Leviathan Advisors Limited Cyprus               $27,000
                      8/16/2011   Leviathan Advisors Limited Cyprus               $13,450
                      9/19/2011   Leviathan Advisors Limited Cyprus               $12,000
                     10/24/2011   Global Highway Limited       Cyprus             $42,000
                      11/2/2011   Global Highway Limited       Cj^rus             $37,350
                                                             Vendor F Total      $655,500
Vendor G               9/2/2010   Yiakora Ventures Limited     Cyprus            $165,000
(Antique Dealer      10/18/2010   Leviathan Advisors Limited Cyprus              $165,000
in New York)          2/28/2012   Global Highway Limited       Cyprus            $190,600
                      3/14/2012   Lucicle Consultants Limited Cyprus              $75,000
                      2/26/2013   Lucicle Consultants Limited Cyprus              $28,310
                                                            Vendor G Total       $623,910
VendorH               6/25/2008   LOAV Advisors Limited        Cyprus             $52,000
(Clothing Store      12/16/2008   Yiakora Ventures Limited     Cyprus             $49,000
in Beverly Hills,    12/22/2008   Yiakora Ventures Limited     Cyprus             $10,260
California)           8/12/2009   Yiakora Ventures Limited     Cyprus             $76,400
                      5/11/2010   Global Highway Limited       Cyprus             $85,000
                     11/17/2010   Global Highway Limited       Cyprus            $128,280
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                    Transaction      Originating Account     Country of       Amount of
Payee
                       Date                 Holder           Origination      Transaction
                      5/31/2011 Leviathan Advisors Limited Cyprus                 $64,000
                     11/15/2011 Global Highway Limited      Cyprus                $48,000
                     12/17/2012 Lucicle Consultants Limited Cyprus                 $7,500
                                                          Vendor H Total         $520,440
Vendor I
(Investment            9/3/2013   Global Endeavour Inc.         Grenadines       $500,000
Company)
                                                             Vendor I Total      $500,000
Vendor J             11/15/2011   Global Highway Limited       Cyprus              $8,000
(Contractor in        12/5/2011   Leviathan Advisors Limited Cyprus               $11,237
Florida)             12/21/2011   Black Sea View Limited       Cyprus             $20,000
                       2/9/2012   Global Highway Limited       Cyprus             $51,000
                      5/17/2012   Lucicle Consultants Limited Cyprus              $68,000
                      6/19/2012   Lucicle Consultants Limited Cyprus              $60,000
                      7/18/2012   Lucicle Consultants Limited Cyprus              $32,250
                      9/19/2012   Lucicle Consultants Limited Cyprus             $112,000
                     11/30/2012   Lucicle Consultants Limited Cyprus              $39,700
                       1/9/2013   Lucicle Consultants Limited Cyprus              $25,600
                      2/28/2013   Lucicle Consultants Limited Cyprus               $4,700
                                                             Vendor J Total      $432,487
VendorK               12/5/2011   Leviathan Advisors Limited Cyprus                $4,115
(Landscaper in         3/1/2012   Global Highway Limited       Cyprus             $50,000
the Hamptons,          6/6/2012   Lucicle Consultants Limited Cyprus              $47,800
New York)             6/25/2012   Lucicle Consultants Limited Cyprus              $17,900
                      6/27/2012   Lucicle Consultants Limited Cyprus              $18,900
                      2/12/2013   Lucicle Consultants Limited Cyprus               $3,300
                                                                United
                      7/15/2013   Pompolo Limited                                 $13,325
                                                                Kingdom
                     11/26/2013   Global Endeavour Inc.         Grenadines         $9,400
                                                          Vendor K Total         $164,740
Vendor L              4/12/2012 Lucicle Consultants Limited Cyprus                $83,525
(Payments              5/2/2012 Lucicle Consultants Limited Cyprus                $12,525
Relating to Three
Range Rovers)         6/29/2012   Lucicle Consultants Limited   Cyprus            $67,655

                                                             Vendor L Total      $163,705
Vendor M             11/20/2012   Lucicle Consultants Limited  Cyprus             $45,000
                      12/7/2012   Lucicle Consultants Limited Cyprus              $21,000

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                  Transaction      Originating Account        Country of    Amount of
Payee
                     Date                 Holder              Ongination    Transaction
(Contractor in     12/17/2012   Lucicle Consultants Limited Cyprus              $21,000
Virginia)           1/17/2013   Lucicle Consultants Limited Cyprus              $18,750
                    1/29/2013   Lucicle Consultants Limited Cyprus               $9,400
                    2/12/2013   Lucicle Consultants Limited Cyprus              $10,500
                                                          Vendor M Total       $125,650
Vendor N            1/29/2009   Yiakora Ventures Limited    Cyprus              $10,000
(Audio, Video,      3/17/2009   Yiakora Ventures Limited    Cyprus              $21,725
and Control         4/16/2009   Yiakora Ventures Limited    Cyprus              $24,650
System Home         12/2/2009   Global Highway Limited      Cyprus              $10,000
Integration and                 Global Highway Limited
                     3/8/2010                               Cyprus              $20,300
Installation
                    4/23/2010   Yiakora Ventures Limited    Cyprus               $8,500
Company in the
Hamptons, New
                    7/29/2010   Leviathan Advisors Limited    Cyprus            $17,650
York)

                                                           Vendor N Total      $112,825
Vendor O
(Purchase of
                    10/5/2012   Lucicle Consultants Limited   Cyprus            $62,750
Mercedes Benz)

                                                           Vendor O Total       $62,750
Vendor P
(Purchase of       12/30/2008   Yiakora Ventures Limited      Cyprus            $47,000
Range Rover)
                                                        Vendor P Total          $47,000
Vendor Q             9/2/2010 Yiakora Ventures Limited    Cyprus                $10,000
(Property           10/6/2010 Global Highway Limited      Cyprus                $10,000
Management         10/18/2010 Leviathan Advisors Limited Cyprus                 $10,000
Company in           2/8/2011 Global Highway Limited      Cyprus                $13,500
South Carolina)
                     2/9/2012   Global Highway Limited        Cyprus             $2,500
                                                           Vendor Q Total       $46,000
Vendor R             2/9/2011   Global Highway Limited       Cyprus             $17,900
(Art Gallery in
Florida)            2/14/2013   Lucicle Consultants Limited   Cyprus            $14,000

                                                        Vendor R Total          $31,900
Vendor S            9/26/2011 Leviathan Advisors Limited Cyprus                  $5,000
                    9/19/2012 Lucicle Consultants Limited Cyprus                 $5,000


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                     Transaction          Originating Account           Country of     Amount of
Payee
                          Date                    Holder                Origination    Transaction
(Housekeepmg
                          10/9/2013    Global Endeavour Inc.            Grenadines         $10,000
in New York)
                                                                     Vendor S Total        $20,000


16.     In 2012, MANAFORT caused the following wires to be sent to the entities listed below to

purchase the real estate also listed below. MANAFORT did not reportthe money used to make

these purchases on his 2012 tax return.


      Property                                         Originating        Country of
                     Payee             Date                                              Amount
  Purchased                                             Account            Origin
 Howard Street    DMP
 Condominium      International        2/1/2012   Peranova                Cyprus         $1,500,000
 (New York)       LLC

                  Attorney                        Actinet Trading
 Union Street                     11/29/2012                              Cyprus         $1,800,000
                  Accoimt Of                      Limited
 Brownstone,
                  [Real Estate                    Actinet Trading
 (New York)                       11/29/2012                             C)^rus          $1,200,000
                  Attorney]                       Limited
 Arlington
                  Real Estate                     Lucicle Consultants
 House                                8/31/2012                          Cyprus          $1,900,000
                  Trust                           Limited
 (Virginia)
                                                                               Total     $6,400,000


17.     MANAFORT and GATES also disguised, as purported "loans," more than $10 million

transferred from Cypriot entities, including the overseas MANAFORT-GATES entities, to

domestic entities owned by MANAFORT. For example, a $1.5 million wire from Peranova to

DMI that MANAFORT used to purchase real estate on Howard Street in Manhattan, New York,

was recorded as a "loan" from Peranova to DMI,ratherthan as income. The following loanswere

shams designed to reduce fraudulently MANAFORT's reported taxable income.




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  Year          Payor / Ostensible         Payee / Ostensible      Country of      Total Amount
                    "Lender"                    "Borrower"          Origin          of "Loans"
                                         Jesand Investment
 2008       Yiakora Ventures Limited                               Cyprus             $8,120,000
                                         Corporation
 2008       Yiakora Ventures Limited     DM?                       Cyprus               $500,000
 2009       Yiakora Ventures Limited     DMP                       Cyprus               $694,000
 2009       Yiakora Ventures Limited     Daisy Manafort, LLC       Cyprus               $500,000
 2012       Peranova                     DMI                       Cyprus             $1,500,000
 2014       Telmar Investments Ltd.      DMI                       Cyprus              $900,000
 2015       Telmar Investments Ltd.      DMI                       Cyprus             $1,000,000
                                                                         Total       $13,214,000



18.     From 2010 to 2014, GATES caused the following wires, totaling more than $3,000,000, to

be sent to entities and bank accounts ofwhich he was a beneficial owner or he otherwise controlled.

GATES did not report this income on his tax returns.


                    Transaction        Originating Account          Country of       Amount of
      Payee
                         Date                   Holder              Origination      Transaction
Richard Gates           3/26/2010 Serangon Holdings Limited        Cyprus                 $85,000
United Kingdom          4/20/2010 Serangon Holdings Limited        Cyprus                 $50,000
Bank Account A           5/6/2010 Serangon Holdings Limited        Cyprus                $150,000
Richard Gates            9/7/2010 Serangon Holdings Limited        Cyprus                $160,000
United Kingdom
                       10/13/2010    Serangon Holdings Limited     Cyprus                 $15,000
Bank Account B
Richard Gates
United States           9/27/2010    Global Highway Limited        Cyprus                 $50,000
Bank Account C
                                                             2010 Tax Year Total         $510,000
Jemina LLC
United States            9/9/2011    Peranova                      Cyprus                 $48,500
Bank Account D
Richard Gates
United Kingdom         12/16/2011    Peranova                      Cyprus                $100,435
Bank Account B
                                                        2011 Tax Year Total              $148,935
Richard Gates           1/9/2012 Global Highway Limited       Cyprus                     $100,000
United Kingdom         1/13/2012 Peranova                     Cyprus                     $100,435
Bank Account B         2/29/2012 Global Highway Limited       Cyprus                      $28,500
                       3/27/2012 Bletilla Ventures Limited    Cyprus                      $18,745
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                 Transaction      Originating Account        Country of     Amount of
      Payee
                    Date                 Holder              Origination    Transaction
                   4/26/2012   Bletilla Ventures Limited    Cyprus              $26,455
                   5/30/2012   Bletilla Ventures Limited    Cyprus              $15,000
                   5/30/2012   Lucicle Consultants Limited Cyprus               $14,650
                   6/27/2012   Bletilla Ventures Limited    Cyprus              $18,745
                    8/2/2012   Bletilla Ventures Limited    Cyprus              $28,745
                   8/30/2012   Bletilla Ventures Limited    Cyprus              $38,745
                   9/27/2012   Bletilla Ventures Limited    Cyprus              $32,345
                  10/31/2012   Bletilla Ventures Limited    Cyprus              $46,332
                  11/20/2012   Bletilla Ventures Limited    Cyprus              $48,547
                  11/30/2012   Bletilla Ventures Limited    Cyprus              $38,532
                  12/21/2012   Bletilla Ventures Limited    Cyprus              $47,836
                  12/28/2012   Bletilla Ventures Limited    Cyprus              $47,836
                                                      2012 Tax Year Total      $651,448
Richard Gates      1/11/2013   Bletilla Ventures Limited    Cyprus              $47,836
United Kingdom     1/22/2013   Bletilla Ventures Limited    Cyprus              $34,783
Bank Account B     1/30/2013   Bletilla Ventures Limited    Cyprus              $46,583
                   2/22/2013   Bletilla Ventures Limited    Cyprus              $46,233
                   2/28/2013   Bletilla Ventures Limited    Cyprus              $46,583
                    3/1/2013   Bletilla Ventures Limited    Cyprus              $42,433
                   3/15/2013   Bletilla Ventures Limited    Cyprus              $37,834
                   4/15/2013   Bletilla Ventures Limited    Cyprus              $59,735
                   4/26/2013   Bletilla Ventures Limited    Cyprus              $48,802
                   5/17/2013   Olivenia Trading Limited     Cyprus              $57,798
                   5/30/2013   Actinet Trading Limited      Cyprus              $45,622
                   6/13/2013   Lucicle Consultants Limited Cyprus               $76,343
                                                             United
                    8/7/2013   Pompolo Limited                                 $250,784
                                                             Kingdom
                    9/6/2013                           Cyprus
                               Lucicle Consultants Limited                      $68,500
                  9/13/2013 Cypriot Agent              Cyprus                  $179,216
Jemina LLC         7/8/2013 Marziola Holdings Limited  Cyprus                   $72,500
United States      9/4/2013 Marziola Holdings Limited  Cyprus                   $89,807
Bank Account D   10/22/2013 Cypriot Agent              Cyprus                  $119,844
                 11/12/2013 Cypriot Agent              Cyprus                   $80,000
                 12/20/2013 Cypriot Agent              Cyprus                   $90,000
                                                 2013 Tax Year Total         $1,541,237
Jemina LLC        2/10/2014 Cypriot Agent              Cyprus                   $60,044
United States     4/29/2014 Cypriot Agent              Cyprus                   $44,068
Bank Account D    10/6/2014    Global Endeavour Inc.         Grenadines         $65,000

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                     Transaction        Originating Account           Countiyof         Amount of
      Payee
                         Date                   Holder                Origination      Transaction
Bade LLC
United States          11/25/2014    Global Endeavour Inc.           Grenadines             $120,000
Bank Account E
                                                             2014 Tax Year Total            $289,112


MANAFORT And GATES' Hiding Foreign Bank Accounts And False Filings

19.    United States citizens who have authority over certainforeign bank accounts—^whether or

notthe accounts are setup in thenames of nominees who act for their principals—^have reporting

obligations to the United States.

20.    First, the Bank Secrecy Act and its implementing regulations require United States citizens

to reportto the Treasury any financial interest in, or signatory authority over,any bank account or

other financial account held in foreign countries, for every calendar year in which the aggregate

balance of all such foreign accounts exceeds $10,000 at any point during the year. This is

commonly known as a foreign bank account report or "FBAR." The Bank Secrecy Act requires

these reports because they have a high degree of usefiilness in criminal, tax, or regulatory

investigations or proceedings. The Treasury's Financial Crimes Enforcement Network (FinCEN)

is the custodian for FBAR filings, and FinCEN provides access to its FBAR database to law

enforcement entities, including the Federal Bureau of Investigation.          The reports filed by

individuals and businesses are used by law enforcement to identify, detect, and deter money

laundering that furthers criminal enterprise activity, tax evasion, and other unlawful activities.

21.   Second, United States citizens also are obligated to report information to the IRS regarding

foreign bank accounts. For instance, in 2010, Schedule B of IRS Form 1040 had a "Yes" or "No"

boxto record an answer to the question: "At anytime during [the calendar year], did you have an

interest in or a signature or otherauthority overa financial account in a foreign country, suchas a
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bank account, securities account, or other financial account?" If the answer was "Yes," then the

form required the taxpayer to enterthe name of the foreign country in which the financial account

was located.


22.    For each year in or about and between 2008 through at least 2014, MANAFORT had

authority over foreign accounts that required an FBAR filing. Specifically, MANAFORT was

required to report to the Treasury each foreign bank account held by the foreign MANAFORT-

GATES entities noted above in paragraph 12 that bears the initials PM. No FBAR filings were

made by MANAFORT for these accounts.

23.    For each year in or about and between 2010 through at least 2013, GATES had authority

over foreign accounts that required an FBAR filing. Specifically, GATES was required to report

to the United States Treasury each foreign bank account held by the foreign MANAFORT-

GATES entities notedabove in paragraph 12that bearsthe initials RG, as wellas United Kingdom

Bank AccountsA and B noted in paragraph 18. No FBAR filings were made by GATES for these

accounts.


24.   Furthermore, in each of MANAFORT's tax filings for 2008 through 2014, MANAFORT,

with the assistance of GATES, represented falsely that he did not have authority over any foreign

bank accounts. MANAFORT and GATES had repeatedly and falsely represented in writing to

MANAFORT's tax preparer that MANAFORT had no authority over foreign bank accounts,

knowing that such false representations would result in false tax filings in MANAFORT's name.

Forinstance, on October 4,2011, MANAFORT's taxpreparer asked MANAFORT in writing: "At

any time during 2010, did you [or your wife or children] have an interest in or a signatureor other

authority over a financial account in a foreign country, such as a bank account, securities account

or other financial account?"      On the same day, MANAFORT falsely responded "NO."

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MANAFORT responded the same way as recently as October 3, 2016, when MANAFORT's tax

preparer again emailed the question in connection with the preparation of MANAFORT's tax

returns: "Foreign bank accounts etc.?" MANAFORT responded on or about the same day:

"NONE."


25.   In each of GATES' tax filings for 2010 through 2013, GATES represented falsely that he

did not have authority over any foreign bank accounts, GATES had repeatedly and falsely
represented to histaxpreparers that hehad no authority over foreign bank accounts, knowing that

such false representations would result in false tax filings. As recently as October 2017, in

preparation for hisamended 2013 taxfiling, GATES was asked byhistaxpreparer: "Did you have

any foreign assets/bank accounts during 2013 or 2014?"to which he responded "no."


                              The Financial Institution Scheme

26.   Between in or around 2015 andthe present, both dates being approximate andinclusive, in

the Eastern District of Virginia and elsewhere, MANAFORT, GATES, and others devised and

intended to devise, and executed and attempted to execute, a scheme and artifice to defraud, and

to obtain money and property, by means of false and fraudulent pretenses, representations, and

promises, from banks and other financial institutions. As part of the scheme, MANAFORT and

GATES repeatedly provided and caused to be provided false information to banks and other

lenders, among others.

MANAFORT And GATES' Fraud To Access Offshore Monev

27.   When they were flush with Ukraine funds, MANAFORT, with the assistance of GATES,

used their offshore accounts to purchase and improve real estate in the United States. When the

income from Ukraine dwindled in 2014 and 2015, MANAFORT, with the assistance of GATES,

obtained millions of dollars in mortgages on the United States properties, thereby allowing
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MANAFORTto have the benefits of liquid income without paying taxes on it. MANAFORT and

GATES defrauded the lenders in various ways, including by lying about MANAFORT's and

DMI's income, lyingabouttheir debt, and lying about MANAFORT's use of the property andthe

loan proceeds. For example, MANAFORT and GATES submitted fabricated profit and loss

statements (P&Ls) that inflated income, and they caused others to provide doctored financial

documents.

       A. The Loan From Lender A On The Union Street Prooertv

28.    In 2012, MANAFORT, through a corporate vehicle called"MC Brooklyn Holdings, LLC"

owned by him and his family, bought a brownstone on Union Street in the Carroll Gardens section

of Brooklyn, New York. He paid approximately $3,000,000 in cashfor the property. All of that

money came from a MANAFORT-GATES entity in Cyprus. After purchase of the property,

MANAFORT began renovations to transform it from a multi-family dwelling into a single-family

home. MANAFORT used proceeds of a 2015 loan obtained from a financial institution to make

the renovations. In order to obtain that loan, MANAFORT falsely represented to the bank that he

did not derive more than 50% of his income/wealth from a country outside the United States.

29.   In late 2015 through early 2016, MANAFORT sought to borrow cash against the Union

Street property from Lender A. Lender A provided greater loan amounts for "construction

loans"—^that is, loans that required the loan funds to be used to pay solely for constructionon the

property and thus increase the value ofthe property serving as the loan's collateral. The institution

would thus loan money against the expected completedvalue ofthe property, which in the case of

the Union Street property was estimated to be $8,000,000. In early 2016, MANAFORT was able

to obtain a loan of approximately $5,000,000, after promising Lender A that approximately

$1,400,000 of the loan would be used solely for construction on the Union Street property.

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MANAFORT never intended to limit use of the proceeds to construction as required bythe loan

contracts and never did. In December 2015, before the loan was made, MANAFORT wrote his

tax preparer, among others, that the "construction mortgage will allow me to pay back [another

Manafort apartment] mortgage in full. . . ." Further, when the construction loan closed,

MANAFORT used hundreds of thousands of dollars for purposes unrelated to the construction of

the property.

      B. The Loan From Lender B On The Howard Street Prooertv

30.   In 2012, MANAFORT, through a corporate vehicle called "MC Soho Holdings, LLC"

owned by himandhis family, bought a condominium on Howard Street in the Soho neighborhood

of Manhattan, New York. He paid approximately $2,850,000. All the money used to purchase

the condominium came from MANAFORT-GATES entities in Cyprus. MANAFORT used the

property from at least January 2015 through at least August 2017 as an income-generating rental

property, charging thousands of dollarsa weekon Airbnb, among otherplaces. On his tax returns,

MANAFORT tookadvantage of the beneficial tax consequences of owning this rental property.

31.   In late 2015 through early 2016, MANAFORT applied for a mortgageon the Howard Street

condominium from Lender B for approximately $3.4 million. Because the bank would permit a

greater loanamount if the property wereowner-occupied, MANAFORT falsely represented to the

lender and its agents that it was a secondary home used as such by his daughter and son-in-law

and was not held as a rental property. In an email on January 6,2016, MANAFORT noted: "[i]n

order to have the maximum benefit, I am claiming Howard St. as a second home. Not an

investment property." Later, on January 26,2016, MANAFORT wrote to his son-in-law to advise

him that when the bank appraiser came to assess the condominium, his son-in-law should

"[r]emember, he believes that you and [MANAFORT's daughter] are living there."

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32.   MANAFORT, with GATES' assistance, also made a series of false and fraudulent

representations to the bank in order to secure the millions of dollars in financing. For example,

MANAFORT falsely represented the amount of debthe had by failing to disclose on his loan

application the existence of the Lender A mortgage onhis Union Street property. That liability

wouldhaveriskedhis qualifying for the loan. Through its own due diligence. Lender B found

evidence ofthe existing mortgage on the Union Streetproperty. As a result, Lender B wrote to

MANAFORT and GATES that the "application has the following properties as beingownedfree

& clear... Union Street," but"[b]ased onthe insurance binders thatwereceived last night, we

are showing thatthere are mortgages listed on these properties, can you please clarify[?]"

33.   To cover up the falsity of the loan application, GATES, on MANAFORT's behalf, caused

an insurance broker to provide Lender B false information, namely, an outdated insurance report

thatdidnotlistthe Union Street loan. MANAFORT and GATES knew such a representation was

fraudulent. After GATES contacted the insurance broker andasked herto provide Lender B with

false information, heupdated MANAFORT byemail onFebruary 24,2016. MANAFORT replied

to GATES, on the same day: "good job on the insurance issues."

34.   MANAFORT and GATES submitted additional false and fraudulent statements to Lender

B. For example, MANAFORT submitted 2014 DMI tax returns to support his 2016 loan

application to Lender B. Those tax returns included as a purported liability a $1.5 million loan

from Peranova. Peranova was a Cypriot entity controlled by MANAFORT and GATES. On or

aboutFebruary 1, 2012, Peranova transferred $1.5 million to a DMIaccount in the United States,

denominating thetransfer as a loan so thatMANAFORT would nothave to declare themoney as

income. MANAFORT usedthe "loan" to acquire the Howard Street property.

35.   When MANAFORT needed to obtain a loan from Lender B, the existence of the Peranova

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"loan" undermined hiscreditworthiness. As a result of the listed Peranova liability, Lender B was

not willing to make the loan to MANAFORT. To circumvent this issue, MANAFORT and

GATES caused MANAFORT's tax accountant to send to Lender B back-dated documentation that

falsely stated that the $1.5 million Peranova loan had been forgiven in 2015, and falsely inflated

income for 2015 to mask MANAFORT's 2015 drop in income.

36.    In March 2016, Lender B approved the loan in the amount of approximately $3.4 million

(the $3.4 million loan).

       C. The Loan From Lender C

37.   In approximately February 2016, MANAFORT applied for a business loan from Lender C.

MANAFORT made a series of false statements to Lender C. For example, MANAFORT

submitted a false statement of assets and liabilities that failed to disclosed the Lender A loan on

theUnion Street property andmisrepresented, among other things, the amount ofthe mortgage on

the Howard Street property.

38.   Further, in approximately March 2016, MANAFORT and GATES submitted a doctored

2015 DMI P&L that overstated DMI's 2015 income by more than $4 million. GATES asked

DMI's bookkeeper to sendhim a "WordDocument version of the 2015 P&L for [DMI]" because

MANAFORT wanted GATES "to add the accrual revenue which we have not received in order to

send to [Lender C]." The bookkeeper said she could send a .pdf version ofthe P&L. GATES then

asked the bookkeeper to increase the DMI revenue, falsely claiming that: "[w]e have $2.4m in

accrued revenue that [MANAFORT] wants added to the [DMI] 2015 income. Can you make

adjustments on your endandthenjust send mea newscanned version[?]" The bookkeeper refused

since the accounting method DMI used did not permit recording income before it was actually

received.


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39.    Having failed to secure a falsified P&L from the bookkeeper, GATES falsified the P&L.

GATES wrote to MANAFORT and another conspirator, "I am editing Paul's 2015 P&L

statement." GATES then sent the altered P&L to Lender C, which claimed approximately $4.45

million in net income, whereas the true P&L had less than $400,000 in net income.

       D. The Loan From Lender B On The Union Street Property

40.   In March 2016, MANAFORT, with the assistance of GATES and others, applied fora $5.5

million loan from Lender B on the Union Street property. As part of the loan process,

MANAFORT submitted a false statement of assets and liabilities that hid his prior loan from

Lender A on the Union Street property, among other liabilities. In addition, another conspirator

on MANAFORT's behalf submitted a falsified 2016 DMI P&L. The falsified 2016 DMI P&L

overstated DMI's income by more than $2 million, which was the amount that Lender B told

MANAFORT he needed to qualify for the loan. When the document was first submitted to Lender

B, a conspirator working at Lender B replied: "Looks Dr'd. Can't someone just do a clean excel

doc and pdf to me??" A subsequent version was submitted to the bank.

      E. The Loans From Lender D On The Bridgehampton And Union Street Properties

41.   In 2016, MANAFORT soughta mortgage on property in Bridgehampton, New York from

a financial institution. In connection with hisapplication, MANAFORT falsely represented to the

bank that DMI would be receiving $2.4 million in income later in the year for work on a

"democratic development consulting project."       To support this representation, GATES, on

MANAFORT's behalf, provided the bank with a fake invoice for $2.4 million, directed "To Whom

It May Concern," for "[s]ervices rendered per the consultancy agreement pertaining to the

parliamentary elections." The bank, unwilling to rely on the invoice to support MANAFORT's

stated 2016 income, requested additional information. The bank was unable to obtain satisfactory

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supportfor the stated income, and the loan application was denied.

42.   MANAFORT applied to a second bank, Lender D. Between approximately July 2016 and
January 2017, MANAFORT, with the assistance of GATES, sought and secured approximately
$16,000,000 in two loans from Lender D. MANAFORT used the Bridgehampton property as
collateral for one loan, and the Union Streetproperty for the other.

43.   MANAFORT and GATES made numerous false and fraudulent representations to secure

the loans. For example, MANAFORT provided the bank with doctored P&Ls for DMI for both

2015 and 2016, overstating its income by millions of dollars. The doctored 2015 DMI P&L

submitted to Lender D was the same false statement previously submitted to Lender C, which

overstated DMI's income bymore than $4million. The doctored 2016 DMI P&L was inflated by

MANAFORT by more than $3.5 million. To create the false 2016 P&L, on or about October 21,

2016, MANAFORT emailed GATES a .pdf version of the real 2016 DMI P&L, which showed a

loss of more than $600,000. GATES converted that .pdf into a "Word" document so that it could

be edited, which GATES sent back to MANAFORT. MANAFORT altered that "Word" document

by adding more than $3.5 million in income. He then sent this falsified P&L to GATES and asked

that the "Word" document be converted back to a .pdf, which GATES did and returned to

MANAFORT. MANAFORT then sent the falsified 2016DMI P&L .pdfto Lender D.

44.   In addition. Lender D questioned MANAFORT about a $300,000 delinquency on his

American Express card, which was more than 90 days past due. The delinquency significantly

affected MANAFORT's credit rating score. MANAFORT falsely represented to Lender D that

he had lent his credit card to a friend, GATES, who had incurred the charges and had not

reimbursed him. MANAFORT supplied Lender D a letter from GATES that falsely stated that



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GATES had borrowed MANAFORT's credit card to make the purchases at issue and would pay
him back by a date certain.


                                        Statutory Allegations

                                  COUNTS ONE THROUGH FTVR
                        (Subscribing to False United States Individual Income
                               Tax Returns For 2010-2014 Tax Years)

45.       Paragraphs 1 through 44 are incorporated here.

46.       On or about the dates specified below, in the Eastern District of Virginia and elsewhere,

defendant PAUL J. MANAFORT, JR., willfully and knowingly did make and subscribe, and aid

and abet and cause to be made and subscribed. United States Individual Income Tax Returns,

Forms 1040 and Schedule B, for the tax years set forth below, which returns contained and were

verified bythe written declaration ofMANAFORT that they were made under penalties ofpeijury,
and which returns MANAFORT didnotbelieve to betrue and correct as to every material matter,

inthat the returns (a) claimed that MANAFORT did not have a fmancial interest in and signature

and other authority over a financial account in a foreign country and (b) failed to report income,

whereas MANAFORT then and there well knew and believed that he had a financial interest in,

and signature and other authority over, bank accounts in a foreign country and had earned total

income in excess of the reported amounts noted below:


 COUNT           TAX        APPROX. FILING         FOREIGN ACCOUNT              TOTAL INCOME
                YEAR              DATE                     REPORTED              REPORTED
                                                      (Sch. B, Line 7a)            (Line 22)
      1          2010        October 14,2011                 None                  $504,744
      2          2011        October 15, 2012                None                 $3,071,409
      3          2012        October 7,2013                  None                 $5,361,007
      4          2013        October 6,2014                  None                 $1,910,928
      5          2014        October 14,2015                 None                 $2,984,210

                        (26 U.S.C. § 7206(1); 18 U.S.C. §§ 2 and 3551 etsea.^
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                                     COUNTS SIX THROUGH TEN
                                      (Assisting in the Preparation of
                                   False United States Individual Income
                                  Tax Returns For 2010-2014 Tax Years)

47.        Paragraphs 1 through 44 are incorporated here.

48.         On or about the dates specified below, in the Eastern District of Virginia and elsewhere,

defendant RICHARD W. GATES III willfully and knowingly did aid and assist in, and procure,
counsel, and advise the preparation and presentation to the Internal Revenue Service, of a United

States Individual Income Tax Return, Form 1040 and Schedule B, of PAUL J. MANAFORT, JR.,

for the tax years set forth below, which returns were false and fraudulent as to a material matter,

inthat the returns (a) claimed that MANAFORT did not have a financial interest in, and signature

and other authority over, a financial account in a foreign country and (b) failed to report income,

whereas GATES then and there well knew and believed that MANAFORT had a financial interest

in, andsignature andother authority over, bank accounts in a foreign country andhadearned total

income in excess of the reported amounts noted below:

 COUNT             TAX         APPROX. FILING        FOREIGN ACCOUNT            TOTAL INCOME
                  YEAR               DATE               REPORTED                  REPORTED
                                                         (Sch. B, Line 7a)          (Line 22)
       6           2010         October 14, 2011              None                  $504,744
       7           2011         October 15, 2012              None                 $3,071,409
       8           2012         October 7, 2013               None                 $5,361,007
       9           2013         October 6, 2014               None                 $1,910,928
       10          2014         October 14, 2015              None                 $2,984,210
                              (26 U.S.C. § 7206(2); 18 U.S.C. § 3551 etsea.)

                              COUNTS ELEVEN THROUGH FOURTEEN
                          (Failure To File Reports Of Foreign Bank And Financial
                                 Accounts For Calendar Years 2011-2014)

49.        Paragraphs 1 through 44 are incorporated here.

50.        On the filing due dates listed below, in the Eastern District of Virginia and elsewhere,

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defendant PAUL J. MANAFORT, JR., unlawfully, willfully, and knowingly did fail to file with
the Treasury an FBAR disclosing that he had a financial interest in, and signature and other
authority over, a bank, securities, and other financial account in a foreign country, which had an
aggregate value of more than $10,000 in a 12-month period, during the years listed below:

                COUNT             YEAR               DUE DATE TO FILE FBi^
                   11              2011                    June   29,2012
                   12              2012                    June   30,2013
                   13              2013                    June   30,2014
                   14              2014                    June   30, 2015
                (31 U.S.C. §§ 5314 and 5322(a); 18 U.S.C. §§ 2 and 3551 etseo.^

                           COUNTS FIFTEEN THROUGH NINETEEN
                        (Subscribing to False United States Individual Income
                              Tax Returns For 2010-2014 Tax Years)

51.   Paragraphs 1 through 44 are incorporated here.

52.   On or about the dates specified below, in the Eastern District of Virginia and elsewhere,

defendant RICHARD W. GATES III willfully and knowingly did makeand subscribe, and aidand

abet and cause to be made and subscribed, United States Individual Income Tax Returns, Forms

1040 and Schedule B, for the tax years set forth below, which returns contained and were verified

by the written declaration of defendant GATES that they were made under penalties of perjury,

and which returns defendant GATES did not believe to be true and correct as to every material

matter, inthatthereturns (a)claimed thatGATES did nothave a financial interest in,and signature

and other authority over, a financial account in a foreign country and (b) failed to report income,

whereas GATES then and there well knew and believed that he had a financial interest in, and

signature and other authority over, a financial account in a foreign country and had earned total

income in excess of the reported amounts noted below:


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  COUNT          TAX          APPROX. FILING           FOREIGN ACCOUNT           TOTAL INCOME
                YEAR                DATE                   REPORTED                REPORTED
                                                         (Sch. B, Line 7a)          (Line 22)
      15         2010           July 26, 2011                 None                  $194,257
      16         2011          October 11,2012                None                  $250,307
      17         2012          October 15, 2013               None                  $365,646
      18         2013          October 15, 2014               None                  $307,363
      19         2014          October 14,2015                None                  $292,892
                        (26 U.S.C. § 7206(1); 18 U.S.C, §§ 2 and 3551 et sea.)

                                         COUNT TWENTY
                (Subscribing to a False Amended United States Individual Income
                                 Tax Retum For 2013 Tax Year)

53.    Paragraphs 1 through 44 are incorporated here.

54.    On or about October 25,2017, in the Eastern District of Virginia and elsewhere, defendant

RICHARD W. GATES III willfully and knowingly did make and subscribe, and aid and abet and

cause another to make andsubscribe, a United States Individual Income Tax Retum, Form 1040X,

for the 2013 tax year, which retum contained and was verified by the written declaration of

defendant GATES that it was madeunderpenalties of perjury, and whichretum defendant GATES

did not believe to be tme and correct as to every material matter, inthat the retum failed to report
income, whereas GATES then and there well knew and believed that hehad eamed adjusted gross

income in excess of the reported amount on Line IC, to wit: $292,055.

                      (26 U.S.C. § 7206(1); 18 U.S.C. §§ 2 and 3551 etseq.)

                   COUNTS TWENTY-ONE THROUGH TWENTY-THREE
                    (Failure To File Reports Of Foreign Bank And Financial
                           Accounts For Calendar Years 2011-2013)

55.   Paragraphs 1 through 44 are incorporated here.

56.   On the filing due dates listed below, in the Eastem District of Virginia and elsewhere,

defendant RICHARD W. GATES III unlawfully, willfully, and knowingly did fail to file with the
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Treasury an FBAR disclosing that he had a financial interest in, and signature authority over, a
bank, securities, and other financial account in a foreign country, which had an aggregate value of
more than $10,000 in a 12-month period, during the years listedbelow:


                COUNT            YEAR               DUE DATE TO FILE FBAR

                   21             2011                    June 29, 2012
                   22             2012                    June 30,2013
                   23            2013                     June 30, 2014

                (31 U.S.C. §§ 5314 and 5322(a); 18 U.S.C. §§ 2 and 3551 et sea.^

                                   COUNT TWENTY-FOUR
                     (Bank Fraud Conspiracy / Lender B / $3.4million loan)

57.   Paragraphs 1 through 44 are incorporated here.

58.   On or about and between December 2015 and March 2016, both dates being approximate

and inclusive, in the Eastern District of Virginia and elsewhere, defendants PAUL J.

MANAFORT, JR., and RICHARD W. GATES III did knowingly and intentionally conspire to

execute a scheme and artifice to defraud one or more financial institutions, to wit: Lender B, the

deposits of which were insured by the Federal Deposit Insurance Corporation, and to obtain

moneys, funds, and credits owned by and under the custody and control ofsuch financial institution

by means of materially false and fraudulent pretenses, representations, and promises, contrary to

Title 18, United States Code, Section 1344.

                              (18 U.S.C. §§ 1349 and 3551 et sea.^


                                   COUNT TWENTY-FIVE
                          (Bank Fraud / Lender B / $3.4 million loan)

59.   Paragraphs 1 through 44 are incorporated here.

60.   On or about and between December 2015 and March 2016, both dates being approximate
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and inclusive, in the Eastern District of Virginia and elsewhere, defendants PAUL J.

MANAFORT, JR., and RICHARD W. GATES III did knowingly and intentionally execute and
attempt to execute a scheme and artifice to defraud one or more financial institutions, to wit:
Lender B, the deposits ofwhich were insured by the Federal Deposit Insurance Corporation, and
toobtain moneys, funds, and credits owned by and under the custody and control ofsuch financial
institution by means ofmaterially false and fraudulent pretenses, representations, and promises.
                             (18 U.S.C. §§ 1344,2, and 3551 et sea.)

                                     COUNT TWENTY-SIX
                      (Bank Fraud Conspiracy / Lender C / $1 million loan)

61.   Paragraphs 1 through 44 are incorporated here.

62.   On or about and between March 2016 and May 2016, both dates being approximate and
inclusive, in the Eastern District of Virginia and elsewhere, defendants PAUL J. MANAFORT,
JR., and RICHARD W. GATES IIIdidknowingly and intentionally conspire to execute a scheme

and artifice to defi-aud one or more financial institutions, to wit: Lender C, the deposits ofwhich
were insured by the Federal Deposit Insurance Corporation, and to obtain moneys, funds, and
credits owned by and under the custody and control of such financial institution by means of

materially false and fi-audulent pretenses, representations, and promises, contrary to Title 18,

United States Code, Section 1344.

                              (18 U.S.C. §§ 1349 and 3551 etseq.)

                                    COUNT TWENTY-SEVEN
                           (Bank Fraud/ LenderC / $1 million loan)

63.   Paragraphs 1 through 44 are incorporated here.

64.   On or about and between December 2015 and March 2016, both dates being approximate

and inclusive, in the Eastern District of Virginia and elsewhere, defendants PAUL J.
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MANAFORT, JR., and RICHARD W. GATES III did knowingly and intentionally execute and
attempt to execute a scheme and artifice to defraud one or more financial institutions, to witi
Lender C, the deposits ofwhich were insured by the Federal Deposit Insurance Corporation, and
to obtain moneys, funds, and credits owned byand under the custody and control ofsuch financial

institution by means ofmaterially false and fraudulent pretenses, representations, and promises.
                             (18 U.S.C. §§ 1344,2, and 3551 etsea.^

                                    COUNT TWENTY-EIGHT
                     (Bank Fraud Conspiracy / Lender B / $5.5 million loan)
65.   Paragraphs 1 through44 are incorporated here.

66.   On orabout and between March 2016 and August 2016, both dates being approximate and
inclusive, in the Eastern District of Virginia and elsewhere, defendants PAUL J. MANAFORT,
JR., and RICHARD W. GATES IIIdidknowingly and intentionally conspire to execute a scheme

and artifice to defiraud one or more financial institutions, to wit: Lender B, the deposits of which

were insured by the Federal Deposit Insurance Corporation, and to obtain moneys, funds, and

credits owned by and under the custody and control of such financial institution by means of
materially false and fraudulent pretenses, representations, and promises, contrary to Title 18,

United States Code, Section 1344.

                              (18 U.S.C. §§ 1349 and 3551 etseq.^

                                    COUNT TWENTY-NINE
                     (Bank Fraud Conspiracy / Lender D / $9.5 million loan)

67.   Paragraphs 1 through 44 are incorporated here.

68.   On or about and between April 2016 and November 2016, both dates being approximate
and inclusive, in the Eastern District of Virginia and elsewhere, defendants PAUL J.

MANAFORT, JR., and RICHARD W. GATES III did knowingly and intentionally conspire to
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 execute a scheme and artifice to dejfraud one or more financial institutions, to wit: Lender D, the
 deposits of which were insured by the Federal Deposit Insurance Corporation, and to obtain
moneys, funds, and credits owned byand under thecustody and control ofsuch financial institution

by means ofmaterially false and fi-audulent pretenses, representations, and promises, contrary to
Title 18, United States Code, Section 1344.

                               (18 U.S.C. §§ 1349 and 3551 et seq.")

                                        COUNT THIRTY
                           (Bank Fraud / Lender D / $9.5 million loan)

69.    Paragraphs 1 through 44 are incorporated here.

70.    On or about and between April 2016 and November 2016, both dates being approximate
and inclusive, in the Eastern District of Virginia and elsewhere, defendants PAUL J,

MANAFORT, JR., and RICHARD W. GATES III did knowingly and intentionally execute and
attempt to execute a scheme and artifice to defraud one or more financial institutions, to wit:

Lender D, the deposits of which were insured by the Federal Deposit Insurance Corporation, and
to obtain moneys, funds, andcredits owned byand under thecustody and control of such financial

institution by means ofmaterially false and firaudulent pretenses, representations, and promises.
                              (18 U.S.C. § 1344, 2, and 3551 et sea.^

                                     COUNT THIRTY-ONE
                     (Bank Fraud Conspiracy / Lender D / $6.5 million loan)

71.   Paragraphs 1 through 44 are incorporated here.

72.   On or about and between April 2016 and January 2017, both dates being approximate and
inclusive, in the Eastern District of Virginia and elsewhere, defendants PAUL J. MANAFORT,
JR., and RICHARD W. GATES IIIdidknowingly and intentionally conspire to execute a scheme

and artifice to defraud one or more financial institutions, to wit: Lender D, the deposits of which
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 were insured by the Federal Deposit Insurance Corporation, and to obtain moneys, funds, and
 credits owned by and under the custody and control of such financial institution by means of
 materially false and fraudulent pretenses, representations, and promises, contrary to Title 18,
 United States Code, Section 1344.

                               (18 U.S.C. §§ 1349 and 3551 et seq.)

                                     COUNT THIRTY-TWO
                           (Bank Fraud / Lender D / $6.5 million loan)
73.    Paragraphs 1 through 44 are incorporated here.

74.    On or about and between April 2016 and January 2017, both dates being approximate and
inclusive, in the Eastern District ofVirginia and elsewhere, defendants PAUL J. MANAFORT,
JR., and RICHARD W. GATES III did knowingly and intentionally execute and attempt to execute
ascheme and artifice to defraud one or more financial institutions, to wit: Lender D, the deposits
ofwhich were insured by the Federal Deposit Insurance Corporation, and to obtain moneys, funds,
and credits owned by and under the custody and control ofsuch financial institution by means of
materially false and fraudulent pretenses, representations, and promises.

                             (18 U.S.C. §§ 1344,2, and3551 et seq.'^

                                     FORFEITURE NOTICF

75.   Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendants that the United

States will seek forfeiture as part ofany sentence in accordance with Title 18, United States Code,
Section 982(a)(2), in the event ofthe defendants' convictions under Counts Twenty-Four through
Thirty-Two ofthis Superseding Indictment. Upon conviction ofthe offenses charged in Counts
Twenty-Four through Thirty-Two, defendants PAUL J. MANAFORT, JR., and RICHARD W.
GATES III shall forfeit to the United States any property constituting, or derived from, proceeds

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 obtained, directly or indirectly, as aresult ofsuch violation(s). Notice is further given that, upon
 conviction, the United States intends to seek ajudgment against each defendant for asum ofmoney
 representing the property described in this paragraph, as applicable to each defendant (to be offset
 by the forfeiture ofany specific property).
 76. The grand jury finds probable cause to believe that the property subject to forfeiture by
PAUL J. MANAFORT, JR., includes, but is not limited to, the following listed assets.*
               a. All funds held in account number XXXXXX0969 at Lender D, and any property
                    traceable thereto.


                                          Substitute Assets

77.    Ifany ofthe property described above as being subject to forfeiture, as aresult ofany act or
omission of any defendant

               a.       cannot be located upon the exercise of due diligence;

               b.       has been transferred or sold to, or deposited with, athird party;
               c.       has been placed beyond thejurisdiction of thecourt;

               d.       has beensubstantially diminished in value; or

               e.       has been commingled with other property thatcannot besubdivided without

                        difficulty;

itis the intent ofthe United States ofAmerica, pursuant to Title 18, United States Code, Section
982(b) and Title 28, United States Code, Section 2461(c), incorporating Title 21, United States
Code, Section 853, to seek forfeiture of any other property of said defendant.

                                         (18U.S.C. §982)




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                                          Robert S. Mufeller, ffl
                                          Special Counsel
                                          Department ofJustice

 A TRUE BILL:
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 Foreperson

 Date: February 22,2018




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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

 UNITED STATES OF AMERICA

               v.

 PAUL J. MANAFORT, JR.,                            Crim. No. 1:18-cr-83 (TSE)


                              Defendant.



                    THE GOVERNMENT’S SENTENCING MEMORANDUM

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

files this submission to address the sentencing of defendant Paul J. Manafort, Jr.

       As an initial matter, the government agrees with the guidelines analysis in the

Presentence Investigation Report (PSR) and its calculation of the defendant’s Total Offense

Level as 38 with a corresponding range of imprisonment of 235 to 293 months, a fine range of

$50,000 to $24,371,497.74, a term of supervised release of up to five years, restitution in the

amount of $24,815,108.74, and forfeiture in the amount of $4,412,500.

       Second, while the government does not take a position as to the specific sentence to be

imposed here, the government sets forth below its assessment of the nature of the offenses and

the characteristics of the defendant under Title 18, United States Code, Section 3553(a). The

defendant stands convicted of the serious crimes of tax fraud, bank fraud, and failing to file a

foreign bank account report. Manafort was the lead perpetrator and a direct beneficiary of each

offense. And while some of these offenses are commonly prosecuted, there was nothing

ordinary about the millions of dollars involved in the defendant’s crimes, the duration of his
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criminal conduct, or the sophistication of his schemes.1 Together with the relevant criminal

conduct, Manafort’s misconduct involved more than $16 million in unreported income resulting

in more than $6 million in federal taxes owed, more than $55 million hidden in foreign bank

accounts, and more than $25 million secured from financial institutions through lies resulting in

a fraud loss of more than $6 million. Manafort committed these crimes over an extended period

of time, from at least 2010 to 2016. His criminal decisions were not momentary or limited in

time; they were routine. And Manafort’s repeated misrepresentations to financial institutions

were brazen, at least some of which were made at a time when he was the subject of significant

national attention.

        Neither the Probation Department nor the government is aware of any mitigating factors.

Manafort did not commit these crimes out of necessity or hardship. He was well educated,

professionally successful, and financially well off. He nonetheless cheated the United States

Treasury and the public out of more than $6 million in taxes at a time when he had substantial

resources. Manafort committed bank fraud to supplement his liquidity because his lavish

spending exhausted his substantial cash resources when his overseas income dwindled.

        Finally, Manafort pled guilty in September 2018 in the United States District Court for

the District of Columbia to others crimes committed over an even longer period. The

government references those crimes below principally as they pertain to the Section 3553(a)

factors and, in particular, because they demonstrate the defendant’s concerted criminality,

including the conduct to which he pled guilty, from as early as 2005 and continuing up until the


1
 Manafort was being investigated prior to the May 2017 appointment of the Special Counsel by
prosecutors in this district and the Criminal Division of the Department of Justice. See Motion Hearing
Tr., May 4, 2018, at 4.
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defendant’s involvement in an obstruction of justice conspiracy between February 23, 2018 and

April 2018—a crime Manafort committed while under indictment in two jurisdictions and

subject to court-ordered bail conditions in each. The District of Columbia offenses are also

relevant to the application of § 2S1.3(b)(2) of the Sentencing Guidelines to the FBAR offenses

and to the issue of acceptance of responsibility, as discussed below.

         In the end, Manafort acted for more than a decade as if he were above the law, and

deprived the federal government and various financial institutions of millions of dollars. The

sentence here should reflect the seriousness of these crimes, and serve to both deter Manafort and

others from engaging in such conduct.

    I.      Procedural History

         On February 22, 2018, a grand jury sitting in the Eastern District of Virginia returned a

32-count Superseding Indictment charging Manafort and co-defendant Richard Gates with a

series of crimes involving tax fraud, failure to file foreign bank account reports, and bank fraud.

Superseding Indictment, Feb. 2, 2019, Doc. 9.

         The defendant proceeded to trial on July 31, 2018 and, on August 21, the jury convicted

the defendant on eight counts: Counts 1 through 5 (filing false income tax returns for the years

2010 to 2014); Count 12 (failing to file a report of foreign bank and financial accounts (FBAR)

in 2012), and Counts 25 and 27 (bank fraud relating to a Citizens Bank loan for the Howard

Street property in New York, and a Banc of California commercial loan, respectively). The jury

did not reach a verdict on the remaining ten counts.2




The Jury Verdict Form indicated that the jury voted eleven to one in favor of guilt on all ten counts for
2

which it did not reach a verdict. See Jury Verdict Form, Aug. 21, 2018, Doc. 280.
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    II.      Trial Evidence

          Given the Court’s familiarity with the trial evidence, the government only briefly outlines

it below.

          A. Tax Charges

          Manafort’s tax returns were false as to the stated income and the fact that in each year

Manafort failed to report the existence of his overseas bank accounts. The government proved

Manafort’s unreported income through a series of payments from his overseas accounts to

vendors for various goods and services and for the purchase and improvement of real estate in

New York and Virginia.3 FBI Forensic Accountant Morgan Magionos traced each wire transfer,

detailing the banks and accounts over the period from 2010 to 2014, and calculated the total




3
 The evidence supporting the false returns included both testimony and documentary evidence. Eight
vendors testified about receiving payments from overseas accounts for goods, services, or real estate
purchased by the defendant in the United States. See Trial Tr. at 285-312 (Testimony of Maximillian
Katzman from Alan Couture); id. at 312-29 (Testimony of Ronald Wall from House of Bijan); id. at 339-
49 (Testimony of Daniel Opsut from American Service Center/Mercedes-Benz of Alexandria); id. at 349-
59 (Testimony of Wayne Holland from McEnearney Associates); id. at 361-91 (Testimony of Stephen
Jacobson from SP&C Home Improvement); id. at 393-410 (Testimony of Doug DeLuca from Federal
Stone and Brick); id. at 435-461 (Testimony of Joel Maxwell from Big Picture Solutions); id. at 469-91
(Testimony of Michael Regolizio from New Leaf Landscape). This testimony was corroborated by
invoices, banks statements, emails, and other documentary evidence. See, e.g., Government Exhibit 94A
(SP&C Home Improvement Invoices 2010-2014); Government Exhibit 95A (SP&C Home Improvement
Bank Records); Government Exhibit 97A (Alan Couture Invoices 2010-2014); Government Exhibit 98
(Alan Couture Bank Records); Government Exhibit 99 (March 21, 2011 Email from Manafort to M.
Katzman). Evidence with respect to six additional vendors and three real estate purchases, and supporting
documentation, was admitted by stipulation. See e.g., Government Exhibit 327 (Stipulation Regarding
Aegis Holdings, LLC); Government Exhibit 329 (Stipulation Regarding J&J Oriental Rug Gallery);
Government Exhibit 332 (Stipulation Regarding Don Beyer Motors, Inc.); Government Exhibit 334
(Stipulation Regarding Sabatello Construction of Florida, Inc.); Government Exhibit 335 (Stipulation
Regarding Scott L. Wilson Landscaping & Tree Specialists, Inc.); Government Exhibit 336 (Stipulation
Regarding Sensoryphile, Inc.); Government Exhibit 328 (Stipulation Relating to the Purchase of 377
Union Street, Brooklyn, New York); Government Exhibit 330 (Stipulation Relating to the Purchase of 29
Howard Street #4, New York, New York); Government Exhibit 331 (Stipulation Relating to the Purchase
of 1046 N. Edgewood Street, Arlington, Virginia).
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amount to be $15,571,046, as reflected on Government Exhibit 72 (attached as Exhibit A).4

Additionally, the government proved that Manafort further misrepresented his income by falsely

characterizing certain income as loans.5

        IRS Revenue Agent Michael Welch testified that Manafort failed to report more than $16

million in income on line 22 of his tax returns during tax years 2010 through 2014, as

documented in Government Exhibit 77 (attached as Exhibit B).6 Welch also testified that

Manafort failed to identify any of his foreign bank accounts on Schedule B, Line 7A for the

years from 2010 to 2014.7 The IRS has determined that Manafort owed $6,164,032 in taxes for

his unreported income. See PSR, ¶ 36.

        B. FBAR Charges

        Manafort was found guilty of the Count 12 FBAR charge relating to 2012. Under the

Sentencing Guidelines the FBAR charges in Counts 11, 13 and 14, for the years 2011, 2013, and

2014, respectively, constitute relevant conduct. See PSR, ¶ 75. FBI Forensic Accountant

Magionos, using a series of charts, testified that Manafort maintained 31 overseas accounts in

three countries and listed the aggregate maximum value in those accounts in each year from

2011 to 2014 as reflected on the following exhibits:8

       Government Exhibit 73B documented the aggregate maximum value of foreign bank
        accounts controlled by Manafort in 2011 that totaled approximately $8.3 million;

4
 See Trial Tr. at 1617-20 (Testimony of Morgan Magionos).
5
 See Trial Tr. at 903-06 (Cindy LaPorta testified that Gates proposed changing the amount of Manafort’s
alleged loans to reduce his total taxable income); see id. at 1107-09 (Gates testified that at Manafort’s
direction he instructed Manafort’s bookkeeper and tax preparers to treat certain income as loans to avoid
paying taxes on the income).
6
 See Trial Tr. at 1679-82 (Testimony of Michael Welch).
7
 Id. at 1695-97.
8
 See Trial Tr. at 1620-24 (Testimony of Morgan Magionos).
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        Government Exhibit 73C documented the aggregate maximum value of foreign bank
         accounts controlled by Manafort in 2012 that totaled approximately $25.7 million;

        Government Exhibit 73D documented the aggregate maximum value of foreign bank
         accounts controlled by Manafort in 2013 that totaled approximately $18.7 million;

        Government Exhibit 73E documented the aggregate maximum value of foreign bank
         accounts in 2014 that totaled approximately $2.7 million.9

Copies of Government Exhibits 73B, 73C, 73D and 73E are attached as Exhibit C.

         C. Bank Frauds

         The jury convicted Manafort of the two bank fraud schemes charged in Counts 25 and 27.

Manafort sought both loans at a time when he was no longer receiving income from Ukraine.

         Count 25 charged Manafort with defrauding Citizens Bank of $3.4 million relating to a

loan for property on Howard Street in New York, New York. As part of that fraud, the

government proved at trial that the defendant made, or caused to be made, the following three

material false statements between December 2015 and March 2016: (1) that the Howard Street

residence was his second home; (2) that a $1.5 million dollar loan from a Cyprus entity named

Peranova had been forgiven in the prior year; and (3) that there was no mortgage on Manafort’s

Union Street property in Brooklyn, New York.10 Two bank witnesses, Manafort’s tax preparer

and bookkeeper, and Rick Gates testified to the details of the charged scheme. Their testimony




9
 Special Agent Paula Liss from the Financial Crimes Enforcement Network testified that no FBAR
reports were filed by Manafort or his related entities in the relevant time period. See Trial Tr. at 1080-81;
2293-94.
 See Trial Tr. at 2409 (government summation identifying false statements relating to the Counts 24 and
10

25 Citizens Bank fraud/conspiracy charges involving the Howard Street property).
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was corroborated by a series of emails, tax returns, and insurance documents, among other

documentary evidence.11

        Manafort was also convicted, in Count 27, of defrauding the Banc of California with

respect to a $1 million dollar commercial loan. The government proved at trial that the

defendant made, or caused to be made, the following material false statements: (1) omitting to

report his Howard Street mortgage on his loan application; and (2) submitting a materially false

2015 DMP Profit and Loss Statement.12 Among other evidence, Washkuhn and Gates testified

about the false DMP Profit and Loss Statements submitted to the bank, with Gates explaining the

various emails in which Manafort directed him to manipulate the relevant financial statement.13


11
  Melinda James (née Francis) from Citizens Bank testified that Manafort represented the Howard Street
property to be a second home and that Manafort represented that there was no mortgage on the Union
Street property. See Trial Tr. at 1747, 1755. Tax preparer Cindy LaPorta testified about her
representations relating to the Peranova loan to Citizens Bank, nothwithstanding the fact that she had
concerns it was never a loan at all, see Trial Tr. at 944-59, as did Gates, who also noted that money from
Peranova was income and was never a loan, see Trial Tr. at 1297-1308. Bookkeeper Heather Washkuhn
testified that at the time of the Howard Street loan, there was a mortgage on the Union Street property.
See Trial Tr. at 596-601. The supporting documentary evidence included the following: Government
Exhibit 227 (Manafort’s bank application identifying the Howard Street property as a second residence);
Government Exhibit 337L (2015 MC Soho Tax Return reporting $115,987 in rental income for Howard
Street apartment); Government Exhibit 337M (2016 MC Soho Tax Return reporting $108,000 in rental
income for Howard Street apartment); Government Exhibit 127 (February 5, 2015 email relating to rental
income from the Howard Street apartment); Government Exhibit 503 (March 12, 2016 email relating to
rental earnings generated from the Howard Street property); Government Exhibit 422 (January 26, 2016
email from Manafort to his son-in-law reminding him that the appraiser is coming to the Howard Street
apartment, who believes that the son-in-law and his wife live in the apartment); Government Exhibit 118
(Airbnb records relating to the rental of the Howard Street apartment); Government Exhibit 500
(Stipulation regarding Genesis Capital mortgage on Union Street Property).
 See Trial Tr. at 2418-21 (government summation identifying false statements relating to the Counts 26
12

and 27 Banc of California commercial loan fraud/conspiracy).
13
  Gates testified that at Manafort’s direction he altered the 2015 DMP Profit and Loss Statement that was
ultimately sent to the Banc of California. See Trial Tr. at 1317-26. Washkuhn testified to the falsity of
the submitted 2015 DMP Profit and Loss Statement. See Trial Tr. at 601-19. The supporting
documentary evidence included among other evidence: Government Exhibit 140 (March 16, 2016 emails
between Gates and Washkuhn involving the 2015 DMP Profit and Loss Statement); Government Exhibit
392 (March 16, 2016 email between Manafort and Gates involving the 2015 DMP Profit and Loss
Statement); and Government Exhibit 298 (March 16, 2016 email from Manafort to Perris Kaufman
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        With respect to the three other bank frauds for which the jury failed to reach a verdict,

one involving a $5.5 million loan from Citizens Bank (charged only as a conspiracy) and two

involving loans from The Federal Savings Bank, one for $9.5 million and the other for $6.5

million, respectively, the defendant admitted to his involvement in each of these bank frauds as

part of his guilty plea in the District of Columbia.14 The evidence at trial established those same

facts through witness testimony and documentary evidence.15

        With respect to the Union Street loan conspiracy involving Citizens Bank, charged in

Count 28, Manafort pledged his property at 377 Union Street in Brooklyn, New York. At the



attaching false 2015 DMP Profit and Loss Statement). Gary Seferian, Senior Vice President of the
Managed Assets Group at the Banc of California, testified about the loan process and the materiality of
Manafort’s false statements. See Trial Tr. at 1958-88.
 Plea Agreement, United States v. Manafort, 1:17-cr-201 (ABJ) (D.D.C. Sept.14, 2018), Doc 422 (“D.C.
14

Plea Agreement”); Statement of the Offenses and Other Acts, United States v. Manafort, 1:17-cr-201
(ABJ) (D.D.C. Sept.14, 2018), Doc 423 (“D.C. Statement of the Offense”) (collectively attached as
Exhibit D).
15
  With respect to the Citizens Bank Union Street loan, Manafort made, or caused to be made, the
following misrepresentations: (a) he caused to be submitted a false 2016 DMP Profit and Loss Statement;
and (b) he falsely claimed the Peranova loan was forgiven and made false statements about his income.
See Trial Tr. at 2418-21 (government summation identifying false statements relating to Counts 28
Citizens Bank Union Street loan conspiracy). Taryn Rodriguez from Citizens Bank testified about the
loans process, see Trial Tr. at 1906-37, LaPorta testified about the Peranova loan issues, see id., at 947-
59, as did Gates, see id. at 1326-30, and Washkuhn testified about the false DMP Profit and Loss
Statement comparing it to the original she prepared, see id. at 631-32. With respect to The Federal
Savings Bank loans, Manafort made, or caused to be made, the following misrepresentations as to both
loans: (a) he caused to be submitted a false 2015 DMP Profit and Loss Statement; (b) he caused to be
submitted a false 2016 DMP Profit and Loss Statement; (c) he falsely claimed that the $300,000
delinquency on his American Express Card resulted from lending that credit card to Rick Gates to buy
New York Yankees tickets; and (d) he made false statements about his mortgage on the Howard Street
property. See Trial Tr. at 2423-24 (government summation identifying false statements relating to the
Counts 29, 30, 31 and 32 bank fraud/conspiracies relating to two loans from The Federal Savings Bank).
Three bank witnesses testified about The Federal Savings Bank Loans: Dennis Raico, see Trial Tr. at
2008-77; James Brennan, id. at 2164-2199; and Andrew Chojnowski, see id. at 2129-43. Among other
testimony, Washkuhn identified the various submitted DMP Profit and Loss Statements as false. See
Trial Tr. at 620-32. Gates testified that he never sought to borrow Manafort’s American Express card and
that he did not incur the $300,000 delinquency for Yankees tickets, but rather that those tickets were for
Manafort. See Trial Tr. at 1352-54.
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time of his application, the Union Street property was encumbered by a $5.3 million dollar loan

from Genesis Capital. Manafort failed to disclose this mortgage to Citizens Bank at the time of

the Count 28 conspiracy, nor previously as part of the $3.4 million Citizens Howard Street loan

application (charged in Counts 24 and 25). Taryn Rodriguez from Citizens Bank testified to this

fact, noting that she later found the loan on her own.16 At trial, Manafort never disputed the

existence of the Genesis Capital loan and in fact agreed to the underlying details in Government

Exhibit 500, a stipulation between the parties relating to the Genesis Capital loan on Union Street

property.

      III.      Standards Governing Sentencing

             The Fourth Circuit has held that a sentencing court must: “(1) properly calculate the

[Sentencing] Guidelines range; (2) allow the parties to argue for the sentence they deem

appropriate and determine whether the § 3553(a) factors support the sentence[s] requested by the

parties; and (3) explain its reasons for selecting a sentence.” United States v. Simmons, 269 Fed.

Appx. 272, 273 (4th Cir. 2008) (citing United States v. Pauley, 511 F.3d 468, 473 (4th Cir.

2007)). Although the Sentencing Guidelines are advisory, United States v. Booker, 543 U.S.

220, 246 (2005), “district courts must begin their analysis with the Guidelines and remain

cognizant of them throughout the sentencing process.” Gall v. United States, 552 U.S. 38, 50 n.

6 (2007); see Rosales-Mireles v. United States, 138 S. Ct. 1897, 1904 (2018) (“[E]ven in an

advisory capacity the Guidelines serve as ‘a meaningful benchmark’ in the initial determination

of a sentence and ‘through the process of appellate review.’”) (citation omitted).




16   See Trial Tr. at 1911-1917.
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     IV.      The Advisory Guidelines Range

           The government agrees with the Probation Department’s guidelines calculations in the

PSR and addresses that analysis below together with the defendant’s challenges. See Defense

Objections to the PSR (dated January 21, 2019).

                  A. Tax and FBAR Guidelines (Group 1)

                      1. Section 2S1.3 is the Relevant Guideline Provision

           As noted in the PSR, the base offense level for the Group 1 tax and FBAR counts is level

6, pursuant to § 2S1.3(b)(2), with 22 levels added based on the value of the funds held—here,

more than $55 million, pursuant to § 2B1.1(b)(1)(L). See PSR ¶¶ 73-74.17

           The defendant argues that the tax guidelines, and not § 2S1.3, is the appropriate starting

point for the Group 1 FBAR and tax offenses, citing United States v. Kim, 1:17-cr-00248

(TSE/LMB) (E.D. Va. 2018). See Defense Objections to the PSR, at 1-2. As detailed in the PSR

Addendum, the defendant’s arguments lack merit. See PSR Addendum, 52-53.

           First, the Guidelines explicitly distinguish between the various reporting crimes at issue

here (covered by § 2S1.3) and tax offenses (covered by Part T). For example, the commentary to

§ 2S1.3, under the title “Statutory Provisions,” explicitly lists 31 U.S.C. § 5313—the statute of

which Manafort was convicted in Count 12. Further, § 2S1.3(c)(1) addresses a reporting

violation committed for the purposes of evading taxes, and specifically calls for use of the tax

guidelines only if the resulting offense level is greater than the one determined under § 2S1.3.18




 The base offense level is 6 pursuant to § 2S1.3(b)(2) because the offense at issue is not enumerated in §
17

2S1.3(b)(1).
18
  Section 2S1.3(c)(1), entitled “Cross Reference,” reading as follows: “If the offense was committed for
the purposes of violating the Internal Revenue laws, apply the most appropriate guideline from Chapter
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That criterion is not satisfied here: “the resulting offense level” under Chapter 2T of the

guidelines is less than the Chapter 2S calculation. See United States v. Hill, 171 Fed. Appx. 815,

821-22 (11th Cir. 2006) (“§ 2S1.3(c)(1) was not applicable because the offense level of 16 that

would have resulted from the court’s application of U.S.S.G. § 2T1.1(a)(1), would have been less

than 17—the offense level that resulted from the court’s application of § 2S1.3(a) & (b)(1)”)

(footnote omitted).

        Moreover, Manafort’s FBAR offense was not committed solely for allowing him to

violate the tax laws. Rather, his use of and access to unreported overseas accounts also

facilitated the money laundering and unregistered-foreign-agent (FARA) schemes to which he

pled guilty in Count One of a superseding information in the District of Columbia.19

Accordingly, the tax guidelines are not appropriate here, both because the tax guidelines are not

higher, as required by § 2S1.3(c)(1), and because the gravamen of the crime here was not solely

tax avoidance.

        As part of his plea in the District of Columbia, Manafort pleaded guilty to a conspiracy to

transfer funds from outside the United States to the United States with the intent to promote the

felony FARA violations.20 Manafort’s scheme involved more than $6.5 million dollars in

transfers from the very overseas accounts that Manafort failed to report on his tax returns and

under the FBAR process.21



Two, Part T (Offenses Involving Taxation) if the resulting offense level is greater than that determined
above.”
19
  See D.C. Plea Agreement; D.C. Statement of the Offense ¶ 36-37.
20
  Id.
 Notably, in his objections to the PSR, the defendant falsely characterized his guilty plea in the District
21

of Columbia as involving only a “general conspiracy to violate the Foreign Agents Registration Act,”
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        Finally, Manafort argues that the Part T guidelines are appropriate because they were

used in older cases, such as United States v. Kim, supra, and thus should continue to be used to

avoid unwarranted sentencing disparities for similar defendants. The government disagrees for

two reasons. First, in late 2017, the Department of Justice’s Tax Division clarified its

interpretation as to the appropriate guidelines applicable to FBAR violations, and its current

position is consistent with that of the Probation Office in this matter; and second, the facts at

issue here differ from those of the Kim prosecution.

        The Tax Division changed its position on the appropriate guideline provision in FBAR

cases sometime in late 2017. Manafort was aware of the government’s position prior to this trial,

at the very least because the Special Counsel’s Office made clear its view that the relevant

guideline is § 2S1.3. Further, in Kim itself, the Tax Division and Probation Office took the

position that the appropriate guideline was § 2S1.3. See Kim Plea Agreement, at 3-4 (attached

as Government Exhibit E) (“The Government contends that the applicable Guideline in this

matter should be U.S.S.G § 2S1.3(a)(2), § 2B1.1 and § 2S1.3(b)(2) because the defendant filed

two false FBARs and a false U.S. Individual Income Tax Return, Form 1020, within a 12-month

period. However, at the time that the defendant agreed to plead guilty, the Government

consistently took the position with similarly situated defendants that the applicable Guideline

was U.S.S.G. § 2T1.1 and § 2T1.4 due to the cross reference in § 2S1.3(c)(1). Therefore, in

order to ensure that the defendant receives equitable treatment, and in accordance with Federal

Rule of Criminal Procedure 11(c)(1)(B), the United States and the defendant will recommend to




Def. Obj. to PSR, at 3, without any mention to the fact that his plea also included a money laundering
conspiracy, among other offenses. See D.C. Plea Agreement; D.C. Statement of the Offense ¶ 36-37.
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the Court that the following provisions of the Sentencing Guidelines apply: [the Tax

Guidelines].”); Government Sentencing Brief, at 6 (attached as Government Exhibit F) (“The

defendant pled guilty to the willful failure to file an FBAR, in violation of 31 U.S.C. Sections

5314 and 5322. The offense of conviction in this case falls under U.S.S.G. § 2S1.3. The

Probation Office calculated the Guidelines range under U.S.S.G. § 2S1.3(a)(2)”).

       Further, as noted, the circumstances of the Kim and Manafort prosecutions and the

conduct at issue are easily distinguished. In Kim, the defendant entered into a negotiated plea

agreement which involved his cooperation, and the plea was entered into pursuant to Rule

11(c)(1)(B). Manafort’s FBAR offenses, in contrast, served to facilitate his tax offenses and his

FARA and money laundering offenses. Further, the Kim prosecution was part of a series of

prosecutions involving the use of overseas accounts to hide tax offenses, and thus the concern

over parity with similarly situated defendants prosecuted at the same time was at its height.

Calculating Manafort’s advisory Guidelines range under § 2S1.3 for an FBAR offense, even if he

is one of the first defendants to be sentenced in that manner, would not constitute disparate

treatment because his conduct, and the circumstances at issue, were different than in Kim.

                   2. A Role Enhancement is Appropriate

       The PSR concluded that Manafort should receive a four-level role enhancement for the

Group 1 offenses, pursuant § 3B1.1(a), on the basis that “the defendant was an organizer or

leader of a criminal activity that was otherwise extensive.” PSR, ¶ 78. The relevant test is the

number of persons involved in the offenses, whether they were witting or unwitting. See United

States v. Harvey, 532 F.3d 326, 338 (4th Cir. 2008) (“The Application Note to U.S.S.G. § 3B1.1

explains that, in determining if a criminal activity is ‘otherwise extensive,’ all persons involved


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during the course of the entire offense are to be considered, including outsiders who provided

unwitting services and thus do not qualify as ‘participants.’”); United States v. Ellis, 951 F.2d

580, 585 (4th Cir. 1991) (role enhancement based on “otherwise extensive” prong based on “‘all

persons involved during the course of the entire offense,’ even the ‘unknowing services of many

outsiders’”).

        Manafort’s criminal conduct meets this standard. Manafort controlled the money at

issue, he recruited others to facilitate these crimes, and he claimed a larger share of the proceeds.

Further, Manafort was plainly the leader. He involved numerous individuals who were both

knowing and unknowing participants in the criminal scheme. These included Gates and

Konstantin Kilimnik, Manafort’s tax preparers (Ayliff, LaPorta, Naji Lakkis, Dan Walters, and

Conor O’Brien) and bookkeepers (Hesham Ali and Washkuhn), and others in Cyprus who were

involved in originating and maintaining the defendant’s overseas accounts.22 Under the factors

set forth in the Guidelines application notes and applied by the Fourth Circuit, application of the

leadership enhancement is warranted. See United States v. Jones, 495 F. App’x 371, 373 (4th

Cir. 2012) (“In determining a defendant’s leadership and organizational role, sentencing courts

must consider seven factors: [T]he exercise of decision making authority, the nature of

participation in the commission of the offense, the recruitment of accomplices, the claimed right

to a larger share of the fruits of the crime, the degree of participation in planning or organizing

the offense, the nature and scope of the illegal activity, and the degree of control and authority




22
  The corporate entity and bank account documents relating to the overseas accounts listed a variety of
individuals associated with Dr. Kypros Chrysostomides firm’s, including Eleni Chrysostomides,
Chrystalla Pitsilli Dekatris, Myrianthi Christou, Evelina Georgiades, and Georgoula Mavrides. See e.g.,
Government Exhibit 63 (chart of foreign entities); Government Exhibit 73B (chart listing bank accounts).
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exercised over others. U.S.S.G. § 3B1.1, cmt. n.4.”).23 Further, even to the extent that Gates

profited from this scheme, including by stealing from Manafort, his profits from these crimes

paled in comparison to Manafort’s gain.

                B. Bank Fraud Guidelines (Group 2)

                    1. The PSR Correctly Calculated the Fraud Loss

        The Probation Department assessed the fraud loss to be approximately $6 million for the

counts of conviction for bank fraud together with the relevant conduct. See PSR, at ¶ 87.

Manafort contends that the assessed fraud loss is overstated because the Citizens Bank loan

conspiracy relating to Union Street property charged in Count 28 never closed and, had it closed,

Manafort speculates that he would have fully collateralized the loan, resulting in no loss. See

Defense Objections to PSR, at 4. That argument ignores the trial evidence that the defendant did

not intend the property he pledged as collateral to be used as such since he lied to the bank about

the collateral, hiding the fact that the Union Street property had a mortgage. At trial, the

government proved that the Union Street property Manafort now claims he would have pledged

as part of the loan charged in Count 28 was encumbered by a $5.3 million loan from Genesis




23
  In arguing against the application of a role enhancement, Manafort relies principally on the Guidelines’
use of the phrase “criminal organization” and contends that role enhancements in § 3B1.1 are meant to be
applied only “to leaders or managers of organizations that have a primary purpose of engaging in crime,
such as foreign cartels that smuggle narcotics into the United States, or motorcycle gangs that unlawfully
transport and distribute firearms.” Def. Obj. to PSR, at 5. Manafort cites no case law endorsing his “not-
in-white-collar-cases” reading of § 3B1.1, which cannot be reconciled with Fourth Circuit decisions such
as Ellis and Harvey, supra. The dog-track owner who bribed state legislators in Ellis, for example, may
have done it for “the primary purpose of” helping his business, not “engaging in crime,” see Def. Obj. to
PSR, at 5, yet the Fourth Circuit affirmed application of the leadership enhancement to his scheme. Ellis,
951 F.2d at 585; accord Harvey, 532 F.3d at 338 (defendant sentenced for honest-services fraud involving
bribery in awarding Army contracts was assessed a role enhancement). The defendant’s argument, in
short, lacks merit.
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Capital at the time.24 Previously, the defendant applied for a loan from Citizens Bank on the

Howard Street property (Counts 24 & 25), and also failed to disclose the Genesis loan on the

Union Street property, which was one of several misrepresentations charged in the indictment

and proven at trial.25

        Because Manafort concealed the Genesis loan and intended to continue to do so, he is not

entitled to credit based on the happenstance that the bank, through its own due diligence,

eventually discovered the Genesis loan. See United States v. Staples, 410 F.3d 484, 490-91 (8th

Cir. 2005) (“We do not mean that the value of the collateral necessarily must be deducted from

the intended loss; the defendant’s intent is the touchstone. For example, if a car were collateral in

a fraudulent loan procurement case, and the defendant were to hide the car, then the court should

not deduct the value of the collateral from the intended loss because under those circumstances

the defendant intended the loss to encompass the value of the collateral.”) (emphasis added).

                    2. The Sophisticated Means Enhancement Is Appropriate

        The Probation Department assessed a two-level enhancement on the Group 2 offenses for

the use of sophisticated means pursuant to USSG § 2B1.1(b)(10)(c). PSR ¶ 88. The defendant


24
  See Government Exhibit 500 (Stipulation relating to Genesis Capital); Trial Tr, at 1911-17 (Taryn
Rodriguez from Citizens Bank testified that Manafort did not list the mortgage from Genesis Capital for
377 Union Street, Brooklyn, New York on his application for the Union Street loan and that she later
identified the mortgage during a records check); Government Exhibit 255 (377 Union Street Uniform
Residential Loan Application).
 See Trial Tr. at 1743-44 (Melinda James (née Francis) from Citizens Bank testified that on Manafort’s
25

Howard Street loan application, it indicated that there was no mortgage on the property at 377 Union
Street, Brooklyn, New York); Government Exhibit 224 (email attaching schedule of Manafort’s real
estate owned and reflecting there is no mortgage on Union Street property); Trial Tr. at 1284-85 (Rick
Gates testified that he understood that Manafort had a mortgage on the property at 377 Union Street,
Brooklyn, New York during the time of the loan application at Citizens Bank for the Howard Street
property).


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objects on the grounds that “there was nothing complex about simply lying to the banks,” and

that the falsified documents were “simple or ham-handed.” See Defense Objections to PSR, at 4.

Manafort is wrong; even if some of Manafort’s conduct may have been ham-handed not all of it

was.

        The Guidelines affords an enhancement when “the offense otherwise involved

sophisticated means and the defendant intentionally engaged in or caused the conduct

constituting sophisticated means,” U.S.S.G. § 2B1.1(b)(10)(c). Application Note 9 defines

“sophisticated means” as:

                especially complex or especially intricate offense conduct pertaining to the
                execution or concealment of an offense. For example, in a telemarketing
                scheme, locating the main office of the scheme in one jurisdiction but
                locating soliciting operations in another jurisdiction ordinarily indicates
                sophisticated means. Conduct such as hiding assets or transactions, or
                both, through the use of fictitious entities, corporate shells, or offshore
                financial accounts also ordinarily indicates sophisticated means.

Id. § 2B1.1 cmt. n. 9.

        Here, the defendant’s conduct qualifies for the enhancement, as he routinely hid relevant

transactions, falsified documentation, and made misrepresentations relating to an offshore

transaction (and the existence of those assets). For example, for the two Citizens Bank loans,

Manafort hid the true nature of his foreign Peranova “loan”. Manafort had first claimed the $1.5

million from Peranova, an offshore entity that he controlled, as a “loan” on his tax returns (to

avoid paying taxes on the money), and when the bank needed to see less debt and more income

for 2015, Manafort claimed the loan was forgiven, created a back-dated letter purporting to

document the forgiveness, and instructed his tax preparer to forward that letter to the bank.26


26
  See Trial Tr. at 944-69 (Testimony of Cindy LaPorta).
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Further, for four of the five loans, Manafort materially misstated the Profit and Loss Statement

from his business for the years 2015 and 2016, hiding his true income, requested those

documents from his bookkeeper, altered them, and then submitted them to the bank.27

        With respect to the Citizens Bank loan charged in Count 24, Manafort hid the mortgage

on the Union Street property, and went to great lengths to do so including having Gates contact

the mortgage broker (Donna Duggan) and having her forward an older version of the mortgage

binder for the property.28 On the Banc of California fraud charged in Counts 27 and 28,

Manafort hid the Howard Street mortgage. For The Federal Savings Bank loans charged in

Counts 29 through 32, Manafort hid outstanding American Express debt and delinquency, falsely

claiming that debt to be a loan to Gates and sending a letter to that effect to the bank. See United

States v. Davis, No. 18-4080, 2018 WL 5096070, at *1 (4th Cir. Oct. 18, 2018) (unpublished)

(affirming application of the sophisticated means enhancement applies where the defendant

created a “multilayered scheme” and “used numerous means to conceal the fraud, including

forgery, altering documentation, transferring money between accounts, and omitting property

from certain accountings”).




27
  See Trial Tr. at 601-30 (Testimony of Heather Washkuhn).
 See Trial Tr. at 1284-86 (Gates testified that at Manafort’s direction he contacted Manafort’s insurance
28

broker and requested an old copy of the insurance binder with respect to the Union Street property, which
did not reflect the current mortgage, and that he was aware that the older version was then sent to the
bank to hide the fact that there was currently a mortgage on the Union Street property).
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                   3. A Role Enhancement is Appropriate For the Group 2 Crimes

       The Group 2 criminal conduct involved multiple parties, individuals who were both

knowing and unknowing with respect to the scheme, including co-conspirators Gates and Jeffrey

Yohai, and more than a dozen bankers, accountants, and Manafort’s bookkeepers and tax

preparers.29 Manafort, moreover, was the primary beneficiary of the frauds. Based on the

criteria in the application note and the case law cited above, the role enhancement is equally

appropriate for the Group 2 bank fraud offenses.

               C. The Defendant Did Not Accept Responsibility

       Finally, the PSR properly denied Manafort any reduction for acceptance of responsibility

pursuant to § 3E1.1. PSR ¶ 96. Manafort proceeded to trial and vigorously denied his guilt.

Although a trial alone does not necessarily preclude an acceptance reduction, it almost always

does in circumstances like those here. Application Note 2 to § 3E1.1 suggests that the situations

where a defendant proceeds to trial and qualifies for an acceptance reduction are rare, and are

often limited to circumstances where the defendant proceeds to trial to challenge the

constitutionality of a statute, or some other legal issue, and not the facts. See § 3E1.1,

Application Note 2. That was not the case here. See e.g., United States v. Redding, 422 F.

App’x 192, 195 (4th Cir. 2011) (unpublished) (“Because Redding put the government to its

burden of proof and went to trial challenging his factual guilt, the district court was correct in

finding the two-level reduction was inappropriate.”). Manafort cites no authority for the



 For example, from Citizens Bank at least the following individuals were involved: David Fallarino,
29

Melinda James (née Francis), Taryn Rodriguez, and Peggy Miceli; from the Banc of California, Perris
Kaufman and Gary Seferian; and from The Federal Savings Bank: Anna Ivakhnik, Dennis Raico, Thomas
Horn, James Brennan, and Steve Calk; from Nigro Karlin (the bookkeeper): Heather Washkuhn; and from
KWC: Cindy LaPorta and Philip Ayliff.
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proposition that a later plea in another prosecution—even one involving some of the same

facts—negates the fact that he put the government to its proof in the Eastern District of Virginia.

        Further, the defendant has now conceded that he breached his plea agreement in the

District of Columbia, and on February 13, 2019, in a ruling from the bench, Judge Jackson found

by a preponderance of the evidence that Manafort intentionally lied to the government as to three

subject areas, and had not with respect to two others. The DC Court also issued an order

documenting those findings. United States v. Manafort, 1:17-cr-201 (ABJ) (D.D.C. February 13,

2019), Doc 509 (attached as Exhibit G).

        Finally, the defendant’s failure to file the required financial information with the

Probation Department, in either district, is further evidence of his failure to accept responsibility,

particularly here, where the defendant was convicted of financial crimes, including hiding his

income and assets.

   V.      Statutory Sentencing Factors Pursuant
           To Title 18, United States Code, Section 3553(a)

        The government addresses the Section 3553(a) factors below.

           A. The Nature and Circumstances of the Offense

        Manafort’s criminal conduct was serious, longstanding, and bold. He failed to pay taxes

in five successive years involving more than $16 million in unreported income—and failed to

identify his overseas accounts in those same returns—resulting in more than $6 million in unpaid

taxes. In four successive years from 2011 to 2014, Manafort failed to report his overseas

accounts to the Treasury Department, and over that period he maintained 31 accounts in three




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foreign countries collectively holding more than $55 million in multiple currencies.30 As for his

bank fraud offenses, Manafort defrauded not one financial institution but three, and sought five

loans from those banks, seeking more than $25 million.

       Tax fraud is a serious crime and violates the most basic covenant between citizens and

the government. See United States v. Zukerman, 897 F.3d 423, 428 (2d Cir. 2018) (“[t]ax crimes

represent an especially damaging category of criminal offense” which “strike[] at the foundation

of a functioning government’”) (citation omitted), pet. for cert. filed, No. 18-642 (Nov. 19,

2018). The defendant benefited from the protections and privileges of the law and the services

of his government, while cheating it and his fellow citizens. See United State v. Trupin, 475

F.3d 71, 76 (2d Cir. 2007) (tax evader effectively “[steals] from his fellow taxpayers through his

deceptions.”).

       The defendant’s failure to file foreign bank account reports is also significant. FBAR

regulations facilitate the identification of “persons who may be using foreign financial accounts

to circumvent United States law,” whether those funds are used for “illicit purposes or to identify

income maintained or generated abroad.” See IRS FBAR Reference Guide, at 2

(https://www.irs.gov/pub/irs-utl/irsfbarreferenceguide.pdf). Here, Manafort’s FBAR offenses

were more serious than that of a defendant who simply hides his income, like the defendant in

Kim. Manafort used his foreign accounts not only to hide his income, but to launder funds,

including by engaging in transactions that promoted his FARA scheme.




 See Government Exhibit 73B (FBAR Chart for 2011), Government Exhibit 73C (FBAR Chart for
30

2012), Government Exhibit 73D (FBAR Chart for 2013), Government Exhibit 73E (FBAR Chart for
2014); Government Exhibit 74 (“Deposit Analysis – Foreign Source of Funds Received by Foreign
Accounts,” listing total as $65,860,502.50).
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        Finally, the defendant’s bank fraud offenses are also serious, both for the number and

amount of the loans and the conduct involved. Bank fraud undermines the stability of our

financial system and the federally insured financial institutions that citizens rely upon that those

statutes seek to protect. See United States v. Koh, 199 F.3d 632, 638 (2d Cir. 1999) (recognizing

that Congress, in part through passage of the bank fraud statute, “clearly intended to protect ‘the

financial integrity’ of institutions in which it had a strong federal interest, including those that are

‘federally created, controlled or insured’”) (quoting S. Rep. No. 98–225, at 377 (1983)).

Manafort sought five loans totaling more than $25 million and secured funding in the amount of

more than $19 million. Those facts set him far afield from the ordinary bank fraud defendant.

        As noted, these were not short-lived schemes. Manafort’s crimes were the product of his

planning and premeditation over many years, and a result of his direct and willful conduct.

Manafort’s tax crimes by any account were serious, and more serious than most given the

amount of money at issue and the fact that his failure to pay the taxes owed was not caused by

any necessity but simple greed. Manafort had ample funds to cover these tax payments. He

simply chose not to comply with laws that would reduce his wealth. And along the way, each

year, in order to successfully implement the tax scheme the defendant involved numerous other

people, including both witting and unwitting participants. In every scheme, Manafort was

always the principal, and almost always the exclusive beneficiary.

            B. History and Characteristics of the Defendant

        Manafort’s history and characteristics are aggravating factors. Manafort has had every

opportunity to succeed. He is well educated and a member of the legal profession, attending




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Georgetown University for college and law school. He was a successful political consultant both

in the United States and abroad.31

        Further, while the defendant is 69 years old and has suffered reputational harm as a result

of his conviction, neither is a mitigating factor. Part H of Chapter 5 of the Sentencing

Guidelines addresses age, and in effect provides that age can be considered “individually or in

combination with other offender characteristics,” when “present to an unusual degree and

distinguish the case from the typical cases covered by the guidelines.” U.S.S.G. § 5H1.1.

Nothing about the defendant’s age is unusual. Tax offenders are often older and often, like the

defendant, wealthy, but they nonetheless receive substantial terms of incarceration

notwithstanding age and health issues. See, e.g., United States v. Dibbi, 413 Fed. Appx 618, 620

(4th Cir. 2011) (affirming sentence of 30 months for tax fraud and decision not to grant a

downward variance based on the defendant’s health and age); United States v. Gilmartin, 12-cr-

287 (MGC) (SDNY) (defendant, age 70, sentenced to 48 months imprisonment for evading taxes

and failing to file federal and state tax returns for over 20 years, where the tax loss was

approximately $1.7 million).32




31
  See Trial Tr. at 2436 (defense closing argument citing witness testimony of Tad Devine and Dan Rabin
describing Manafort as a talented political consultant and citing documents detailing Manafort’s work for
the presidential campaigns of Gerald Ford, Ronald Reagan, George H. W. Bush, Bob Dole, and Donald
Trump); see Trial Tr. at 1133-34 (Rick Gates testified that Manafort was “probably one of the most, you
know, politically brilliant strategists I've ever worked with.”).
32
  See also United States v. Jackson, 10-cr-298 (CM) (SDNY) (defendant, age 57, sentenced to 63 months
imprisonment for his work as a tax preparer who used a variety of deceptive practices—including
claiming deceased children as dependents—as part of a scheme to prepare false tax returns and where the
tax loss was approximately $1 million); United States v. Catlett, 10-CR-101 (D. Md) (defendant, age 64,
sentenced to 210 months imprisonment, related to filing 275 fraudulent tax returns reporting over $22
million in false Schedule E losses, resulting in a federal tax loss of $3.8 million).
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       Manafort’s age does not eliminate the risk of recidivism he poses—particularly given that

his pattern of criminal activity has occurred over more than a decade and that the most recent

crimes he pled guilty to occurred from February to April 2018, when he conspired to tamper with

witnesses at a time when he was under indictment in two separate districts. Further as Judge

Jackson found, Manafort’s misconduct continued as recently as October 2018 when he

repeatedly and intentionally lied to the government during proffer sessions and the grand jury.

       Courts also have rejected the premise that the reputational harm incident to every

criminal conviction is a valid basis for reducing the term of imprisonment imposed on a white-

collar offender such as Manafort. Nothing about that harm, or the collateral consequences that

Manafort faces, was unforeseeable at the time that he chose to engage in the charged conduct.

Manafort chose to commit multiple bank frauds, even when the subject of national attention in

2016. See, e.g., United States v. Prosperi, 686 F.3d 32, 47 (1st Cir. 2012) (“It is impermissible

for a court to impose a lighter sentence on a white-collar defendant than on blue-collar

defendants because it reasons that white-collar defendants suffer greater reputational harm or

have more to lose by conviction.”).

           C. The Need to Promote Respect for the Law and to Afford
              Adequate Deterrence to Criminal Conduct

       The sentence should serve to promote respect for the law and to afford both adequate

specific and general deterrence as intended by Congress. With respect to general deterrence, the

sentence should send a clear message that repeated choices to commit serious economic crimes

have serious consequences, particularly in a matter that received national attention.

       The Fourth Circuit has stressed the heightened importance of general deterrence in tax

cases, and in particular the need for incarceration, given the prevalence of tax offenses and the

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comparatively few prosecutions. See United States v. Engle, 592 F.3d 495, 502 (4th Cir. 2010)

(“Given the nature and number of tax evasion offenses as compared to the relatively infrequent

prosecution of those offenses, we believe that the [Sentencing] Commission’s focus on

incarceration as a means of third-party deterrence is wise. The vast majority of such crimes go

unpunished, if not undetected. Without a real possibility of imprisonment, there would be little

incentive for a wavering would-be evader to choose the straight-and-narrow over the wayward

path.”). Courts have recognized that tax prosecutions are difficult and time consuming to

investigate and prosecute, and require substantial resources. See Zukerman, 897 F.3d at 429

(general deterrence has an important role in tax cases “due to the significant resources required

to monitor and prosecute tax cases,” which cost the government hundreds of billions of dollars

annually) (internal quotation marks omitted); see also U.S.S.G Ch. 2, Part T, intro. cmt.

(explaining that, in light of “the limited number of criminal tax prosecutions relative to the

estimated incidence of such violations, deterring others from violating the tax laws is a primary

consideration underlying these guidelines,” and that “[r]ecognition that the sentence for a

criminal tax case will be commensurate with the gravity of the offense should act as a deterrent

to would-be violators”).

       Tax evasion through the use of offshore entities and bank accounts is among the most

lucrative offenses and often the most difficult to investigate, which increases the need for strong

deterrence and a meaningful sentence. See United States v. Hefferman, 43 F.3d 1144, 1149 (7th

Cir. 1994) (“Considerations of (general) deterrence argue for punishing more heavily those

offenses that either are lucrative or are difficult to detect and punish, since both attributes go to

increase the expected benefits of a crime and hence the punishment required to deter it.”). Bank


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fraud, while more common, is equally serious and the need for deterrence is also strong in light

of the need to protect the integrity of the nation’s banking system.

         D.      The Need to Avoid Unwarranted Sentencing Disparities

         Section 3553(a) also requires a sentence that is generally consistent with others imposed

on similar offenders for similar offenses; courts are instructed “to avoid unwarranted sentence

disparities among defendants with similar records who have been found guilty of similar

conduct.” 18 U.S.C. § 3553(a)(6). First, in this case, there are no similarly situated charged

defendants, as Manafort’s co-defendant, Gates, was subservient to Manafort, and he accepted

responsibility, pled guilty, and cooperated early in this investigation. The crimes at issue

involved Manafort’s taxes and overseas accounts, not Gates’. With respect to the bank loans,

Manafort, not Gates, principally received the proceeds. Second, given the breadth of Manafort’s

criminal activity, the government has not located a comparable case with the unique array of

crimes and aggravating factors.

   VI.        Conclusion

         For a decade, Manafort repeatedly violated the law. Considering only the crimes charged

in this district, they make plain that Manafort chose to engage in a sophisticated scheme to hide

millions of dollars from United States authorities. And when his foreign income stream

dissipated in 2015, he chose to engage in a series of bank frauds in the United States to maintain

his extravagant lifestyle, at the expense of various financial institutions. Manafort chose to do

this for no other reason than greed, evidencing his belief that the law does not apply to him.

Manafort solicited numerous professionals and others to reap his ill-gotten gains. The sentence




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in this case must take into account the gravity of this conduct, and serve to both specifically deter

Manafort and those who would commit a similar series of crimes.



Dated: February 15, 2018                              /s/
                                                      Andrew Weissmann
Uzo Asonye                                            Greg D. Andres
Assistant United States Attorney                      Brandon L. Van Grack
Eastern District of Virginia                          Senior Assistant Special Counsels
                                                      Special Counsel’s Office
                                                      U.S. Department of Justice
                                                      950 Pennsylvania Avenue NW
                                                      Washington, D.C. 20530
                                                      Telephone: (202) 616-0800
                                                      Attorneys for United States of America




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                                  VENDOR AND PROPERTY PAYMENTS FROM FOREIGN BANK ACCOUNTS

Vendor Name                                               2010                2011                2012                2013                2014                          Total
SP&C Home Improvement Inc.                            $      626,760      $      716,200      $     1,015,960     $     1,099,000     $          90,953      $                 3,548,873
Big Picture Solutions, Inc.                                               $      102,006      $      456,800      $      939,475      $      162,920         $                 1,661,201
Alan Couture                                          $      103,000      $      191,800      $      137,850      $      230,700      $          85,115      $                    748,465
Scott L. Wilson Landscape & Tree Specialists, Inc.    $      237,700      $      265,800                                                                     $                    503,500
Aegis Holdings LLC                                                                                                $      500,000                             $                    500,000
J&J Oriental Rug Gallery                              $      390,000                          $      100,000                                                 $                    490,000
Sabatello Construction of Florida, Inc.                                   $          39,237   $      362,950      $          30,300                          $                    432,487
House of Bijan                                        $      213,280      $      112,000      $           7,500                                              $                    332,780
New Leaf Landscape Maintenance LLC                                        $           4,115   $      134,600      $          26,025   $          90,945      $                    255,685
Don Beyer Motors, Inc. aka Land Rover of Alexandria                                           $      163,705                                                 $                    163,705
Federal Stone and Brick LLC                                                                   $          87,000   $          38,650                          $                    125,650
American Service Center Associates of Alexandria, LLC                                         $          62,750                                              $                      62,750
aka Mercedes-Benz of Alexandria
Sensoryphile, Inc.                                    $          46,450                                                                                      $                      46,450
Total                                                 $    1,617,190      $    1,431,158      $    2,529,115      $    2,864,150      $     429,933          $              8,871,546

Purchase of Property                                      2010                2011                2012                2013                2014                          Total
Howard Street Condominium                                                                     $     1,500,000
Arlington House                                                                               $     1,900,000
Union Street Brownstone                                                                       $     3,299,500

Total                                                 $            -      $            -      $    6,699,500      $            -      $            -         $              6,699,500


Grand Total                                           $   1,617,190       $   1,431,158       $   9,228,615       $   2,864,150       $    429,933            $        15,571,046




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                                   Paul Manafort
     Summary of Personal Tax Return Items and Unreported Income
                              Tax Years 2010 to 2014

                                Foreign Account     Total Income
            Approx. Filing         Reported           Reported      Total Unreported
Tax Year        Date            (Sch. B, Line 7a}     (Line 22)          Income
  2010     October 14, 2011           None            $504,744         $1,617,190
  2011     October 15, 2012           None           $3,071,409        $1,431,158
  2012     October 7, 2013            None           $5,361,007        $9,228,615
  2013     October 6, 2014            None           $1,910,928        $2,864,150
  2014     October 14, 2015           None           $2,984,210        $1,329,933




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                AGGREGATE MAXIMUM VALUE OF FOREIGN BANK ACCOUNTS IN 2011
                                                                                                      Beneficial Owner                      Authorized Signers
              Account Name, Financial Institution   Maximum                                        Listed on Bank Account                 Listed on Bank Account
         Item       and Account Number            Account Value                                          Application                            Application
            7     Peranova Holdings Limited                             $       4,436,680.04 Richard Gates                               Eleni Chrysostomides
                  Bank of Cyprus                                                             Konstantin Kilimnik (As of 1/15/08)         Chrystalla Pitsilli Dekatris
                                                                                                                                         Georgoula Mavrides
                                                                                                                                         Myrianthi Christou

            8     Peranova Holdings Limited*                            $               23.84 Richard Gates                              Eleni Chrysostomides
                  Bank of Cyprus                                                              Konstantin Kilimnik (As of 1/15/08)        Chrystalla Pitsilli Dekatris
                                                                                                                                         Georgoula Mavrides
                                                                                                                                         Myrianthi Christou

            9     Serangon Holdings Limited                             $            2,831.57 Richard Gates                              Eleni Chrysostomides
                  Bank of Cyprus                                                              Konstantin Kilimnik (As of 1/21/13)        Chrystalla Pitsilli Dekatris
                                                                                                                                         Georgoula Mavrides
                                                                                                                                         Myrianthi Christou

           10     Yiakora Ventures Limited                              $         504,807.56 Paul Manafort                               Eleni Chrysostomides
                  Bank of Cyprus                                                             Konstantin Kilimnik (As of 1/21/13)         Chrystalla Pitsilli Dekatris
                                                                                                                                         Georgoula Mavrides
                                                                                                                                         Myrianthi Christou

                        AGGREGATE MAXIMUM VALUE: $                             8,381,798.75




*The maximum account value was converted from Euro to USD on the date of occurrence per the bank statement using the website https://www.oanda.com/currency/converter/.
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                AGGREGATE MAXIMUM VALUE OF FOREIGN BANK ACCOUNTS IN 2012
                                                                                                      Beneficial Owner                      Authorized Signers
              Account Name, Financial Institution   Maximum                                        Listed on Bank Account                 Listed on Bank Account
         Item       and Account Number            Account Value                                          Application                            Application
            1     Actinet Trading Limited                               $         999,987.00 Paul Manafort                               Paul Manafort
                  Bank of Cyprus                                                             Konstantin Kilimnik (As of 1/21/13)         Richard Gates

                                                                                                                                         Eleni Chrysostomides
                                                                                                                                         Chrystalla Pitsilli Dekatris
                                                                                                                                         Myrianthi Christou
                                                                                                                                         Evelina Georgiades
                                                                                                                                         Georgoula Mavrides

            2     Actinet Trading Limited*                              $       3,416,880.00 Paul Manafort                               Paul Manafort
                  Bank of Cyprus                                                             Konstantin Kilimnik (As of 1/21/13)         Richard Gates

                                                                                                                                         Eleni Chrysostomides
                                                                                                                                         Chrystalla Pitsilli Dekatris
                                                                                                                                         Myrianthi Christou
                                                                                                                                         Evelina Georgiades
                                                                                                                                         Georgoula Mavrides

            3     Black Sea View Limited                                $       2,519,316.94 Richard Gates                               Eleni Chrysostomides
                  Bank of Cyprus                                                             Konstantin Kilimnik (As of 1/21/13)         Chrystalla Pitsilli Dekatris
                                                                                                                                         Georgoula Mavrides
                                                                                                                                         Myrianthi Christou

            4     Black Sea View Limited*                               $       1,927,720.00 Richard Gates                               Eleni Chrysostomides
                  Bank of Cyprus                                                             Konstantin Kilimnik (As of 1/21/13)         Chrystalla Pitsilli Dekatris
                                                                                                                                         Georgoula Mavrides
                                                                                                                                         Myrianthi Christou


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                AGGREGATE MAXIMUM VALUE OF FOREIGN BANK ACCOUNTS IN 2012
                                                                                                      Beneficial Owner                      Authorized Signers
              Account Name, Financial Institution   Maximum                                        Listed on Bank Account                 Listed on Bank Account
         Item       and Account Number            Account Value                                          Application                            Application
            5     Bletilla Ventures Limited                             $       5,000,000.00 Paul Manafort                               Eleni Chrysostomides
                  Bank of Cyprus                                                             Konstantin Kilimnik (As of 1/21/13)         Chrystalla Pitsilli Dekatris
                                                                                                                                         Myrianthi Christou
                                                                                                                                         Evelina Georgiades
                                                                                                                                         Georgoula Mavrides

            6     Bletilla Ventures Limited*                            $       1,849,860.00 Paul Manafort                               Eleni Chrysostomides
                  Bank of Cyprus                                                             Konstantin Kilimnik (As of 1/21/13)         Chrystalla Pitsilli Dekatris
                                                                                                                                         Myrianthi Christou
                                                                                                                                         Evelina Georgiades
                                                                                                                                         Georgoula Mavrides

            7     Global Highway Limited                                $         531,852.76 Richard Gates                               Eleni Chrysostomides
                  Bank of Cyprus                                                             Konstantin Kilimnik (As of 1/15/08)         Chrystalla Pitsilli Dekatris
                                                                                                                                         Georgoula Mavrides
                                                                                                                                         Myrianthi Christou

            8     Leviathan Advisors Limited                            $              738.45 Richard Gates                              Eleni Chrysostomides
                  Bank of Cyprus                                                              Konstantin Kilimnik (As of 1/15/08)        Chrystalla Pitsilli Dekatris
                                                                                                                                         Georgoula Mavrides
                                                                                                                                         Myrianthi Christou

            9     Leviathan Advisors Limited*                           $          66,053.30 Richard Gates                               Eleni Chrysostomides
                  Bank of Cyprus                                                             Konstantin Kilimnik (As of 1/15/08)         Chrystalla Pitsilli Dekatris
                                                                                                                                         Georgoula Mavrides
                                                                                                                                         Myrianthi Christou

           10     LOAV Advisors Limited                                 $            5,679.02 Richard Gates                              Eleni Chrysostomides
                  Bank of Cyprus                                                              Paul Manafort                              Chrystalla Pitsilli Dekatris
                                                                                              Konstantin Kilimnik (As of 1/21/13)        Georgoula Mavrides
                                                                                                                                         Myrianthi Christou




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                AGGREGATE MAXIMUM VALUE OF FOREIGN BANK ACCOUNTS IN 2012
                                                                                                      Beneficial Owner                      Authorized Signers
              Account Name, Financial Institution   Maximum                                        Listed on Bank Account                 Listed on Bank Account
         Item       and Account Number            Account Value                                          Application                            Application
           11     Lucicle Consultants Limited                           $       1,530,903.16 Richard Gates                               Paul Manafort
                  Bank of Cyprus                                                             Konstantin Kilimnik (As of 1/21/13)         Richard Gates

                                                                                                                                         Eleni Chrysostomides
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           12     Lucicle Consultants Limited*                          $       4,183,590.00 Richard Gates                               Paul Manafort
                  Bank of Cyprus                                                             Konstantin Kilimnik (As of 1/21/13)         Richard Gates

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           13     Olivenia Trading Limited*                             $                 3.28 Richard Gates                             Eleni Chrysostomides
                  Bank of Cyprus                                                               Konstantin Kilimnik (As of 1/21/13)       Chrystalla Pitsilli Dekatris
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           14     Olivenia Trading Limited                              $         740,362.98 Richard Gates                               Eleni Chrysostomides
                  Bank of Cyprus                                                             Konstantin Kilimnik (As of 1/21/13)         Chrystalla Pitsilli Dekatris
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                AGGREGATE MAXIMUM VALUE OF FOREIGN BANK ACCOUNTS IN 2013
                                                                                                     Beneficial Owner                     Authorized Signers
              Account Name, Financial Institution   Maximum                                       Listed on Bank Account                Listed on Bank Account
         Item       and Account Number            Account Value                                         Application                           Application
            1    Actinet Trading Limited                               $           87,728.03 Paul Manafort                              Paul Manafort
                 Bank of Cyprus                                                              Konstantin Kilimnik (As of 1/21/13)        Richard Gates

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            2    Actinet Trading Limited*                              $         196,511.00 Paul Manafort                               Paul Manafort
                 Bank of Cyprus                                                             Konstantin Kilimnik (As of 1/21/13)         Richard Gates

                                                                                                                                        Eleni Chrysostomides
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            3    Actinet Trading Limited                               $          87,458.48 Richard Gates                               Eleni Chrysostomides
                 Hellenic Bank                                                              Konstantin Kilimnik (As of 1/21/13)         Chrystalla Pitsilli Dekatris
                                                                                                                                        Myrianthi Christou
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            4    Actinet Trading Limited*                              $         202,277.00 Richard Gates                               Eleni Chrysostomides
                 Hellenic Bank                                                              Konstantin Kilimnik (As of 1/21/13)         Chrystalla Pitsilli Dekatris
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              Account Name, Financial Institution   Maximum                                       Listed on Bank Account                Listed on Bank Account
         Item       and Account Number            Account Value                                         Application                           Application
            5    Bletilla Ventures Limited                             $       1,568,530.54 Paul Manafort                               Eleni Chrysostomides
                 Bank of Cyprus                                                             Konstantin Kilimnik (As of 1/21/13)         Chrystalla Pitsilli Dekatris
                                                                                                                                        Myrianthi Christou
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            6    Bletilla Ventures Limited*                            $         276,703.00 Paul Manafort                               Eleni Chrysostomides
                 Bank of Cyprus                                                             Konstantin Kilimnik (As of 1/21/13)         Chrystalla Pitsilli Dekatris
                                                                                                                                        Myrianthi Christou
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            7    Bletilla Ventures Limited                             $         833,349.39 Richard Gates                               Eleni Chrysostomides
                 Hellenic Bank                                                              Konstantin Kilimnik                         Chrystalla Pitsilli Dekatris
                                                                                                                                        Myrianthi Christou
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            8    Bletilla Ventures Limited*                            $         278,614.00 Richard Gates                               Eleni Chrysostomides
                 Hellenic Bank                                                              Konstantin Kilimnik                         Chrystalla Pitsilli Dekatris
                                                                                                                                        Myrianthi Christou
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                                                                                                                                        Georgoula Mavrides

            9    LOAV Advisors Limited                                 $            5,292.42 Richard Gates                              Eleni Chrysostomides
                 Bank of Cyprus                                                              Paul Manafort                              Chrystalla Pitsilli Dekatris
                                                                                             Konstantin Kilimnik (As of 1/21/13)        Georgoula Mavrides
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                AGGREGATE MAXIMUM VALUE OF FOREIGN BANK ACCOUNTS IN 2013
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              Account Name, Financial Institution   Maximum                                       Listed on Bank Account                Listed on Bank Account
         Item       and Account Number            Account Value                                         Application                           Application
           10    Lucicle Consultants Limited                           $         167,664.80 Richard Gates                               Paul Manafort
                 Bank of Cyprus                                                             Konstantin Kilimnik (As of 1/21/13)         Richard Gates

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           11    Lucicle Consultants Limited*                          $         288,410.00 Richard Gates                               Paul Manafort
                 Bank of Cyprus                                                             Konstantin Kilimnik (As of 1/21/13)         Richard Gates

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           12    Lucicle Consultants Limited                           $         603,131.79 Richard Gates                               Eleni Chrysostomides
                 Hellenic Bank                                                                                                          Chrystalla Pitsilli Dekatris
                                                                                                                                        Myrianthi Christou
                                                                                                                                        Evelina Georgiades
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           13    Lucicle Consultants Limited*                          $       1,427,810.00 Richard Gates                               Eleni Chrysostomides
                 Hellenic Bank                                                                                                          Chrystalla Pitsilli Dekatris
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                AGGREGATE MAXIMUM VALUE OF FOREIGN BANK ACCOUNTS IN 2013
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              Account Name, Financial Institution   Maximum                                       Listed on Bank Account                Listed on Bank Account
         Item       and Account Number            Account Value                                         Application                           Application
           14    Marziola Holdings Limited                             $       2,000,000.00 Konstantin Kilimnik                         Eleni Chrysostomides
                 Hellenic Bank                                                                                                          Chrystalla Pitsilli Dekatris
                                                                                                                                        Myrianthi Christou
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                                                                                                                                        Georgoula Mavrides

           15    Olivenia Trading Limited*                             $                 0.64 Richard Gates                             Eleni Chrysostomides
                 Bank of Cyprus                                                               Konstantin Kilimnik (As of 1/21/13)       Chrystalla Pitsilli Dekatris
                                                                                                                                        Myrianthi Christou
                                                                                                                                        Evelina Georgiades
                                                                                                                                        Georgoula Mavrides

           16    Olivenia Trading Limited                              $         601,794.98 Richard Gates                               Eleni Chrysostomides
                 Bank of Cyprus                                                             Konstantin Kilimnik (As of 1/21/13)         Chrystalla Pitsilli Dekatris
                                                                                                                                        Myrianthi Christou
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                                                                                                                                        Georgoula Mavrides

           17    Olivenia Trading Limited                              $         601,079.22 Richard Gates                               Eleni Chrysostomides
                 Hellenic Bank                                                              Konstantin Kilimnik (As of 1/21/13)         Chrystalla Pitsilli Dekatris
                                                                                                                                        Myrianthi Christou
                                                                                                                                        Evelina Georgiades
                                                                                                                                        Georgoula Mavrides

           18    Yiakora Ventures Limited                              $           11,943.28 Paul Manafort                              Eleni Chrysostomides
                 Bank of Cyprus                                                              Konstantin Kilimnik (As of 1/21/13)        Chrystalla Pitsilli Dekatris
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                AGGREGATE MAXIMUM VALUE OF FOREIGN BANK ACCOUNTS IN 2013
                                                                                                     Beneficial Owner                     Authorized Signers
              Account Name, Financial Institution   Maximum                                       Listed on Bank Account                Listed on Bank Account
         Item       and Account Number            Account Value                                         Application                           Application
           19    Pompolo Limited*                                      $       1,838,260.00                                             Richard Gates
                 HSBC UK



           20    Global Endeavour Inc.                                 $       2,999,950.00 Konstantin Kilimnik                         Myrianthi Christou
                 Loyal Bank Ltd.                                                                                                        Chrystalla Dekatris
                                                                                                                                        Eleni Chrysostomides
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           21    Global Endeavour Inc.*                                $       2,036,960.00 Konstantin Kilimnik                         Myrianthi Christou
                 Loyal Bank Ltd.                                                                                                        Chrystalla Dekatris
                                                                                                                                        Eleni Chrysostomides
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           22    Jeunet Ltd.*                                          $       2,675,340.00 Konstantin Kilimnik                         Myrianthi Christou
                 Loyal Bank Ltd                                                                                                         Chrystalla Dekatris
                                                                                                                                        Eleni Chrysostomides
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                        AGGREGATE MAXIMUM VALUE: $                           18,788,808.57




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                AGGREGATE MAXIMUM VALUE OF FOREIGN BANK ACCOUNTS IN 2014
                                                                                                     Beneficial Owner                      Authorized Signers
              Account Name, Financial Institution   Maximum                                       Listed on Bank Account                 Listed on Bank Account
         Item       and Account Number            Account Value                                         Application                            Application
            1     Global Endeavour Inc.                                 $         259,797.56 Konstantin Kilimnik                         Myrianthi Christou
                  Loyal Bank Ltd.                                                                                                        Chrystalla Dekatris
                                                                                                                                         Eleni Chrysostomides
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            2     Global Endeavour Inc.*                                $       1,622,660.00 Konstantin Kilimnik                         Myrianthi Christou
                  Loyal Bank Ltd.                                                                                                        Chrystalla Dekatris
                                                                                                                                         Eleni Chrysostomides
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            3     Jeunet Ltd.*                                          $         860,846.00 Konstantin Kilimnik                         Myrianthi Christou
                  Loyal Bank Ltd.                                                                                                        Chrystalla Dekatris
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                        AGGREGATE MAXIMUM VALUE: $                             2,743,303.56




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                                                       U.S. Department of Justice
                                                       The Special Counsel's Office

                                                       Washington, D.C. 20530
                                                        September 13, 2018


 Kevin M. Downing, Esq.
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                                                                                                  E
 Washington, DC 20001                                                                  SEP 14 20\8
                                                                                 Clerk, U.S. District & Bankruptcy
Thomas E. Zehnle, Esq.                                                          courts for the District of Columbia
Law Office of Thomas E. Zehnle
601 New Jersey Avenue NW
Suite 620
Washington, DC 20001

Richard W. Westling, Esq
Epstein Becker Green
1227 25 th Street NW
Suite 700
Washington, DC 20037


                                                                                            I
                Re:    United States v. Paul .J. Manafort, Jr..                         ,
                                                                   rim. No. 17-201-/ (ABJ)


Dear Counsel:

       This letter sets forth the full and complete plea offer to your client Paul J. Manafort, Jr.
(hereinafter referred to as "your client" or "defendant") from the Special Counsel's Office
(hereinafter also referred to as "the Government" or "this Office"). If your client accepts the
terms and conditions of this offer, please have your client execute this document in the space
provided below. Upon receipt of the executed document, this letter will become the Plea
Agreement (hereinafter referred to as the "Agreement"). The terms of the offer are as follows.

       1.       Charges and Statutory Penalties

        Your client agrees to plead guilty in the above-captioned case to all elements of all
objects of all the charges in a Superseding Criminal Information, which will encompass the
charges in Counts One and Two of a Superseding Criminal Information, charging your client
with:

   A. conspiracy against the United States, in violation of 18 U.S.C. § 371 (which includes a
      conspiracy to: (a) money launder (in violation of 18 U.S.C. § 1956); (b) commit tax fraud



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        (in violation of 26 U.S.C. § 7206(1)); (c) fail to file Foreign Bank Account Reports (in
        violation of 31 U.S.C. §§ 5314 and 5322(b)); (d) violate the Foreign Agents Registration
        Act (in violation of22 U.S.C. §§ 612, 618(a)(l), and 618(a)(2)); and (e) to lie to the
        Department of Justice (in violation of 18 U.S.C. § l00l(a) and 22 U.S.C. §§ 612 and
        618(a)(2)); and
     B. conspiracy against the United States, in violation of 18 U.S.C. § 371, to wit: conspiracy
        to obstruct justice by tampering with witnesses while on pre-trial release (in violation of
        18 U.S.C. § 1512).

 The defendant also agrees not to appeal any trial or pre-trial issue in the Eastern District of
 Virginia, or to challenge in the district court any such issue, and admits in the attached
 "Statement of the Offense" his guilt of the remaining counts against him in United States v. Paul
 J. Manafort, Jr., Crim. No. 1:18-cr-83 (TSE) (hereafter "Eastern District of Virginia.") A copy
 of the Superseding Criminal Information and Statement of the Offense are attached.

        Your client understands that each violation of 18 U.S.C. § 371 carries a maximum
 sentence of 5 years' imprisonment; a fine of not more than $250,000, pursuant to 18 U.S.C. §
 3571(b)(3); a term of supervised release of not more than 3 years, pursuant to 18 U.S.C. §
 3583(b)(2); and an obligation to pay any applicable interest or penalties on fines and restitution
 not timely made, and forfeiture.

        In addition, your client agrees to pay a mandatory special assessment of $200 to the Clerk
of the United States District Court for the District of Columbia. Your client also understands
that, pursuant to 18 U.S.C. § 3572 and§ 5El.2 of the United States Sentencing Guidelines,
Guidelines Manual (2016) (hereinafter "Sentencing Guidelines," "Guidelines," or "U.S.S.G."),
the Court may also impose a fine that is sufficient to pay the federal government the costs of any
imprisonment, term of supervised release, and period of probation.

        2.      Factual Stipulations

         Your client agrees that the attached Statement of the Offense fairly and accurately
describes and summarizes your client's actions and involvement in the offenses to which your
client is pleading guilty, as well as crimes charged in the Eastern District of Virginia that remain
outstanding, as well as additional acts taken by him. Please have your client sign and return the
Statement of the Offense, along with this Agreement.

        3.      Additional Cbar·ges

        In consideration of your client's guilty plea to the above offenses, and upon the
completion of full cooperation as described herein and fulfillment of all the other obligations
herein, no additional criminal charges will be brought against the defendant for his heretofore
disclosed participation in criminal activity, including money laundering, false statements,
personal and corporate tax and FBAR offenses, bank fraud, Foreign Agents Registration Act
violations for his work in Ukraine, and obstruction of justice. In addition, subject to the terms of
this Agreement, at the time of sentence or at the completion of his successful cooperation,
whichever is later, the Government will move to dismiss the remaining counts of the Indictment



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 in this matter and in the Eastern District of Virginia and your client waives venue as to such
 charges in the event he breaches this Agreement. Your client also waives all rights under the
 Speedy Trial act as to any outstanding charges.

        4.      Sentencing Guidelines Analysis

        Your client understands that the sentence in this case will be determined by the Court,
 pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a consideration of the
 applicable guidelines and policies set forth in the Sentencing Guidelines. Pursuant to Federal
 Rule of Criminal Procedure 11 (c)(1 )(B), and to assist the Court in determining the appropriate
 sentence, the Office estimates the Guidelines as follows:

                A.     Estimated Offense Level Under the Guidelines



  Base offense level          +8      2S1.l(a) Base Offense Level:
                                      (1) The offense level for the underlying offense
                                      from which the laundered funds were derived, if
                                      (A) the defendant committed the underlying
                                      offense (or would be accountable for the underlying
                                      offense under subsection (a)(l)(A) of §lBl.3
                                      (Relevant Conduct)); and (B) the offense level for
                                      that offense can be determined; or
                                      (2) 8 plus the number of offense levels from the
                                      table in §2Bl.1 (Theft, Property Destruction, and
                                      Fraud) corresponding to the value of the laundered
                                      funds, otherwise.
                             +22      Using more than $25 million threshold under
                                      2Bl.1
 Enhancement                 +2       2S1.l(b)(2)(B) permits enhancement for 2 points if
                                      the conviction is pursuant to ~ 1956.
 Enhancement                 +2       2S1. l(b)(3) adds two points for sophisticated
                                      laundering (which the guidelines lists as involving
                                      shell corporations and offshore financial accounts.
 Enhancement:                +4       3Bl.l(a) aggravating role - 5 or more participants
                                      or otherwise extensive
 Enhancement:                +2       3Cl.1 obstruction
 Combined Offense            +0       3D1.4
 level
 Acceptance:                 -3      3El.l(b) acceptance of responsibility
 Total for Counts One        37      Advisory guidelines range of 210-262
 and Two:



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 The defendant agrees that all of the Sentencing Guidelines for money laundering applicable to
 charges brought under 18 U.S.C. § 1956 apply to Count One of the Superseding Criminal
 Information brought under 18 U.S.C. § 371.

 For the purposes of the Sentencing Guidelines analysis, the government calculates the highest
 guideline range among the offenses, namely the object of the conspiracy to violate Title 18
 U.S.C. § 1956. The defendant's estimated guideline range for Count Two, the conspiracy to
 obstruct justice, is 30 (before any reduction for acceptance of responsibility), and would be
 grouped with Count One pursuant to §3D1.2(c).


                B.     Acceptance of Responsibility

        The Government agrees that a 2-level reduction will be appropriate, pursuant to U.S.S.G.
§ 3E 1.1, provided that your client clearly demonstrates acceptance of responsibility, to the
satisfaction of the Government, through your client's allocution, adherence to every provision of
this Agreement, and conduct between entry of the plea and imposition of sentence. If the
defendant has accepted responsibility as described above, and if the defendant pleads guilty on or
before September 14, 2018, subject to the availability of the Court, an additional one-level
reduction will be warranted, pursuant to U.S.S.G. § 3El.l(b).

       Nothing in this Agreement limits the right of the Government to seek denial of the
adjustment for acceptance ofresponsibility, pursuant to U.S.S.G. § 3El.l, and/or imposition of
an adjustment for obstruction of justice, pursuant to U.S.S.G. § 3Cl.l, regardless of any
agreement set forth herein, should your client move to withdraw his guilty plea after it is entered,
or should it be determined by the Government that your client has either (a) engaged in conduct,
unknown to the Government at the time of the signing of this Agreement, that constitutes
obstruction of justice, or (b) engaged in additional criminal conduct after signing this Agreement.

        In accordance with the above, the applicable Guidelines Offense Level will be at least 37.

               C.      Estimated Criminal History Category

       Based upon the information now available to this Office, your client has no criminal
convictions, other than in the Eastern District of Virginia. Your client acknowledges that
depending on when he is sentenced here and how the Guidelines are interpreted, he may have a
criminal history. If additional convictions are discovered during the pre-sentence investigation
by the United States Probation Office, your client's criminal history points may increase.

               D.     Estimated Applicable Guidelines Range

        Based upon the total offense level and the estimated criminal history category set forth
above, the Office calculates your client's estimated Sentencing Guidelines range is 210 months
to 262 months' imprisonment (the "Estimated Guidelin~s Range"). In addition, the Office
calculates that, pursuant to U.S.S.G. § 5El.2, should the Court impose a fine, at Guidelines level



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 37, the estimated applicable fine range is $40,000 to $400,000. Your client reserves the right to
 ask the Court not to impose any applicable fine.

         Your client agrees that, solely for the purposes of calculating the applicable range under
  the Sentencing Guidelines, a downward departure from the Estimated Guidelines Range set forth
  above is not warranted, subject to the paragraphs regarding cooperation below. Accordingly,
 you will not seek any departure or adjustment to the Estimated Guidelines Range set forth above,
 nor suggest that the Court consider such a departure or adjustment for any other reason other
 than those specified above. Your client also reserves the right to disagree with the Estimated
 Guideline Range calculated by the Office with respect to role in the offense. However, your
 client understands and acknowledges that the Estimated Guidelines Range agreed to by the
 Office is not binding on the Probation Office or the Court. Should the Court or Probation Office
 determine that a different guidelines range is applicable, your client will not be permitted to
 withdraw his guilty plea on that basis, and the Government and your client will still be bound by
 this Agreement.

         Your client understands and acknowledges that the terms of this section apply only to
conduct that occurred before the execution of this Agreement. Should your client engage in any
conduct after the execution of this Agreement that would form the basis for an increase in your
client's base offense level or justify an upward departure (examples of which include, but are not
limited to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the probation officer, or the
Court), the Government is free under this Agreement to seek an increase in the base offense level
based on that post-agreement conduct.

        5.      Agreement as to Sentencing Allocution

       Based upon the information known to the Government at the time of the signing of this
Agreement, the parties further agree that a sentence within the Estimated Guidelines Range (or
below) would constitute a reasonable sentence in light of all of the factors set forth in 18 U.S.C.
§ 3553(a), should such a sentence be subject to appellate review notwithstanding the appeal
waiver provided below.

        6.     Reservation of Allocution

        The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client's misconduct,
including any misconduct not described in the charge to which your client is pleading guilty.

        The parties also reserve the right to inform the presentence report writer and the Courts of
any relevant facts, to dispute any factual inaccuracies in the presentence report, and to contest
any matters not provided for in this Agreement. In the event that the Courts considers any
Sentencing Guidelines adjustments, departures, or calculations different from any agreements
contained in this Agreement, or contemplates a sentence outside the Guidelines range based upon
the general sentencing factors listed in 18 U.S.C. § 3553(a), the parties reserve the right to
answer any related inquiries from the Courts. In addition, your client acknowledges that the



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Government is not obligated to file any post-sentence downward departure motion in this case
pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.

        7.     Court Not Bound by this Agreement or the Sentencing Guidelines

       Your client understands that the sentence in this case will be imposed in accordance with
18 U.S.C. § 3553(a), upon consideration of the Sentencing Guidelines. Your client further
understands that the sentence to be imposed is a matter solely within the discretion of the Courts.
Your client acknowledges that the Courts are not obligated to follow any recommendation of the
Government at the time of sentencing or to grant a downward departure based on your client's
substantial assistance to the Government, even if the Government files a motion pursuant to
Section SK 1.1 of the Sentencing Guidelines. Your client understands that neither the
Government's recommendation nor the Sentencing Guidelines are binding on the Courts.

        Your client acknowledges that your client's entry of a guilty plea to the charged offenses
authorizes the Court to impose any sentence, up to and including the statutory maximum
sentence, which may be greater than the applicable Guidelines range determined by the Court.
Although the parties agree that the sentences here and in the Eastern District of Virginia should
run concurrently to the extent there is factual overlap (i.e. the tax and foreign bank account
charges), that recommendation is not binding on either Court. The Government cannot, and does
not, make any promise or representation as to what sentences your client will receive. Moreover,
your client acknowledges that your client will have no right to withdraw your client's plea of
guilty should the Courts impose sentences that are outside the Guidelines range or if the Courts
do not follow the Government's sentencing recommendation. The Government and your client
will be bound by this Agreement, regardless of the sentence imposed by the Courts. Any effort
by your client to withdraw the guilty plea because of the length of the sentence shall constitute a
breach of this Agreement.

       8.      Cooperation

Your client shall cooperate fully, truthfully, completely, and forthrightly with the Government
and other law enforcement authorities identified by the Government in any and all matters as to
which the Government deems the cooperation relevant. This cooperation will include, but is not
limited to, the following:

       (a) The defendant agrees to be fully debriefed and to attend all meetings at which his
           presence is requested, concerning his participation in and knowledge of all criminal
           activities.

       (b) The defendant agrees to furnish to the Government all documents and other material
           that may be relevant to the investigation and that are in the defendant's possession or
           control and to participate in undercover activities pursuant to the specific instructions
           of law enforcement agents or the Government.

       (c) The defendant agrees to testify at any proceeding in the District of Colombia or
           elsewhere as requested by the Government.



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        (d) The defendant consents to adjournments of his sentences as requested by the
            Government.


        (e) The defendant agrees that all of the defendant's obligations under this agreement
            continue after the defendant is sentenced here and in the Eastern District of Virginia;
            and


        (f) The defendant must at all times give complete, truthful, and accurate information and
            testimony, and must not commit, or attempt to commit, any further crimes.


        Your client acknowledges and understands that, during the course of the cooperation
outlined in this Agreement, your client will be interviewed by law enforcement agents and/or
Government attorneys. Your client waives any right to have counsel present during these
interviews and agrees to meet with law enforcement agents and Government attorneys outside of
the presence of counsel. If, at some future point, you or your client desire to have counsel
present during interviews by law enforcement agents and/or Government attorneys, and you
communicate this decision in writing to this Office, this Office will honor this request, and this
change will have no effect on any other terms and conditions of this Agreement.

        Your client shall testify fully, completely and truthfully before any and all Grand Juries
in the District of Columbia and elsewhere, and at any and all trials of cases or other court
proceedings in the District of Columbia and elsewhere, at which your client's testimony may be
deemed relevant by the Government.

         Your client understands and acknowledges that nothing in this Agreement allows your
client to commit any criminal violation of local, state or federal law during the period of your
client's cooperation with law enforcement authorities or at any time prior to the sentencing in
this case. The commission of a criminal offense during the period of your client's cooperation or
at any time prior to sentencing will constitute a breach of this Agreement and will relieve the
Government of all of its obligations under this Agreement, including, but not limited to, its
obligation to inform this Court of any assistance your client has provided. However, your client
acknowledges and agrees that such a breach of this Agreement will not entitle your client to
withdraw your client's plea of guilty or relieve your client of the obligations under this
Agreement.

       Your client agrees that the sentencing in this case and in the Eastern District of Virginia
may be delayed until your client's efforts to cooperate have been completed, as determined by
the Government, so that the Courts will have the benefit of all relevant information before a
sentence is imposed.

       9.      Government's Obligations



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          The Government will bring to the Courts' attention at the time of sentencing the nature
 and extent of your client's cooperation or lack of cooperation. The Government will evaluate the
 full nature and extent of your client's cooperation to determine whether your client has provided
 substantial assistance in the investigation or prosecution of another person who has committed an
 offense. If this Office determines that the defendant has provided substantial assistance in the
 form of truthful information and, where applicable, testimony, the Office will file motions
 pursuant to Section 5Kl.1 of the United States Sentencing Guidelines. Defendant will then be
 free to argue for any sentence below the advisory Sentencing Guidelines range calculated by the
 Probation Office, including probation.

        10.     Waivers

                A.      Venue

        Your client waives any challenge to venue in the District of Columbia.

                B.      Statute of Limitations

         Your client agrees that, should any plea or conviction following your client's pleas of
 guilty pursuant to this Agreement, or the guilty verdicts in the Eastern District of Virginia, be
 vacated, set aside, or dismissed for any reason (other than by government motion as set forth
 herein), any prosecution based on the conduct set forth in the attached Statement of the Offense,
 as well as any crimes that the Government has agreed not to prosecute or to dismiss pursuant to
this Agreement, that is not time-barred by the applicable statute oflimitations on the date of the
 signing of this Agreement, may be commenced or reinstated against your client, notwithstanding
 the expiration of the statute of limitations between the signing of this Agreement and the
commencement or reinstatement of such prosecution. It is the intent of this Agreement to waive
all defenses based on the statute of limitations with respect to any prosecution of conduct set
forth in the attached Statement of the Offense, or any other crimes that the Government has
agreed not to prosecute, that are not time-barred on the date that this Agreement is signed. The
Office and any other party will be free to use against your client, directly and indirectly, in any
criminal or civil proceeding, all statements made by your client, including the Statement of the
Offense, and any of the information or materials provided by your client, including such
statements, information, and materials provided pursuant to this Agreement or during the course
of any debriefings conducted in anticipation of, or after entry of, this Agreement, whether or not
the debriefings were previously a part of proffer-protected debriefings, and your client's
statements made during proceedings before the Court pursuant to Rule 11 of the Federal Rules of
Criminal Procedure.


               C.      Trial and Other Rights

        Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your
client agrees to forgo the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client's guilty plea. Your client also agrees to waive,



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 among other rights, the right to be indicted by a Grand Jury, the right to plead not guilty, and the
 right to a jury trial. If there were a jury trial, your client would have the right to be represented
 by counsel, to confront and cross-examine witnesses against your client, to challenge the
 admissibility of evidence offered against your client, to compel witnesses to appear for the
 purpose of testifying and presenting other evidence on your client's behalf, and to choose
 whether to testify. If there were a jury trial and your client chose not to testify at that trial, your
 client would have the right to have the jury instructed that your client's failure to testify could
 not be held against your client. Your client would further have the right to have the jury
 instructed that your client is presumed innocent until proven guilty, and that the burden would be
 on the United States to prove your client's guilt beyond a reasonable doubt. If your client were
 found guilty after a trial, your client would have the right to appeal your client's conviction.
 Your client understands that the Fifth Amendment to the Constitution of the United States
 protects your client from the use of compelled self-incriminating statements in a criminal
 prosecution. By entering a plea of guilty, your client knowingly and voluntarily waives or gives
 up your client's right against compelled self-incrimination.

         Your client acknowledges discussing with you Rule l l(f) of the Federal Rules of
 Criminal Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the
 admissibility of statements made by a defendant in the course of plea discussions or plea
 proceedings if a guilty plea is later withdrawn. Your client knowingly and voluntarily hereby
 waives the rights that arise under these rules to object to the use of all such statements by him on
 and after September 10, 2018, in the event your client breaches this agreement, withdraws his
 guilty plea, or seeks to withdraw from this Agreement after signing it. This Agreement
 supersedes the proffer agreement between the Government and the client.

         Your client also agrees to waive all constitutional and statutory rights to a speedy
 sentence and agrees that the pleas of guilty pursuant to this Agreement will be entered at a time
 decided upon by the parties with the concurrence of the Court. Your client understands that the
 date for sentencing will be set by the Courts.

        Your client agrees not to accept remuneration or compensation of any sort, directly or
indirectly, for the dissemination through any means, including but not limited to books, articles,
speeches, biogs, podcasts, and interviews, however disseminated, regarding the conduct
encompassed by the Statement of the Offense, or the investigation by the Office or prosecution
of any criminal or civil cases against him.

                D.      Appeal Rights

        Your client understands that federal law, specifically 18 U.S.C. § 3742, affords
defendants the right to appeal their sentences in certain circumstances. Your client agrees to
waive the right to appeal the sentences in this case and the Eastern District of Virginia, including
but not limited to any term of imprisonment, fine, forfeiture, award of restitution, term or
condition of supervised release, authority of the Courts to set conditions of release, and the
manner in which the sentences were determined, except to the extent the Courts sentence your
client above the statutory maximum or guidelines range determined by the Courts or your client
claims that your client received ineffective assistance of counsel, in which case your client would



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 have the right to appeal the illegal sentence or above-guidelines sentence or raise on appeal a
 claim of ineffective assistance of counsel, but not to raise on appeal other issues regarding the
 sentencings. In agreeing to this waiver, your client is aware that your client's sentences have yet
 to be determined by the Courts. Realizing the uncertainty in estimating what sentences the
 Courts ultimately will impose, your client knowingly and willingly waives your client's right to
 appeal the sentence, to the extent noted above, in exchange for the concessions made by the
 Government in this Agreement.

                E.      Collateral Attack

         Your client also waives any right to challenge the conviction entered or sentence imposed
 under this Agreement or in the Eastern District of Virginia or otherwise attempt to modify or
 change the sentences or the manner in which they were determined in any collateral attack,
 including, but not limited to, a motion brought under 28 U.S.C. § 2255 or Federal Rule of Civil
 Procedure 60(b), except to the extent such a motion is based on a claim that your client received
 ineffective assistance of counsel.

         Your client agrees that with respect to all charges referred to herein he is not a
 "prevailing party" within the meaning of the "Hyde Amendment," 18 U.S.C. § 3006A note, and
 will not file any claim under that law.

                F.      Privacy Act and FOIA Rights

         Your client also agrees to waive all rights, whether asserted directly or by a
 representative, to request or receive from any department or agency of the United States any
 records pertaining to the investigation or prosecution of this case, including and without
 limitation any records that may be sought under the Freedom oflnformation Act, 5 U.S.C. § 552,
 or the Privacy Act, 5 U.S.C. § 552a, for the duration of the Special Counsel's investigation.

        11.     Restitution

       Your client understands that the Court has an obligation to determine whether, and in
what amount, mandatory restitution applies in this case under 18 U.S.C. § 3663A. The
Government and your client agree that mandatory restitution does not apply in this case.

        12.     Forfeiture

        a)       Your client agrees to the forfeiture set forth in the Forfeiture Allegations in the
Superseding Criminal Information to which your client is pleading guilty. Your client further
agrees to forfeit criminally and civilly the following properties (collectively, the "Forfeited
Assets") to the United States pursuant to Title 18, United States Code, Sections 981(a)(l)(A),
981(a)(l)(C), 982(a)(l), 982(a)(2); Title 21, United States Code, Section 853(p), and Title 28
U.S.C. § 2461(c), and further agrees to waive all interest in such assets in any administrative or
judicial forfeiture proceeding, whether criminal or civil, state or federal:

    1) The real property and premises commonly known as 377 Union Street, Brooklyn, New



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          York 11231 (Block 429, Lot 65), including all appurtenances, improvements, and
          attachments thereon, and any property traceable thereto;

      2) The real property and premises commonly known as 29 Howard Street, #4D, New York,
         New York 10013 (Block 209, Lot 1104), including all appurtenances, improvements, and
         attachments thereon, and any property traceable thereto;

      3) The real property and premises commonly known as 174 Jobs Lane, Water Mill, New York
         11976, including all appurtenances, improvements, and attachments thereon, and any
         property traceable thereto;

     4) All funds held in account number               0969 at The Federal Savings Bank, and any
        property traceable thereto;

     5) All funds seized from account number                     1388 at Capital One N.A., and any
        property traceable thereto;

     6) All funds seized from account number              9952 at The Federal Savings Bank, and any
        property traceable thereto;

     7) Northwestern Mutual Universal Life Insurance Policy                         and any property

         traceable thereto;

     8) The real property and premises commonly known as 123 Baxter Street, #5D, New York,

         New York 10016 in lieu of 1046 N. Edgewood Street; and

     9) The real property and premises commonly known as 721 Fifth Avenue, #43G, New York,
        New York 10022 in lieu of all funds from account number       ~ at Charles Schwab &
        Co. Inc., and any property traceable thereto.

 Your client agrees that his consent to forfeiture is final and irrevocable as to his interests in the
 Forfeited Assets.


          b)      Your client agrees that the facts set forth in the Statement of Facts and admitted to
  by your client establish that the Forfeited Assets are forfeitable to the United States pursuant to
  Title 18, United States Code, Sections 981 and 982, Title 21, United States Code, Section 853,
  and Title 28, United States Code, Section 2461. Your client admits that the Forfeited Assets
  numbered 1 through 7, above, represent property that constitutes or is derived from proceeds of,
  and property involved in, the criminal offenses in the Superseding Criminal Information to which
. your client is pleading guilty. Your client further agrees that all the Forfeited Assets (numbered
  1 through 9) can additionally be considered substitute assets for the purpose of forfeiture to the
  United States pursuant to Title 18, United States Code, Section 982(b); Title 21, United States
  Code, Section 853(p); and Title 28, United States Code, Section 2461(c).



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         c)     Your client agrees that the Court may enter a preliminary order of forfeiture for
 the Forfeited Assets at the time of your client's guilty plea or at any time before sentencing, and
 consents thereto. Your client agrees that the Court can enter a Final Order of Forfeiture for the
 Forfeited Assets, and could do so as part of his sentence.


          d)      Your client further agrees that the government may choose in its sole discretion
 how it wishes to accomplish forfeiture of the property whose forfeiture your client has consented
 to in this plea agreement, whether by criminal or civil forfeiture, using judicial or non-judicial
 forfeiture processes. If the government chooses to effect the forfeiture provisions of this plea
 agreement through the criminal forfeiture process, your client agrees to the entry of orders of
 forfeiture for such property and waives the requirements of Federal Rules of Criminal Procedure
 1 l(b)(l)(J) and 32.2 regarding notice of the forfeiture in the charging instrument, advice
 regarding the forfeiture at the change-of-plea hearing, announcement of the forfeiture at
 sentencing, and incorporation of the forfeiture in the judgment.


         e)      Your client understands that the United States may institute civil or administrative
 forfeiture proceedings against all forfeitable property in which your client has an interest,
 including the Forfeited Assets, without regard to the status of his criminal conviction. Your
 client further consents to the civil forfeiture of the Forfeited Assets to the United States, without
 regard to the status of his criminal conviction. In connection therewith, your client specifically
 agrees to waive all right, title, and interest in the Forfeited Assets, both individually and on
 behalf of DMP International, Summerbreeze LLC, or any other entity of which he is an officer,
 member, or has any ownership interest. Your client waives all defenses based on statute of
 limitations and venue with respect to any administrative or civil forfeiture proceeding related to
 the Forfeited Assets.


          f)     Your client represents that with respect to each of the Forfeited Assets, he is
either the sole and rightful owner and that no other person or entity has any claim or interest, or
that he has secured the consent from any other individuals or entities having an interest in the
Forfeited Assets to convey their interests in the Forfeited Assets to him prior to entry of the
Order of Forfeiture (with the exception of previously disclosed mortgage holders). Your client
warrants that he has accurately represented to the Government all those individuals and entities
having an interest in the Forfeited Assets and the nature and extent of those interests, including
any mortgages or liens on the Forfeited Assets. Your client agrees to take all steps to pass clear
title to the Forfeited Assets to the United States (with the exception of previously disclosed
mortgage liens). Your client further agrees to testify truthfully in any judicial forfeiture
proceeding, and to take all steps to effectuate the same as requested by the Government. Your
client agrees to take all steps requested by the Government to obtain from any other parties by
any lawful means any records of assets owned at any time by your client, including but not
limited to the Forfeited Assets, and to otherwise facilitate the effectuation of forfeiture and the
maximization of the value of Forfeited Assets for the United States.


        g)      Your client agrees that, to the extent that he does not convey to the United States


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 clear title to each of the Forfeited Assets, the United States is entitled, in its sole discretion, either
 to vacatur of the plea agreement or to forfeiture to the United States of a sum of money equal to
 the value of that asset at the time this agreement was executed. Your client consents to
 modification of any Order of Forfeiture at any point to add such sum of money as a forfeiture
 judgment in substitution for Forfeited Assets.



         h)     Your client hereby abandons any interest he has in all forfeitable property and
 consents to any disposition of the property by the government without further notice or
 obligation whatsoever owning to your client.


          i)     Your client agrees not to interpose any claim, or to assist others to file or
 interpose any claim, to the Forfeited Assets in any proceeding, including but not limited to any
 civil or administrative forfeiture proceedings and any ancillary proceedings related to criminal
 forfeiture. Your client agrees that he shall not file any petitions for remission, restoration, or any
 other assertion of ownership or request for return relating to the Forfeited Assets, or any other
 action or motion seeking to collaterally attack the seizure, restraint, forfeiture, or conveyance of
 the Forfeited Assets, nor shall your client assist any other in filing any such claims, petitions,
 actions, or motion. Contesting or assisting others in contesting forfeiture shall constitute a
 material breach of the Agreement, relieving the United States of all its obligations under the
 Agreement. Your client agrees not to seek or accept, directly or indirectly, reimbursement or
 indemnification from any source with regard to the assets forfeited pursuant to this Agreement.


         j)     In the event your client fails to deliver the assets forfeited pursuant to this
 agreement, or in any way fails to adhere to the forfeiture provisions of this agreement, the United
 States reserves all remedies available to it, including but not limited to vacating the Agreement
 based on a breach of the Agreement by your client.


        k)      Your client agrees that the forfeiture provisions of this plea agreement are
 intended to, and will, survive him notwithstanding the abatement of any underlying criminal
 conviction after the execution of this Agreement.


          1)      Your client agrees that he will not claim, assert, or apply for, directly or
 indirectly, any tax deduction, tax credit, or any other taxable offset with regard to any federal,
 state, or local tax or taxable income for payments of any assets forfeited pursuant to this
 Agreement.


         m)     Your client agrees to waive all constitutional and statutory challenges in any
 manner (including, but not limited to, direct appeal) to any forfeiture carried out in accordance
 with this Agreement on any grounds, including that the forfeiture constitutes an excessive fine or
 punishment.



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         13.    Breach of Agreement

          Your client understands and agrees that, if after entering this Agreement, your client fails
 specifically to perform or to fulfill completely each and every one of your client's obligations
 under this Agreement, or engages in any criminal activity prior to sentencing or during his
 cooperation (whichever is later), your client will have breached this Agreement. Should it be
 judged by the Government in its sole discretion that the defendant has failed to cooperate fully,
 has intentionally given false, misleading or incomplete information or testimony, has committed
 or attempted to commit any further crimes, or has otherwise violated any provision of this
 agreement, the defendant will not be released from his pleas of guilty but the Government will be
 released from its obligations under this agreement, including (a) not to oppose a downward
 adjustment of two levels for acceptance of responsibility described above, and to make the
 motion for an additional one-level reduction described above and (b) to file the motion for a
 downward departure for cooperation described above. Moreover, the Government may
 withdraw the motion described above, if such motion has been filed prior to sentencing. In the
 event that it is judged by the Government that there has been a breach: (a) your client will be
 fully subject to criminal prosecution, in addition to the charges contained in the Superseding
 Criminal Information, for any crimes to which he has not pled guilty, including perjury and
 obstruction of justice; and (b) the Government and any other party will be free to use against
 your client, directly and indirectly, in any criminal or civil proceeding, all statements made by
 your client, including the Statement of the Offense, and any of the information or materials
 provided by your client, including such statements, information, and materials provided pursuant
 to this Agreement or during the course of any debriefings conducted in anticipation of, or after
 entry of, this Agreement, whether or not the debriefings were previously a part of proffer-
 protected debriefings, and your client's statements made during proceedings before the Court
 pursuant to Rule 11 of the Federal Rules of Criminal Procedure.

        Your client understands and agrees that the Government shall be required to prove a
 breach of this Agreement only by good faith.

         Nothing in this Agreement shall be construed to protect your client from prosecution for
 any crimes not included within this Agreement or committed by your client after the execution of
 this Agreement. Your client understands and agrees that the Government reserves the right to
 prosecute your client for any such offenses. Your client further understands that any perjury,
 false statements or declarations, or obstruction of justice relating to your client's obligations
 under this Agreement shall constitute a breach of this Agreement. In the event of such a breach,
 your client will not be allowed to withdraw your client's guilty plea.



        14.     Complete Ag1·eement

      Apart from the written proffer agreement initially dated September 11, 2018, which this
Agreement supersedes, no agreements, promises, understandings, or representations have been


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 made by the parties or their counsel other than those contained in writing herein, nor will any
 such agreements, promises, understandings, or representations be made unless committed to
 writing and signed by your client, defense counsel, and the Office.

         Your client further understands that this Agreement is binding only upon the Office. This
 Agreement does not bind any United States Attorney's Office, nor does it bind any other state,
 local, or federal prosecutor. It also does not bar or compromise any civil, tax, or administrative
 claim pending or that may be made against your client.

        If the foregoing terms and conditions are satisfactory, your client may so indicate by




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 signing this Agreement and the Statement of the Offense, and returning both to the Office no
 later than September 14, 2018.

                                                     Sincerely yours,

                                                     ROBERT S. MUELLER, III
                                                     Special Counsel


                                             By:         d /.. b/_
                                                   ~~
                                                   Andrew Weissmann
                                                    Jeannie S. Rhee
                                                    Greg D. Andres
                                                    Kyle R. Freeny
                                                    Senior/Assistant Special Counsels




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                                 DEFENDANT'S ACCEPTANCE
         I have read every page of this Agreement and have discussed it with my attorneys Kevin
 Downing, Thomas Zehnle, and Richard Westling. I am fully satisfied with the legal
 representation by them, who I have chosen to represent me herein. Nothing about the quality of
 the representation of other counsel is affecting my decision herein to plead guilty. I fully
 understand this Agreement and agree to it without reservation. I do this voluntarily and of my
 own free will, intending to be legally bound. No threats have been made to me nor am I under
 the influence of anything that could impede my ability to understand this Agreement fully. I am
 pleading guilty because I am in fact guilty of the offense identified in this Agreement.

         I reaffirm that absolutely no promises, agreements, understandings, or conditions have
 been made or entered into in connection with my decision to plead guilty except those set forth
 in this Agreement. I am satisfied with the legal services provided by my attorneys in connection
 with this Agreement and matters related to it.




 Date: __9_-_1_1_-~tf_ _ _

                                              Defendant



                              ATTORNEYS'ACKNOWLEDGMENT
         I have read every page of this Agreement, reviewed this Agreement with my client, Paul
 J. Manafort, and fully discussed the provisions of this Agreement with my client. These pages
 accurately and completely set forth the entire Agreement. I concur in my client's desire to plead
 guilty as set forth in this Agreement.




 Date:   -   - - - - --   -
                                      Ke in M. Downing
                                       1chard W. Westling
                                      Thomas E. Zehnle
                                      Attorneys for Defendant




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                    IN THE UN ITED STATES DISTR ICT COURT FOi
                            EASTERN DISTRICT OF VTRGIN IJ\

                                        Alexandria Division

UN ITED STATES OF AME RICA                     )
                                               )
       V.                                      )      Criminal No. I: I 7-CR-248
                                               )
                                               )       Hon. T. S. Ellis, IIT
HYUNG KWON KIM,                                )
                                               )
       Defendant.                              )

                                       PLEA AG REEMENT

       Dana J. Boente. United States Attorney fo r the Eastern District of Virginia; Mark D.

Lytle. Assistant Uni ted States Attorney: Stuart M. Goldberg. Acting Deputy Assistant Attorney

General for the Tax Division. U.S. Department of Justice; Mark F. Daly. Senior Litigation

Counsel and Robert J. Boudreau, Trial Attorney; the defe ndant, 1-lyung Kwon Kim; and the

defendant's counsel have entered into an agreement pursuant to Rule 11 of the federal Rules of

Crim inal Procedure. The terms of the agreement arc as fo llows:

       1.      Offense and Maximum Penalties

       The defendant agrees lo waive ind ictment and plead guilty to a single count criminal

information charging the defendant with will f'u l fai lure to file a Report of Foreign Bank and

Financial Accounts, FinCEN Report 11 4 (formerly TD F 90.22-1 ) (as applicable, "FBAR") with

the Department ol"the Treasury, in violation of' Ti tle 31, United States Code, Sections 53 14 and

5322(a), and Title 3 1, Code or Federal Regulations, Section IOI 0.350.

       The maximum pcnnltics lo r thi s offense arc: a max imum term of imprisonment of fi ve

years of imprisonment; a max imum fine of the grea ter o f $250.000 or twice the gross gai n or

loss; a spec ial assessment, pursuant to 18 U.S.C. §§ 30 13 and 3014: and three years of
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supervised release. The defendant understands that this supervised release term is in addition to

any prison term the defendant may receive, and that a violation of a term of supervised release

could result in the defendant being returned to prison for the full term of supervised release.

       2.      Factual Basis fo r the Pica

       The defendant wil l plead guilty because the defendant is in fact guilty of the charged

offense. The defendant admits the facts set forth in the Statement of Facts filed with this plea

agreement and agrees that those facts establish guilt of the offense charged beyond a reasonable

doubt. The Statement of !'acts, which is hereby incorporated into this plea agreement,

constitutes a stipulation of facts for purposes of Section I Bl .2(a) of the U.S. Sentencing

Commission's Sentencing Guidelines Manual ("Sentencing Guidelines").

       3.      Assistance and Advice of Counsel

       The defendant is satisfied that his attorneys have rendered effective assistance. The

defendant understands that by entering into this plea agreement, he surrenders certain rights as

provided in this plea agreement. The defendant understands that the rights of criminal

defendants include the following:

               a.      the right to plead not guilty and to persist in that plea;

               b.      the right to a jury trial;

               c.      the right to be represented by counsel - and, if necessary, have the Court

appoint counsel - at trial and at every other stage of the proceedings; and

               d.      the right al trial to confront and to cross-examine adverse witnesses. to be

protected from compel led self-incrimination, to testify and present evidence, and to compel the

attendance of witnesses.




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       4.      Role of the Court and th e Probation Office

       The defendant understands that the Court has jurisdiction and authority to impose any

sentence within the statutory max imum described above but that the Court will determine hi s

actual sentence in accordance with 18 U.S.C. § 3553(a). The defendant understands that the

Court has not yet dete1111ined a sentence and that any estimate of the advisory sentencing range

under the Sentencing Guideli nes be may have received from his counsel, the United States, or

the Probation Office, is a prediction, not a promise, and is not binding on the United States, the

Probation Office, or the Court. Addi tionally, pursuant to the Supreme Court's decision in United

States v. Booker, 543 U.S. 220 (2005), the Court, af1er considering the factors set forth in

18 U.S.C. § 3553(a), may impose a sentence above or below the Sentencing Guidelines ' advisory

sentencing range, subject only to review by higher courts for reasonableness. The United States

makes no promise or representation concerning what sentence the defendant will receive, and he

cannot withdraw a guilty plea based upon the actual sentence.

       5.      Sentencing G uidelines

       The Government contends that the applicable Guideline in thi s matter should be U.S.S.G.

§ 2S l .3(a)(2), § 28 I. I, and § 2S1.3(b)(2) because the defendant fi led two fa lse FBARs and a

fa lse U.S. Individual Income Tax Return, Form 1040, within a 12-month period. However, at

the time that the defendant agreed to plead guilty, the Government consistently took the position

with similarly situated defendants that the applicable Gu ideline vvas U.S.S.G. § 2TI .1 and

§ 2Tl .4 due to the cross reference in 2S 1.3(c)(l).

       Therefore. in order to ensure that the defendant receives equitable treatment, and in

accordance with Federal Rule of Criminal Procedure 11 (c)( I)(B), the United States and the



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defendant will reconunend to the Court that the following provisions of the Sentencing

Guidelines apply:

               a.      The base offense level for this offense is 16 pursuant to U.S.S.G.

§ 2Tl.1 (a)(l) and § 2T4. I (F), because the tax loss exceeded $100,000;

                b.     The base offense level is increased by 2 levels pursuant to U.S .S.G.

§ 2T 1.1 (b)(2) because the offense involved sophisticated means; and

               c.      the parties agree that they are free to argue other provisions of the

Sentencing Guidelines not referenced herein or the sentencing factors under 18 U.S.C. § 3553(a).

       The United States and the defendant also agree that he has assisted the government in the

investigation and prosecution of his own misconduct by timely notifying authorities of his

intention to enter a plea of guilty, thereby permitting the government to avoid preparing for trial

and permitting the government and the Court to allocate their resources efficiently. If the

defendant qualifies for a two-level decrease in offense level pursuant to Sentencing Guidelines

§ 3E 1.1 (a) and the offense level prior to the operation of that section is 16 or greater, the

government agrees to file, pursuant to Sentencing Guidelines § 3El .1 (b), a motion prior to, or at

the time of, sentencing for an additional one-level decrease in the defendant's offense level.

        6.     Waiver of Appeal, FOIA, Privacy Act Rights, Venue and Statute of

Limitations

       The defendant also understands that 18 U.S .C. § 3742 affords him the right to appeal the

sentence imposed. Nonetheless, the defendant knowingly waives the right to appeal the

conviction and any sentence within the statutory maximum described above (or tbe maimer in

which that sentence was detennined) on the grounds set forth in 18 U.S .C. § 3742 or on any

ground whatsoever other than an ineffective assistance of counsel claim that is cognizable on



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direct appeal, in exchange fo r the concessions made by the United States in this plea agreement.

This pica agreement does not affect the rights or obligations of the United States as set forth in

18 U.S.C. § 3742(b).

          The defendant hereby ,,vaives all rights, whether asserted directly or by a representati ve,

to request or receive from any department or agency of the United States any records pertaining

to the investigation or prosecution of th is case, including without limitation any records that may

be sought under the Freedom ofln fo nnation Act, 5 U.S.C. § 552, or the Privacy Act, 5 U.S.C.

§ 552a.

          The defendant knowingly wa ives all rights to the venue requirement fo r Count One of the

Information due to the fac t that venue for the crimes committed lies in any other Federal j udicial

district. and the defendant further agrees to be prosecuted for this charge in the Eastern District

of Virginia.

          The defendant knowingly wa ives all rights to raise any defense based on the fai lure of a

federal grand jury or the United States to charge him with the offense described in paragraph I of

this agreement within any applicable statute of limitat ions.

          7.     Special Assessment

          Before sentencing in th is case, the defendant agrees to pay a mandatory spec ial

assessment of one hundred dollars ($ 100.00).

          8.     Pay ment of Monetary Penalties

          The defendant understands and agrees that, pursuant to 18 U.S.C. § 3613, whatever

monetary penalties are imposed by the Court will be due immediately and subject to immediate

enforcement by the United States as provided fo r in Section 3613, Furthermore, wi thin 14 days

o f a request, the de fendant agrees to provide all of the defendant's financial information to the



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United States and the Probation Office and, if requested, to participate in a pre-sentencing

debtor's examination and/or complete a financial statement under penalty of pe1ju1y . lf the Court

imposes a schedule of payments, the defendant understands that the schedule of payments is

merely a minimum schedule of payments and not the only method. nor a limitation on the

methods, available to the United States to enforce the judgment. If the defendant is incarcerated,

he agrees voluntarily to participate in the Bureau of Prisons' Inmate Financial Responsibi lity

Program, regardless of whether the Court specifically directs participation or imposes a schedule

of payments.

       9.      Res titution

       The defendant agrees to the ent1y of a Restitution Order for the ful l amount of the

victim's losses pursuant to 18 U.S.C. § 3663(a)(3). Victims of the conduct, as defined by

18 U.S.C. § 3663(a)(2) and described in the charging instrument or Statement of Facts or any

other document describing the defendant's conduct, shall be entitled to restitution. Without

limiting the amount of restitution that the Court must impose, the parties agree that, at a

minimum, the fo llowing victims have suffered the following losses:

       Victim Name/ Address                                    Amount of Restitut ion
       lRS- RACS                                               TBD
       Attn.: Mai l Stop 6261 , Restitution
       333 West Pershing Avenue
       Kansas City, MO 64108

       The parties acknowledge that determination of the loss amounts for all victims in this

matter is a complicated and time consuming process. To that end. the defendant agrees, pursuant

to I 8 U.S.C. § 3664(d)(5), that the Court may defer the imposition of restitution unti l after the

sentencing; however, the defendant specifically waives the 90 day provision found at 18 U.S.C.




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§ 3664(d)(5) and consents to the en try o f any orders pertaining to restitution arter sentencing

without limitation.

       If the Court orders the defendant to pay restitut ion to the IRS fo r the fai lure to pay tax,

either directly as part of the sentence or as a condition of supervised release, the IRS will use the

restitution order as the basis for a civil assessment. See 26 U.S.C. § 620 1(a)(4). The defendant

does not have the right to chall enge the amount o f this assessment. See 26 U.S.C.

§ 6201 (a)(4)(C). Neither the existence of a restitution payment schedule nor the defendant's

timely payment of restitution according to that schedul e wi ll preclude the IRS from

administrative collection of the rest itution-based assessment, including levy and distraint under

26 U.S.C. § 633 I.

        10.    rmm unity from     Further Prosecution in this District

       The United States will not further criminally prosecute the defendant in the Eastern

District of Virginia fo r the specific conduct described in the in format ion or Statement of Facts.

        11.    Waiver of Protections of Proffer Agreement

       The defendant agrees that all protections set fo rth in any proffer letter executed in relation

to this case are hereby waived. The defendant further agrees that the government may use all

statements provided by him, without limitation. in any proceeding brought by the government,

including the Internal Revenue Service, against the defendant.

        12.    Defendant's Cooperation

       The defendant agrees to cooperate full y and truthfully with the Uni ted States, and provide

all information known to him regarding any criminal activity as requested by the govern ment. Ln

that regard:




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                a.      The defendan t agrees to appear for and testify truthfully and completely at

any grand juries. trials or other proceedi ngs.

                b.      The defendant agrees to be reasonably available for deb1iefings, meetings,

and pre-trial confe rences as the United States may require.

                c.      The defendant agrees to provide all documents, records, writings, or

materials of any kind in the defendant's possession or under his care, custody, or control relating

directly or indirectly to all areas of inqui ry and investigation. Nothing in this plea agreement

requii-es the defendant to waive any valid asserti on of the attorney client privilege as to counsel

advising him in connection with this invest igation or any related proceeding.

                d.      The defendant agrees that, at the request of the United States, he will

voluntarily submit to polygraph examinations, and that the United States will choose the

polygraph exami ner and spec ify the procedures for the examinations.

                e.      The defendant agrees that the Statement of FacL<, is limited to information

necessary to support the plea. The defendant will provide more detailed facts relating to this

case during ensuing debriefi ngs.

                f.      The defendant agrees to execute any and all instructions and

authorizations to direct inclivicluals, entities, or financial institutions to provide account

documents and information as well as to repatriate funds held by foreign financial institutions in

order to accomplish the terms and conditions of this pi ca agreement.

                g.      The defendant acknowledges that he is hereby on notice that he may not

violate any federa l. state, or local criminal law while cooperating with the govenunent, and that

the government will. in its discretion. cons ider any such violation in evaluating whether to fi le a

motion fo r a downward departure or reduction of sentence.



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                h.     Noth ing in this plea agreement places any obligation on the government to

seek the defendant's cooperation or assistance.

        13.     Use oflnformation Provided by the Defendant under this Plea Agreement.

        The United States will not use any truthful in fo rmation provided pursuant to this plea

agreement in any criminal prosecution aga inst the defendant in the Eastern District of Virginia,

except in any prosecution for a crime of violence or conspiracy to commit, or aiding and

abetting, a crime of violence (as defined in 18 U.S.C. § 16). Pursuant to Sentencing Gu idelines

§ I B 1.8, no truthful infom1ation that the defendant provides under tl1is plea agreement wil l be

used in determining the applicable Sentencing Gu idelines advisory sentencing range, except as

provided in § I BI .8(b). Nothing in this plea agreement, however. restricts the Court's or

 Probat ion Officer's access to information and records in the possession of the United States.

ru,ihermore, nothing in this plea agreement prevents the government in any way from

prosecuting the defendant should he knowingly provide false, untruthful , or pe1jurious

information or testimony, or from using information prov ided by the defendant in furtherance of

any forfe iture action, whether criminal or civil, ad mini strative or judicial. The United States will

bring this plea agreement and the full extent of the defendant's cooperation to the attention of

other prosecuting offices if requested.

        14.     Defendant Must P rovide Full, Complete and T ruthful Cooperation

        This plea agreement is not conditioned upon charges being brought against any other

 indi vidual. This pica agreement is not cond itioned upon any outcome in any pending

investigation. This plea agreement is not conditioned upon any result in any future prosecution

which may occur because of the defendant's cooperation. This plea agreement is not

conditi oned upon any result in any future grand jury presentation or trial involving charges



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resulting from this investigation. This pica agreement is cond itioned upon the defendant

providing full. complete and truth ful cooperation.

        15.       Motion for a Downward D eparture

        The parties agree that the United States reserves the right to seek any departure from the

applicable Sentencing Guidelines advisory sentencing range, pursuant to§ 5K 1.1 of the

Sentencing Guideli nes and Policy Statements, or any reducti on of sentence pursuant to Federal

Rule of Criminal Procedure 35(b), if, in its sole discretion, Lhe United States determi nes that such

a departure or reduction of sentence is appropriate.

        J6.       Pay ment of Taxes and Filing of T ax Returns

        The defendant consents to any motion by the United States, under Federal Rule of

Criminal Procedure 6(e)(J)(E), to disclose grand jury material to the Internal Revenue Service

(" IRS") fo r use in computing and co llecting his taxes, interest and penalties, and to the civil and

 fo rfeiture sections or the United States Attorney"s Office for use in identi fy ing assets and

collecting fi nes and restit11ti on. The defendant also agrees to file true and correct Amended U.S.

Individual Income Tax Returns, Forms I040X, for the years 2003 through 20 10 and to pay all

taxes, interest and penalties for the years 2003 through 20 I0, prior to sentencing, as will be

agreed upon between him and the IRS, or as otherwise imposed or assessed by the TRS. The

defendant also admi ts that he willfully failed to file a tr ue and accurate FBAR fo r each required

year 2003 through 2010, and agrees not to object to the assessment of fraud penalties pursuant to

26 U.S.C. § 6663 . The defendant forther agrees to make all books, records and documents

available to the lRS fo r use in computing his taxes, interest and penalties for the years 1999

 through 20 10.




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        17.     Penalty Related to filing False and Frau dulent FBARs

        The defendant agrees that in order to resolve hi s civ il liability for both willfully failing to

file FBARs and fo r willfully fi ling false and fraudul ent fBARs for years 1999 through 20 I 0, he

will pay a civil penalty in the amount of $ 14,075,862 (fourteen million, seventy-five thousand,

eight hundred and sixty-two dollars), equaling 50% of the total assets that the Defendant held in

his undeclared accounts in Switzerl and on December 3 1, 2004. no later than ten (10) days after

the entry of Judgment in this case. The defendant further agrees to cause the transfer of the

funds by electronic funds transfer pursuant to written instructions to be provided by the Financial

Litigation Unit of the United States Attorney's Office for the Eastern District of Virginia. The

defendant further agrees to cooperate with the United States. and make best efforts to transfer

and remit the funds, including taking all steps requested by any financial institution or the United

States, including the execution o f all documents, orders, and/or instructions directing persons or

entities acting on his behalf or in the name o f nominee holders of accounts on his behalf,

providing any informat ion requested to facilitate the transfer, and granting access to infom1ation

to facilitate the transfer. The defendant understands and agrees that nothing in paragraphs 15 and

16 o[, or otherwise in, this pica agreement shall prec lude or limit the IRS in its civil

determination, assessment, or collect ion of any taxes, interest and/or penalties that he may owe.

        The defendant agrees to rile with the Financial Crimes Enfo rcement Network of the

Department of the Treasury true and correct f7BARs, including amended fBARs as needed, for

 1999 through 20 10.

        18.     Breach of this Pica Agreement and Remedies

       This plea agreement is effective when signed by the clele nclant, his attorney, and an

attorney for the United States. The defendant agrees to entry of this plea agreement at the date



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and time scheduled with the Cou11 by the Uni ted States (in consultation with his attorney). If Lhe

defendant withdrav.rs from this plea agreement. or commits or attempts to commit any additional

federal, state or local crimes, or intentionally gives materially false, incomplete, or mi sleading

testimony or information, or otherwise violates any provision of this plea agreement, then:

               a.      The United States will be released from its obligations under this plea

agreement, including any obligation to seek a downward departure or a reduction in sentence.

The defendant, however, may not withdraw the guilty plea entered pursuant to th is plea

agreement.

               b.      The defenda111 will be subject to prosecution for any federal criminal

violation, including, but not limited to, pc1jury and obstruction of justice, that is not time-barred

by the applicable statute of limitations on the date this plea agreement is signed.

Notwithstanding the subsequent expiration of the statute of limitations, in any such prosecution,

the defendant agrees to waive any statute-of-limitations defense.

               c.      Any prosecution, including the prosecution that is the subject of this plea

agreement, may be premised upon any in formation provided, or statements made. by the

defendant, and al l such information, statements, and leads derived therefrom may be used agai nst

the defendant. The defendant waives any ri ght to claim that statements made before or after the

date of this plea agreement, including the statement of facts accompanying this plea agreement

or adopted by the defendant and any other statements made pursuant to this or any other

agreement with the United States. should be exc luded or suppressed under Federal Rule of

Evidence 4 I0, Federal Rule of Criminal Procedure 11 (1), the Sentencing Guidelines or any other

provision of the Constitution or federal law.




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         Any alleged breach of this plea agreement by either party shall be determ ined by the

Court in an appropriate proceeding at which the defendant's di sclosures and documentary

evidence shall be admissible and at which the moving party shall be required to establish a

breach of the pica agreement by a preponderance of the evidence. The proceeding established by

this paragraph does not apply, however, to the decision o r the Uni ted States whether lo file a

motion based on "substantial assistance" as that phrase is used in Federal Rule of Crim ina l

Procedure 35(b) and Section 5Kl . 1 of the Sentencing Guidelines and Policy Statements. The

defendant agrees that the decision whether to file such a motion rests in the so le discretion of the

United States.

          19.    Nature of this Plea Agreement and Modifications

         This wri tten plea agreement constitutes the complete plea agreement between the United

States, the defendant, and his counsel. The defendant and hi s at1orney acknowledge that no

threats, promises, or representations have been made. nor agreements reached, other than those

set forth in writing in this plea agreement, to cause him to plead guilty. Any mod ifications of

this plea agreement shall be va lid only as set fort h in wri ting in a supplemental or revised plea

agreement signed by all parties.



         Dana J. Boente                                 Stuart M. Goldberg
         United States Attorney                         Acting Deputy Assistant Attorney Genera l
         Eastern District of Virginia                   Department of Justice, Tax Di vision

By .~~~
    J\'1ark D.    Lytl~
                                               By:
                                                        Markf.l ~
         Assistant United States Attorney               Senior Litigation Counsel
                                                        Robert J. Boudreau
                                                        Trial Attorney

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        Defendants Signature: I hereby agree that I have consulted wi th my attorney and full y

 understand all rights with respect to the pending criminal informa tion. r urther, I fully

 understand all rights with respect to Titl e 18, United States Code, Section 3553 and the

 provisions of the Sentencing Guidel ines that may apply in my case. l have read this plea

 agreement and carefully reviewed every part of it with my attorney. I understand this plea

 agreement and voluntarily agree to it.



         V~ -li _\t?rz
        Hyung Kwon Kim
                                                          Date:   Ovfo~O' 2 6          2-0 j   1
        Defendant


        Defense Counsel Si1:mature: I am counsel for the defendant in this case. I have fully

 explained the defendant's rights to him with respect to the pending in formation. Funher, I have

 reviewed Title 18, United States Code. Section 3553 and the Sentenci ng Guidelines, and I have

 fully explained to the defe ndant the provisions that may apply in this case. I have carefully

 reviewed every part of this plea agreement with the defendant. To my knowledge, the

 defendant's decision to enter into this agreement is an informed and vo luntary one.


u~-+-t--::::-.:,                                          Date:
        Mark E. Matthews
        Charles Myungsik Yoon
        Counsel for the Defendant




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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

UNITED STATES OF AMERICA                      )
                                              )
               v.                             )      Case No. 1:17-CR-00248
                                              )
HYUNG KWON KIM,                               )      Honorable T. S. Ellis III
                                              )
               Defendant.                     )      Sentencing:     January 25, 2018
                                              )                      4:00 p.m.

         POSITION OF THE UNITED STATES WITH RESPECT TO SENTENCING

       The United States hereby submits its position on the sentencing of the defendant

Hyung Kwon Kim (“defendant” or “Kim”) in accordance with U.S.S.G. §6A1.2 and the policy

of this Court. As explained below, while the government agrees with the Probation Office’s

calculation of the sentencing range the advisory Sentencing Guidelines, the government

nevertheless believes that the appropriate Guidelines range that should be applied in this case is

that agreed upon by the parties, as set forth in the plea agreement. Taking into account the

factors set forth in 18 U.S.C. § 3553(a) and the government’s filing under seal, the government

makes a final sentencing recommendation of nine (9) months of imprisonment, three (3) years of

supervised release, an appropriate fine, and a $100 special assessment.

I.     Background

       A.      Offense Conduct

       Hyung Kim is a highly educated and sophisticated executive. Born into affluence, he had

the good fortune to inherit staggering sums. The vast sums Kim secreted in a series of secret

Swiss accounts are of import here. At one point, in 2004, the windfall stashed in Switzerland




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swelled to over $28 million. Kim engaged in a series of schemes and ruses to conceal the funds

from the IRS, violate reporting requirements, and evade taxes.

           Kim first opened an account in his own name at Credit Suisse AG in Switzerland in

October 1998. He funded that account, as well as other additional accounts that he opened at

Credit Suisse, its wholly owned subsidiaries (including Bank Leu, Bank Hofmann, and

Clariden Leu), and UBS AG, with funds inherited from a foreign relative.

           In November 2000, Kim took the first of many steps to mask his ownership and control

of the offshore funds. At the advice and with the assistance of his co-conspirator Edgar Paltzer,

an attorney practicing in Switzerland, Kim opened an account at Bank Leu in the name of a sham

entity called Daroka Overseas. In February 2002, he opened a second account, at Bank

Hofmann, in the name of the same entity. By placing his assets in accounts held in the name of

a nominee, Kim made it appear that the offshore funds belonged to a corporate entity, not him.

           Kim controlled the assets in the account by meeting with the bankers and his attorney in

in Switzerland and the United States as well as communicating with them via email, fax, and

phone. Further, he hosted one of his Swiss bankers at his homes in the U.S. where the banker

vacationed with his family and used Kim’s residence as a base to travel to meet with his other

clients.

           Wires from afar flowed into these accounts. By the close of 2004, the balance of his

accounts exceeded $28 million. Kim did not expend these funds on necessities. Instead, Kim

used assets in the accounts to fund a lavish lifestyle. The Statement of Facts and PSR discuss

Kim’s expenditures in detail. However, a summary of the spending is helpful to understand the

magnitude of the wealth that Kim concealed:




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              Between 2003 and 2007, Kim spent over $3 million from his Swiss accounts to

               purchase his residence in Greenwich, Connecticut. Kim and Paltzer took efforts

               to conceal that Kim controlled the funds in the Swiss accounts. When Kim

               communicated with Paltzer, he used coded language. In turn, Paltzer directed

               Credit Suisse to issue a check for $1.76 million from Credit Suisse First Boston,

               its U.S. bank, so that it appeared that Kim tapped a domestic source of funds.

              In 2005, Kim spent almost $5 million from his Swiss accounts to purchase a

               summer home on Cape Cod. While the price was significant, what is most

               relevant are the machinations undertaken by Kim and Paltzer to conceal Kim’s

               ownership of the Swiss accounts and the summer home itself. Paltzer formed a

               new sham entity, Edraith Invest & Finance, to hold title to the home as well as a

               Swiss account. Paltzer and Kim pretended that Kim merely leased the home in an

               arms-length transaction from a third party. They drafted and executed fake leases.

               They exchanged emails in which they discussed the wishes of the “owners.”

              Between 2003 and 2008, Kim used over $5 million from his Swiss accounts to

               purchase jewels and jewelry, including the following items: a 11.6 carat diamond

               ring; a 10.5 carat yellow diamond ring and jewelry setting; a 8.6 carat ruby ring; a

               8.4 carat emerald ring; a 7.15 carat diamond ring; and pearls.

              Between 2000 and 2008, Kim withdrew over $500,000 when traveling in

               Switzerland to fund his personal expenses.

       Kim had the opportunity to bring his remaining assets to the United States in 2008, in the

midst of the Department of Justice’s investigation of UBS AG for aiding and assisting U.S.

taxpayers to evade their taxes. At that time, Credit Suisse had advised Paltzer and Kim that it


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intended to close the Daroka Overseas and Edraith accounts as part of its initiative to minimize

the bank’s exposure by closing accounts held by U.S. residents in the names of nominee entities.

Fully aware that Kim’s undeclared assets could not stay at Credit Suisse, Paltzer and Kim

reviewed Kim’s options: to report his previously undeclared assets and income to the IRS; to

end his crimes by spending the assets; or to continue the concealment by transferring his assets to

another bank. Kim chose to keep the money offshore, albeit at Bank Frey, a smaller Swiss bank

that considered itself immune from U.S. law enforcement as it deliberately maintained no

physical presence in the United States.1

        With the assistance of Paltzer, Kim opened accounts at Bank Frey in the names of

Daroka Overseas and Edraith in December 2008. He deposited into those accounts the

remaining assets from his accounts at Credit Suisse’s subsidiaries. Paltzer advised Kim to take

further precautions to prevent detection, by limiting emails and phone communications from the

U.S. and meeting in third countries, such as France or Italy.

        Kim maintained the accounts at Bank Frey until 2011. At that time, he elected not to

report the funds, but to bring the assets to the United States in a covert manner by paying a


1
 In September 2008, as corroborated by the Internet Wayback Machine, Bank Frey’s web site contained the
following statements:

        “An important reason for founding Bank Frey was to provide our clients with the services of a
        Bank that is - and always will remain - truly Swiss,” Dr. Markus A. Frey says.

        As a result, Bank Frey follows a strict policy to never open any branch or other representation
        outside the reach of the Swiss laws and jurisdiction. We strongly believe that only by remaining a
        true Swiss banking institution, we can guarantee to act in accordance with the Swiss standards of
        political stability, acting in good faith and an unbroken sense for independent neutrality.

        Dr. Markus A. Frey continues, “Bank Frey is and will remain truly Swiss. Only that way can we
        be certain to maintain our values - and assure that no foreign authority will ever 'bully' us into
        giving them up”.

See “A True Swiss Bank”, available at https://web.archive.org/web/20080915012232/http://www.bank-
frey.com:80/index.php?option=com content&task=view&id=27&Itemid=55. Bank Frey announced that it would
cease operations in October 2013.


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jeweler in Switzerland for jewels and jewelry purchased in the United States. Kim arranged the

sales by mailing packages of gifts to the children of his former banker. Kim hid handwritten

transfer instructions within those packages. Between March and August 2011, Kim spent a total

of $3.6 million in two separate transactions to purchase a ring with a sapphire weighing 13.9

carats and three loose diamonds weighing 5.02, 4.03 and 4.17 carats.

       Kim concealed his offshore assets from his accountants. Indeed, although the defendant

filed FBARs in 2005, 2006, 2007, and 2008 (for calendar years 2004 through 2007) on which he

reported accounts that he owned in South Korea, he never once reported his Swiss accounts.

Further, Kim also filed false income tax returns on which he underreported his income and failed

to report his ownership of the Swiss accounts.

       Kim did not earn substantial amounts of taxable income from the assets in the Swiss

accounts. From 2001 through 2010, the combined federal and state income tax loss amounted to

$243,542. Indeed, the millions of dollars in capital losses that Kim incurred as a product of his

ill-advised investing swamped his investment gains.


II.    Sentencing Argument

       Although the Supreme Court rendered the federal Sentencing Guidelines advisory in

United States v. Booker, 543 U.S. 220 (2005), “a sentencing court is still required to ‘consult

[the] Guidelines and take them into account when sentencing.’” United States v. Clark, 434 F.3d

684, 685 (4th Cir. 2006) (quoting Booker, 543 U.S. at 264). The Supreme Court has directed

district courts to “begin all sentencing proceedings by correctly calculating the applicable

Guidelines range.” Gall v. United States, 552 U.S. 38, 49 (2007). The sentencing court,

however, “may not presume that the Guidelines range is reasonable.” Nelson v. United States,

555 U.S. 350, 352 (2009). The “Guidelines should be the starting point and the initial

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benchmark,” but the sentencing court must also “consider all of the § 3553(a) factors” in

determining the appropriate sentence. Id.; see also Clark, 434 F.3d at 685. Ultimately, the

sentence imposed must meet a standard of reasonableness. See Booker, 543 U.S. at 260-61.

       A. Guidelines Range

           1. The Applicable Guidelines Provisions

       The defendant pled guilty to the willful failure to file an FBAR, in violation of 31 U.S.C.

Sections 5314 and 5322. The offense of conviction in this case falls under U.S.S.G. § 2S1.3.

The Probation Office calculated the Guidelines range under U.S.S.G. § 2S1.3(a)(2) (the “Part-S

Guidelines”). See Presentence Investigation Report, ¶ ¶ 76-85. That provision includes a cross-

reference to the theft and fraud Guidelines, and sets the base offense level as follows:

              6 plus the number of offense levels from the table in § 2B1.1
              (Theft, Property Destruction, and Fraud) corresponding to the
              value of the funds, if subsection (a)(1) does not apply.

Probation calculated the base offense level as 28. Probation added 22 levels as it placed the

“value of funds” at $28,151,724, the year-end value of the assets in the unreported accounts in

2004 (the highest year-end balance). See PSR, ¶¶ 65(j), 76; U.S.S.G. § 2B1.1(b)(1)(L) (more

than $25 million).

       The government contends, as does Probation, that two levels should be added as the

defendant “committed the offense as part of a pattern of unlawful activity involving more than

$100,000 in a 12-month period.” See U.S.S.G. § 2S1.3(b)(2). The Application Note to § 2S1.3

defines a pattern of illegal activity as “at least two separate occasions of unlawful activity

involving a total amount of more than $100,000 in a 12-month period, without regard to whether

any such occasion occurred during the course of the offense or resulted in a conviction for the

conduct that occurred on that occasion.” Kim filed false FBARs on October 14, 2007 (for 2006)

and again on March 27, 2008 (for 2008). On each FBAR, Kim failed to report that he owned and
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controlled any of the financial accounts in Switzerland. Kim also filed a false 2007 Individual

Income Tax Return, Form 1040, on March 3, 2008, which omitted any income that Kim earned

from the assets in his undeclared accounts in Switzerland. Kim’s attorneys calculated that Kim

omitted $104,699 in ordinary income on the 2007 return. The filing of two false FBARs and a

false return within a 12-month period qualifies as a “pattern of unlawful activity” sufficient to

trigger the two-level enhancement.

        While 2S1.3 may be the proper Guideline, the government respectfully requests that the

Court sentence the defendant under U.S.S.G. § 2T, the Tax Guidelines. As stated in the Plea

Agreement, “at the time that the defendant agreed to plead guilty, the Government consistently

took the position with similarly situated defendants that the applicable Guideline was U.S.S.G.

§ 2T1.1 and § 2T1.4 due to the cross reference in § 2S1.3(c)(1).”2 Plea Agreement, Dkt. # 10,

pp. 3-4.

        In 2012, Kim and the government commenced plea negotiations with the defendant’s

counsel. At that time, the government had entered into plea agreements with a number of several

other legal permanent residents that required those individuals to plead guilty to FBAR charges,

and not tax charges. In each of those cases, the plea agreements specifically set forth a

Guidelines calculation using the Tax Guidelines and not § 2S1.3. After Kim and the government

had reached an agreement in principle, the government continued to employ the Tax Guidelines

in virtually every other FBAR case. In order to ensure that this defendant receives equitable

treatment, the government believes that the appropriate Guidelines which should be applied in

this case are the alternative calculation under § 2S1.3(c)(1).



2
 U.S.S.G. § 2S1.3 states as follows: “If the offense was committed for the purposes of violating the
Internal Revenue laws, apply the most appropriate guideline from Chapter Two, Part T (Offenses Involving
Taxation) if the resulting offense level is greater than that determined above.”
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       The base offense level for this offense is 16 pursuant to U.S.S.G. § 2Tl.l(a)(1) and

§ 2T4.1(F), because the tax loss exceeded $100,000. The base offense level is increased by 2

levels, pursuant to U.S.S.G. § 2T1.1(b)(2), because the offense involved sophisticated means.

The defendant should receive a 3-level reduction for acceptance of responsibility resulting in a

total offense level of 15. The advisory range is 18 to 24 months of imprisonment and the fine

range is $4,000 to $40,000.

       B. Section 3553(a) Factors

           1. Nature and Circumstances of the Offense, History and Characteristics of the
              Defendant, and the Need for Just Punishment

       Tax evasion is a serious crime, and the use of offshore accounts by U.S. taxpayers to

evade their income tax obligations directly affects the ability of the Treasury to raise funds for

government expenditures. In April 2016, the IRS estimated that for the years 2008-2010, the

U.S. tax gap, which represented the total amount of U.S. taxes owed but not paid on time, was

$458 billion, despite an overall tax compliance rate among American taxpayers of 81.7%. See

“Tax Gap Estimates for Tax Years 2008–2010,” report by the IRS, available at:

https://www.irs.gov/PUP/newsroom/tax%20gap%20estimates%20for%202008%20through%202

010.pdf. The IRS found that these updated “estimates suggest that compliance is substantially

unchanged since last estimated for [tax year] 2006.” Id. at 2.

       What sets Hyung Kim apart from many other seemingly similarly situated defendants, is

the level and duration of the deception he employed to hide his assets from the IRS. For over a

dozen years, the defendant employed a series of ever more aggressive schemes to conceal the

windfall that he inherited. Kim utilized nine different accounts at five Swiss banks to hide his

assets. For four of those accounts, the defendant used nominee entities, formed in Caribbean tax-

haven countries, to add a further layer of protection. The defendant and his co-conspirator,

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 Paltzer, used one of those entities, Edraith Invest & Finance, to deceive a realtor and other third

 parties involved in the purchase of his home on Cape Cod. They went so far as to concoct a ruse

 whereby Kim and Paltzer exchanged emails wherein they pretended that Kim was renting the

 home from another family.

         Kim had numerous opportunities to report his accounts and come into compliance. Each

 time, he chose to continue his criminal conduct. From 2004 through 2008, Kim filed FBARs on

 which he reported his ownership of certain accounts in South Korea. In each of those years, he

 had the opportunity to come clean about his Swiss accounts. He could have informed his U.S.

 return preparers about the Swiss accounts and sought their advice for properly reporting the

 ownership of the accounts and the income that he received, and pay the tax due and owing. Kim

 stayed silent.

         In the same year that he filed his last, false FBAR, Paltzer, Kim’s Swiss attorney,

 presented to him the option to close the accounts and bring the money to the United States.

 Instead, Kim chose to burrow deeper into the darkness of offshore evasion. He moved his assets

 to a bank that touted itself as refusing to be “bullied” by a “foreign authority,” such as U.S. law

 enforcement.

         Kim kept the funds in Switzerland for almost three more years. He continued to conceal

 his accounts from his return preparer and never filed FBARs during those years. In 2011, Kim

 again had the option to come clean and report his offshore assets. Instead, he elected to spend

 down the assets. Through a series of messages hidden in packages mailed from the U.S. to his

 former banker in Switzerland, Kim arranged to close his account by using the remaining fund to

 buy yet more high-end jewelry.




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         Given the duration of the offense, the amounts involved, the defendant’s knowledge of

 his duty to report his foreign financial accounts, and the myriad of schemes and lies that the

 defendant perpetrated, a sentence of incarceration is required in order to reflect the seriousness of

 the offense, to promote respect for the law, and to provide just punishment for the offense.

                2.      The Need for Deterrence

         Over the past decade, the government endeavored to crack down on the use of foreign

 financial accounts by U.S. citizens seeking to evade the payment of their taxes. The foreign

 banks and institutions are more likely to aid and assist the ultra-high net worth individuals, like

 the defendant, to evade their taxes. Such foreign institutional assistance makes these crimes

 more difficult to detect, investigate and prosecute. Further, prosecutions involving offshore

 accounts such as this one require the government to commit significant investigative and

 prosecutorial resources, and the IRS typically detects the criminal conduct well after the offenses

 have been committed. A sentence of incarceration and a strong message of general deterrence in

 this case is necessary to ensure that U.S. taxpayers do not use foreign financial accounts to evade

 their taxes.

         The government concedes that the defendant will pay a great financial price for his

 crimes. He has already remitted over $14 million to the government as a civil penalty for his

 willful failure to report his foreign banks accounts. Nevertheless, the defendant should receive

 no mercy for paying over what amounts to slightly more than 7% of his current net worth. He

 had numerous opportunities to report his accounts, had access to seasoned professionals who

 knew how to do such reporting, and chose not do so. He has no one to blame but himself.

 Further, Kim would have owed the same civil penalty had he been audited, not prosecuted.




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        C.      Fine

        The Guidelines instruct that “[t]he court shall impose a fine in all cases, except where the

 defendant establishes that he is unable to pay and is not likely to become able to pay any fine.

 U.S.S.G. § 5E1.2(a). The Presentence Report states that Kim’s assets exceed $200 million and

 he receives monthly cash flow of more than $450,000. As such, the government recommends

 that the Court impose a substantial fine.

 III.   Restitution

        Pursuant to 18 U.S.C. § 3663A, restitution is mandatory in this case, and the parties have

 agreed that the defendant should pay full restitution to the IRS. The government expects that by

 the time of sentencing the defendant will have filed amended federal and state income tax returns

 and directly paid over the tax due and owing as well as interest.

        Nonetheless, the government respectfully requests that the Court order restitution to the

 IRS for the following years in the following amounts: 2003 – $93,223; and 2009 – $63,828.




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 IV.    Conclusion

        Based on the foregoing, and for the reasons stated in the United States’ sealed filing, the

 United States submits that a final sentence should be imposed of nine (9) months of

 imprisonment, three (3) years of supervised release, an appropriate fine, and a $100.00 special

 assessment.

                                              Respectfully submitted,

                                              Dana J. Boente
                                              United States Attorney

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 19th day of January, 2018, I electronically filed the foregoing

 Position of the United States With Respect to Sentencing with the Clerk of Court using the

 CM/ECF system which will send notification of such filing to all attorneys of record.

        A copy has also been sent via email to:

                       Karen Riffle
                       Supervising United States Probation Officer
                       Karen_Riffle@vaep.uscourts.gov



                                                       /s/
                                               Mark F. Daly
                                               Special Assistant United States Attorney




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
____________________________________
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UNITED STATES OF AMERICA,           )
                                    )
      v.                            )                 Crim. Action No. 17-0201-01 (ABJ)
                                    )
PAUL J. MANAFORT, JR.,              )
                                    )
                  Defendant.        )
____________________________________)


                                              ORDER

       Defendant Paul J. Manafort, Jr. entered a plea of guilty in this case on September 14, 2018.
The plea agreement [Dkt. # 422] provides:

               Your client shall cooperate fully, truthfully, completely, and
               forthrightly with the Government . . . .

Plea Agreement ¶ 8.

         Defendant agreed in paragraph 8(a) of the agreement to be debriefed; in paragraph 8(c) to
testify at any proceedings, and in paragraph 8(f) that he “must at all times give complete, truthful,
and accurate information and testimony, and must not commit, or attempt to commit, any further
crimes.” Paragraph 8 goes on to provide that defendant “shall testify fully, completely and
truthfully before any and all Grand Juries” in the District of Columbia or elsewhere.

       Paragraph 13 – “Breach of Agreement” provides:

               Your client understands and agrees that, if after entering this
               Agreement, [he] fails specifically to perform or to fulfill completely
               each and every one of [his] obligations under this Agreement, or
               engages in any criminal activity prior to sentencing or during his
               cooperation . . . , [he] will have breached this Agreement.

               Should it be judged by the Government in its sole discretion that the
               defendant has failed to cooperate fully, has intentionally given false,
               misleading or incomplete information or testimony, has committed
               or attempted to commit any further crimes, or has otherwise
               violated any provision of this agreement, the defendant will not be
               released from his pleas of guilty but the Government will be released
               from its obligations under the agreement, including (a) not to oppose


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               the downward adjustment [to the U.S. Sentencing Guidelines
               calculation] for acceptance of responsibility . . . .

               Your client understands that the Government shall be required to
               prove a breach of this Agreement only by good faith.

        The defendant accepted the plea agreement; the signed acceptance on last page states,
“I fully understand this Agreement and agree to it without reservation. I do this voluntarily and of
my own free will, intending to be legally bound.” After the plea was entered, sentencing was
deferred while the defendant’s cooperation was ongoing.

        On November 26, 2018, the parties informed the Court in a joint status report [Dkt. # 455]
that it was the government’s position that the defendant had breached the plea agreement by
making false statements to the FBI and Office of Special Counsel (“OSC”) and that it was time to
set a sentencing date. The defendant disputed the government’s characterization of the information
he had provided and denied that he had breached the agreement, but he agreed that in light of the
dispute, it was time to proceed to sentencing. Thereafter, the government was ordered to provide
the Court with information concerning the alleged breach, a schedule was established for the
defense to respond, and the following submissions were made a part of the record in the case:

       December 7, 2018       Government’s Submission in Support of its Breach Determination
                              [Dkt. # 461] (Sealed); [Dkt. # 460] (Public)

       January 8, 2019        Defendant’s Response to the Government’s Submission in Support
                              of its Breach Determination [Dkt. # 470] (Sealed); [Dkt. # 472]
                              (Public)

       January 15, 2019       FBI Declaration in Support of the Government’s Breach
                              Determination with accompanying exhibits [Dkt # 477] (Sealed);
                              [Dkt. # 476] (Public)

       January 23, 2019       Defendant’s Reply to the Declaration [Dkt. # 481] (Sealed);
                              [Dkt. # 482] (Public)

      The Court held a sealed hearing on February 4, 2019, and the parties each filed post-hearing
submissions. See Def.’s Post-Hearing Mem. [Dkt. # 502] (Sealed), [Dkt. # 505] (Public);
Government’s Suppl. [Dkt. # 507] (Sealed).

        It is a matter of public record that the Office of Special Counsel has alleged that the
defendant made intentionally false statements to the FBI, the OSC, and/or the grand jury in
connection with five matters: a payment made by Firm A to a law firm to pay a debt owed to the
law firm by defendant Manafort; co-defendant Konstantin Kilimnik’s role in the obstruction of
justice conspiracy; the defendant’s interactions and communications with Kilimnik; another
Department of Justice investigation; and the defendant’s contacts with the current administration
after the election. The parties are agreed that it is the government’s burden to show that there has
been a breach of the plea agreement, but to be relieved of its obligations under the agreement, it
must simply demonstrate that its determination was made in good faith. Plea Agreement ¶ 13.


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       In its January 8, 2019 response to the breach allegations, the defense stated that “given the
highly deferential standard that applies to the Government’s determination,” Def.’s Resp. [Dkt.
# 472] at 2, it was not challenging the assertion that the determination was made in good faith.
And, in response to a question posed by the Court at a status hearing held on January 25, 2019, the
defendant conceded that that the determination was made in good faith. Tr. of Hearing (Jan. 25,
2019) [Dkt. # 500] at 13.

        In light of the defendant’s concession, and based upon the Court’s independent review of
entire record, including: all of the pleadings listed above and the supporting exhibits; the facts and
arguments placed on the record at the hearing held on February 4, 2019; and the post-hearing
submissions, the Court ruled at the hearing held on February 13, 2019 that the Office of Special
Counsel made its determination that the defendant made false statements and thereby breached the
plea agreement in good faith. Therefore, the Office of Special Counsel is no longer bound by its
obligations under the plea agreement, including its promise to support a reduction of the offense
level in the calculation of the U.S. Sentencing Guidelines for acceptance of responsibility.

        But that is not the only question before the Court to decide. The question remains whether
the defendant made intentionally false statements in connection with the five matters that have
been identified by the Office of Special Counsel. The answer bears upon the applicability of
certain provisions of the Sentencing Guidelines, in particular, the adjustment for acceptance of
responsibility, and it bears more generally on the Court’s assessment of the factors set forth in the
sentencing statute, 18 U.S.C. § 3553(a). The parties are agreed that the government is bound to
prove facts that bear on the application of the Guidelines by a preponderance of the evidence.

       Based upon its consideration of the entire record and the arguments of counsel at the
hearing of February 4, 2019, for the reasons stated on the record at the continuation of the sealed
hearing on February 13, 2019, the Court made the following additional findings:

       I.      OSC has established by a preponderance of the evidence that defendant
               intentionally made false statements to the FBI, the OSC, and the grand jury
               concerning the payment by Firm A to the law firm, a matter that was material to
               the investigation. See United States v. Moore, 612 F.3d 698, 701 (D.C. Cir. 2010).

       II.     OSC has failed to establish by a preponderance of the evidence that on October 16,
               2018, defendant intentionally made false statements concerning Kilimnik’s role in
               the obstruction of justice conspiracy.

       III.    OSC has established by a preponderance of the evidence that the defendant
               intentionally made multiple false statements to the FBI, the OSC, and the grand
               jury concerning matters that were material to the investigation: his interactions and
               communications with Kilimnik.

       IV.     OSC has established by a preponderance of the evidence that on October 5, 2018,
               the defendant intentionally made false statements that were material to another DOJ
               investigation.




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       V.      OSC has failed to establish by a preponderance of the evidence that on October 16,
               2018, defendant intentionally made a false statement concerning his contacts with
               the administration.

       This order does not address the question of whether the defendant will receive credit for his
acceptance of responsibility in connection with the calculation of the Sentencing Guidelines or
how any other Guideline provision will apply to this case. Those issues, which depend on the
consideration of a number of additional factors, will be determined at sentencing, after the
Presentence Investigation Report has been completed, the parties have filed their memoranda in
aid of sentencing, and the Court has heard argument.

       The Court reporter is hereby ORDERED to provide a copy of the sealed transcript of
today’s hearing to the parties by 12:00 noon on February 14, 2019, and the parties must inform the
Court of any redactions that must to be made before the transcript can be released no later than
11:00 a.m. on February 15, 2019.

       SO ORDERED.




                                                     AMY BERMAN JACKSON
                                                     United States District Judge

DATE: February 13, 2019




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           ATTACHMENT F
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